Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 1 of 201




                               EXHIBIT 2
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 2 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                1

 ·1· · · · · ·UNITED STATES DISTRICT COURT
 · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
 ·2· · · · · · · · · MIAMI DIVISION

 ·3

 ·4· ·ALEKSEJ GUBAREV, XBT· · :
 · · ·HOLDING S.A., and· · · ·:
 ·5· ·WEBZILLA, INC.,· · · · ·:
 · · · · · · · · · · · · · · ·:
 ·6· · · · · Plaintiffs,· · · : Case No:
 · · · · · · · · · · · · · · ·: 1:17-cv-60426-UU
 ·7· ·v.· · · · · · · · · · · :
 · · · · · · · · · · · · · · ·:
 ·8· ·BUZZFEED, INC., and· · ·:
 · · ·BEN SMITH,· · · · · · · :
 ·9· · · · · · · · · · · · · ·:
 · · · · · · Defendants.· · · :
 10

 11

 12· · · · · · · · ·**CONFIDENTIAL**

 13· · · · DEPOSITION OF ANTHONY J. FERRANTE

 14

 15· · · · · · · ·Friday, July 27, 2018

 16· · · · · · · · · · 10:20 a.m.

 17

 18· · · · · · · ·Davis Wright Tremaine
 · · · · · · 1919 Pennsylvania Avenue, N.W.
 19· · · · · · · · ·Washington, D.C.

 20

 21· · · · ·Terry L. Bradley, Court Reporter

 22


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 3 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                2

 ·1· · · · · · · APPEARANCES OF COUNSEL

 ·2

 ·3· ·For the Plaintiffs:

 ·4· · ·CIAMPA FRAY-WITZER, LLP
 · · · ·EVAN FRAY-WITZER, ESQ.
 ·5· · ·VAL GURVITS, ESQ.
 · · · ·20 Park Plaza
 ·6· · ·Suite 505
 · · · ·Boston, MA 02116
 ·7· · ·T-617.426.0000
 · · · ·E-evan@cfwlegal.com
 ·8

 ·9· ·For the Defendants:

 10· · ·DAVIS WRIGHT TREMAINE
 · · · ·KATE BOLGER, ESQ.
 11· · ·ALISON SCHARY, ESQ.
 · · · ·1257 Avenue of the Americas
 12· · ·New York, NY 10036
 · · · ·T-212.402.4068
 13· · ·E-katebolger@dwt.com

 14· · ·BUZZFEED
 · · · ·NABIHA SYED, ESQ.
 15· · ·ASSISTANT GENERAL COUNSEL
 · · · ·111 East 18th Street
 16· · ·New York, NY 10003
 · · · ·T-212.431.7464
 17· · ·E-nabiha.syed@buzzfeed.com

 18

 19

 20

 21

 22


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 4 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                3

 ·1· · · · · · · ·INDEX OF EXAMINATION

 ·2

 ·3· ·EXAMINATION· · · · · · · · · · · · · · ·PAGE

 ·4· ·By Mr. Fray-Witzer. . . . . . . . .· · · ·6

 ·5· · · · · · · · · · · ·~~~~~

 ·6

 ·7· · · · · · · · ·INDEX OF EXHIBITS

 ·8

 ·9· ·1.· Company Intelligence Report· · · · · 37
 · · ·2.· Foreign Policy Article -· · · · · · ·48
 10· · · · · J. Winter.· Former Senior FBI
 · · · · · · Official is Leading
 11· · · · · BuzzFeed's Effort to Verify
 · · · · · · Trump Dossier (2/12/2018)
 12· ·3.· Expert Report - A. Ferrante· · · · · 57
 · · ·4.· DHS Statement on the Issue of· · · · 68
 13· · · · · Binding Operational Directive
 · · · · · · 17-01 (9/13/2017)
 14· ·5.· McClatchy DC Article - K. Hall.· · · 70
 · · · · · · Did this convicted Russian
 15· · · · · pedophile help meddle in the
 · · · · · · U.S. elections? (April 2017)
 16· ·6.· CrowdStrike Report -· · · · · · · · ·76
 · · · ·`· · D. Alperovitch.· Bears in the
 17· · · · · Midst:· Intrusion into the
 · · · · · · Democratic National Committee
 18· · · · · (6/15/2016)
 · · · · · · *Exhibit 3 - Expert Report
 19· ·7.· Letter - Frost to Fray-Witzer· · · · 83
 · · · · · · (6/8/2018)
 20· ·8.· Chart - Bit.ly Data· · · · · · · · · 91
 · · · · · · *Exhibit 5 - Expert Report
 21

 22


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 5 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                4

 ·1· ·EXHIBITS (Continued).

 ·2· · 9.· NCCIC/FBI Joint Analysis Report -· · 102
 · · · · · · ·GRIZZLY STEPPE - Russian
 ·3· · · · · ·Malicious Cyber Activity
 · · · · · · ·(12/29/2016)
 ·4· · · · · ·*Exhibit 7 - Expert Report
 · · · 10. Routing History· · · · · · · · · · · 108
 ·5· · · · · ·*Exhibit 8 - Expert Report
 · · · 11. Indictment· · · · · · · · · · · · · ·115
 ·6· · 12. WIN32/INDUSTROYER - A new threat· · ·123
 · · · · · · ·for industrial control
 ·7· · · · · ·systems
 · · · · · · ·*Exhibit 12 - Expert Report
 ·8· · 13. Cosmicduke· · · · · · · · · · · · · ·124
 · · · · · · ·*Exhibit 13 - Expert Report
 ·9· · 14. Kaspersky - Unveiling "Careto" -· · ·127
 · · · · · · ·The Masked APT (February 2014)
 10· · · · · ·*Exhibit 14 - Expert Report
 · · · 15. Trend Micro Blog - Pawn Storm· · · · 129
 11· · · · · ·Abuses Open Authentication in
 · · · · · · ·Advanced Social Engineering
 12· · · · · ·Attacks (4/25/2017)
 · · · · · · ·*Exhibit 28 Expert Report
 13· · 16. McClatchy D.C. - Russian tech· · · · 136
 · · · · · · ·expert named in Trump report
 14· · · · · ·says US intelligence never
 · · · · · · ·contacted him (1/11/2017)
 15· · 17. Joint Comments Before the U.S.· · · ·142
 · · · · · · ·Copyright Office Library of
 16· · · · · ·Congress
 · · · 18. Trend Micro Blog - Unscrupulous· · · 147
 17· · · · · ·Russian Cybercriminals Attempt
 · · · · · · ·to Capitalize on Grisly Death
 18· · · · · ·(4/26/2009)
 · · · 19. Krebs on Security - Carbanak Gang· · 150
 19· · · · · ·Tied to Russian Security Firm?
 · · · · · · ·(July 16)
 20· · 20. Krebs on Security - Who Else Was· · ·153
 · · · · · · ·Hit by the RSA Attackers?
 21· · · · · ·(October 11)

 22


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 6 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                5

 ·1· ·EXHIBITS (Continued).

 ·2· · 21. PJ Media - Claim: Firm Hired· · · · ·174
 · · · · · · ·BuzzFeed to Verify Steele
 ·3· · · · · ·Dossier Has Checkered Past in
 · · · · · · ·Venezuela (3/7/2018)
 ·4· · 22. Home World News - Leak reveals· · · ·177
 · · · · · · ·plot to destabilize
 ·5· · · · · ·Venezuelan govt (11/6/2013)
 · · · 23. Infodio - Is FTI Consulting's· · · · 180
 ·6· · · · · ·LatAm Division Ever Going to
 · · · · · · ·be a Shareholder Concern?
 ·7· · 24. Host Exploit - World Hosts Report· · 181
 · · · · · · ·(March 2014)
 ·8· · 25. Host Exploit - World Hosts Report· · 183
 · · · · · · ·(September 2013)
 ·9· · 26. Host Exploit - World Hosts Report· · 184
 · · · · · · ·(March 2013)
 10· · 27. Host Exploit - World Hosts Report· · 186
 · · · · · · ·(Q3 2012)
 11· · 28. Host Exploit - Top 50 Bad Hosts· · · 187
 · · · · · · ·and Networks Report (Q4 2010)
 12· · 29.Host Exploit - Top 50 Bad Hosts· · · ·188
 · · · · · · ·and Networks Report (Q1 2011)
 13· · 30. Host Exploit - Top 50 Bad Hosts· · · 194
 · · · · · · ·and Networks Report (Q2 2011)
 14· · 31.Host Exploit - Top 50 Bad Hosts· · · ·195
 · · · · · · ·and Networks Report (Q3 2011)
 15
 · · ·(Original Exhibits retained by Court Reporter.)
 16
 · · · · · · · · · · · · · ~~~~~
 17

 18

 19

 20

 21

 22


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com    YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 7 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                6

 ·1· · · · · · · · P R O C E E D I N G S

 ·2

 ·3· · · · · · · · ANTHONY J. FERRANTE

 ·4· · having been first duly sworn, testified as

 ·5· · follows:

 ·6

 ·7· · · · · · · · · · ·EXAMINATION

 ·8· ·BY MR. FRAY-WITZER:

 ·9· · · ·Q.· · Good morning.

 10· · · ·A.· · Good morning.

 11· · · ·Q.· · Would you please state your name for

 12· ·the record.

 13· · · ·A.· · Anthony Ferrante.

 14· · · ·Q.· · And Mr. Ferrante, can you tell me,

 15· ·have you ever been deposed before?

 16· · · ·A.· · I have not.

 17· · · ·Q.· · So the ground rules are pretty

 18· ·simple, I think.· I'll try and ask you a series

 19· ·of questions, you'll get a chance to answer.

 20· ·If I ask you a question and you respond to it,

 21· ·I will assume that you understood the question.

 22· ·Is that fair?


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com    YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 8 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                7

 ·1· · · · · · ·MS. BOLGER:· I think I object to

 ·2· ·that instruction.

 ·3· · · · · · ·But you can answer that.

 ·4· · · · · · ·THE WITNESS:· It's fair.

 ·5· ·BY MR. FRAY-WITZER:

 ·6· · · ·Q.· · Okay.· Let me also say that because

 ·7· ·you are being recorded by a stenographer, your

 ·8· ·answers have to be verbal, so nods and head

 ·9· ·shakes don't come up on the transcript, so

 10· ·"yes" and "no" where appropriate, please.

 11· · · ·A.· · Understood.

 12· · · ·Q.· · If at any time during the deposition

 13· ·you would like to take a break, please just let

 14· ·me know, we'll take a break.· The only time

 15· ·that I would ask you not to break is if there's

 16· ·a question pending.· So once you've answered a

 17· ·question, I'm happy to take a break as

 18· ·frequently as you'd like.· Is that fair?

 19· · · ·A.· · Understood.

 20· · · ·Q.· · Mr. Ferrante, can you tell us first,

 21· ·please, are you currently employed?

 22· · · ·A.· · I am.


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com    YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 9 of 201

      ANTHONY J. FERRANTE· Confidential                              July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                                8

 ·1· · · ·Q.· · And for whom are you employed?

 ·2· · · ·A.· · FTI Consulting.

 ·3· · · ·Q.· · And what is FTI Consulting?

 ·4· · · ·A.· · It's a business consulting firm.                    A

 ·5· ·global business consulting firm, headquartered

 ·6· ·here in Washington, D.C.

 ·7· · · ·Q.· · And what types of consulting does

 ·8· ·FTI do?

 ·9· · · ·A.· · They do a myriad of business

 10· ·consulting services, professional service,

 11· ·around the globe.· 29 countries.

 12· · · ·Q.· · And more specifically, what services

 13· ·do you perform for FTI?

 14· · · ·A.· · I lead the global cyber security

 15· ·practice at FTI.

 16· · · ·Q.· · And what does the global cyber

 17· ·security practice do?

 18· · · ·A.· · We offer services to our clients,

 19· ·ranging from proactive cyber security services

 20· ·through reactive cyber security services,

 21· ·breach response, for example, defense

 22· ·compliance, for example, complex cyber


                                                             800.211.DEPO (3376)
                                                             EsquireSolutions.com    YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 10 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                                9

·1· ·investigations.

·2· · · ·Q.· · What falls under the category of

·3· ·proactive cyber security?

·4· · · ·A.· · Compliance.· The government, U.S.

·5· ·Government will publish various regulatory

·6· ·compliance standards, and organizations need to

·7· ·comply.· So I would be retained to help them

·8· ·meet those compliance metrics.

·9· · · ·Q.· · What kinds of organizations have you

10· ·performed proactive cyber security work for?

11· · · · · · ·MS. BOLGER:· I'm going to object.

12· ·Sometimes client relationships are

13· ·confidential.

14· · · · · · ·Anthony, client confidences you

15· ·should not reveal them, but if they're public

16· ·information, obviously you can respond to Mr.

17· ·Fray-Witzer's question.

18· · · · · · ·THE WITNESS:· Sure.· I can't reveal

19· ·client identities, but I can say that we

20· ·represent a myriad of clients across all

21· ·industries.

22· ·BY MR. FRAY-WITZER:


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 11 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               10

·1· · · ·Q.· · What kind of industries?

·2· · · ·A.· · Defense, telecommunications,

·3· ·technology.

·4· · · ·Q.· · Do you represent --

·5· · · · · · ·And I don't need the names of them,

·6· ·but do you represent any server companies?

·7· · · ·A.· · Yes.

·8· · · ·Q.· · And do you represent any ISPs?

·9· · · ·A.· · None that I can think of at this

10· ·moment.

11· · · · · · ·MS. BOLGER:· Gentlemen, you both

12· ·whisper.· Raise your voices for me, please.

13· ·BY MR. FRAY-WITZER:

14· · · ·Q.· · Can you tell me please what reactive

15· ·cyber security involves?

16· · · ·A.· · Um, cyber incidents range from

17· ·ransomware to a breach where systems are

18· ·compromised, and our services respond to those,

19· ·for example.· I would say anything that's not

20· ·planned we are sometimes retained to help

21· ·remediate.

22· · · ·Q.· · What are complex investigations?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 12 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               11

·1· · · ·A.· · Complicated investigations involving

·2· ·sophisticated techniques, methods,

·3· ·understanding of complicated subject matter.

·4· · · ·Q.· · Complicated subject matter in what

·5· ·arena?

·6· · · ·A.· · Well, in my domain complex subject

·7· ·matter would be cyber security.

·8· · · ·Q.· · Do you --

·9· · · · · · ·And I'm not asking about FTI, but do

10· ·you personally do any kind of investigatory

11· ·work that is not cyber security related?

12· · · ·A.· · I don't understand the question.

13· · · ·Q.· · Well, you said that you do complex

14· ·investigations in the cyber security arena.· Do

15· ·you do any other kind of investigations that

16· ·aren't necessarily cyber security?

17· · · ·A.· · I am a seasoned investigator.· Yes.

18· · · ·Q.· · And so for FTI do you do other types

19· ·of investigations?

20· · · ·A.· · I am a seasoned investigator, and --

21· · · ·Q.· · What areas of investigation have you

22· ·performed for FTI, other than cyber security


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 13 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               12

·1· ·investigations?

·2· · · · · · ·MS. BOLGER:· Without revealing

·3· ·client confidences.

·4· · · · · · ·THE WITNESS:· I would say

·5· ·traditional investigative work, background

·6· ·checks, um, research utilization of

·7· ·subscription databases, collection of evidence,

·8· ·analysis of evidence.

·9· ·BY MR. FRAY-WITZER:

10· · · ·Q.· · And that gives me some information

11· ·about the kind of techniques that you use.

12· ·What I'm really trying to figure out is:· What

13· ·kinds of investigations, other than cyber

14· ·security, do you perform?· What are the topics?

15· · · ·A.· · So I don't understand your question,

16· ·and I'm having a tough time answering it

17· ·without divulging specific clients.· So I would

18· ·say that my investigative --

19· · · · · · ·-- my investigations thus far have

20· ·relied on traditional and complex investigative

21· ·techniques.

22· · · ·Q.· · Let me just give you a random


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 14 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               13

·1· ·example.

·2· · · · · · ·Sometimes if a company has

·3· ·experienced employee fraud, they'll hire an

·4· ·investigator.· That would be a kind of category

·5· ·that I'm talking about.· Fraud investigations

·6· ·for corporate clients.

·7· · · · · · ·Does that help you sort of give you

·8· ·an idea to the categories that I'm looking for?

·9· · · · · · ·MS. BOLGER:· That category.

10· · · · · · ·THE WITNESS:· Sure.· I mean, it

11· ·helps.· Again, you know, my investigations --

12· · · · · · ·I'm a seasoned investigator and

13· ·conduct complex investigations, ranging from an

14· ·audit of an organization to ensure that they

15· ·are compliant with new defense regulatory

16· ·requirements, an internal investigation to

17· ·identify and insider threat, a cyber security

18· ·incident that may have been facilitated by an

19· ·internal or external actor, to after an

20· ·incident would occur to reconstruct the events

21· ·and determine what happened, how it happened,

22· ·and who was responsible.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 15 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               14

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · Have you ever served as an expert

·3· ·witness before?

·4· · · ·A.· · I have not.

·5· · · ·Q.· · Prior to this current case, have you

·6· ·ever been engaged by BuzzFeed?

·7· · · ·A.· · I have not.

·8· · · ·Q.· · When were you first engaged by

·9· ·BuzzFeed in this matter?

10· · · ·A.· · I believe it was August 2017.

11· · · ·Q.· · Do you know how it is that you came

12· ·to be engaged by BuzzFeed?· In other words, how

13· ·they found you.

14· · · ·A.· · I do not know specifically.

15· · · ·Q.· · What was the scope of your

16· ·assignment from BuzzFeed?

17· · · ·A.· · The scope of my assignment was to

18· ·conduct a technical investigation and collect

19· ·evidence that links XBT infrastructure to the

20· ·described malicious cyber activity in the

21· ·Steele dossier.

22· · · ·Q.· · Is that a complete description of


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 16 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               15

·1· ·what your assignment was from BuzzFeed?

·2· · · · · · ·MS. BOLGER:· As a testifying expert,

·3· ·right?

·4· · · · · · ·MR. FRAY-WITZER:· No.· I'm asking if

·5· ·that was the complete description of his

·6· ·assignment from BuzzFeed.

·7· · · · · · ·THE WITNESS:· Yes.

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · And I just want to make sure I

10· ·understand then.· It's your testimony that the

11· ·scope of your assignment from BuzzFeed was to

12· ·examine whether there were links from the XBT

13· ·infrastructure to the malicious activity

14· ·described in the Steele dossier.· Is that

15· ·correct?

16· · · ·A.· · The scope of my assignment was to

17· ·conduct a complex technical investigation to

18· ·collect evidence, to identify evidence that

19· ·linked XBT infrastructure to the described

20· ·malicious activity in the Steele dossier and to

21· ·serve as an expert witness on that evidence.

22· · · ·Q.· · When you were first retained by


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 17 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               16

·1· ·BuzzFeed to conduct the investigation that

·2· ·you're describing, did you have any

·3· ·preconceived notions about any of the

·4· ·plaintiffs in this case?

·5· · · ·A.· · No.

·6· · · ·Q.· · Had you'd heard of Aleks Gubarev

·7· ·before being retained by BuzzFeed?

·8· · · ·A.· · I'm sorry.· Can you repeat that.

·9· · · ·Q.· · Had you heard of Aleks Gubarev

10· ·before being retained by BuzzFeed?

11· · · ·A.· · I'd heard of him as an individual.

12· · · ·Q.· · And in what context had you heard of

13· ·him?

14· · · ·A.· · I just remember hearing of him prior

15· ·to being retained, just in media reporting.

16· · · ·Q.· · And when you say "media reporting",

17· ·are you talking about reporting on the Steele

18· ·dossier?

19· · · ·A.· · Don't recall.

20· · · ·Q.· · Did you have --

21· · · · · · ·What was your understanding of Aleks

22· ·Gubarev as an individual prior to starting


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 18 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               17

·1· ·this?

·2· · · ·A.· · I had no opinion.

·3· · · ·Q.· · Had you heard of XBT Holdings prior

·4· ·to being retained by BuzzFeed?

·5· · · ·A.· · I did not.

·6· · · ·Q.· · Had you heard of Webzilla prior to

·7· ·being retained by BuzzFeed?

·8· · · ·A.· · I did not.

·9· · · ·Q.· · Did BuzzFeed provide you with any

10· ·materials for you to look at or consider in

11· ·connection with your assignment?

12· · · ·A.· · They did not.

13· · · ·Q.· · They didn't provide you with any

14· ·documents?

15· · · ·A.· · They did not, prior to my being

16· ·retained of course.· Once I was retained and we

17· ·started working the case, of course we started

18· ·to collaborate on the case.

19· · · ·Q.· · So, I'm sorry.· Let me re-ask the

20· ·question then.

21· · · ·A.· · Sure.

22· · · ·Q.· · After you were retained by BuzzFeed


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 19 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               18

·1· ·did they provide you with any materials?

·2· · · ·A.· · Of course.

·3· · · ·Q.· · What materials did BuzzFeed provide

·4· ·you with?

·5· · · ·A.· · Um, I don't recall the exact date,

·6· ·but I remember it was a, I want to say, a few

·7· ·weeks or maybe even a few months that they

·8· ·actually provided what they viewed as a, I

·9· ·would say, a true copy of the dossier, rather

10· ·than the version that we had obtained through

11· ·public sources.

12· · · ·Q.· · How did the, what you've described

13· ·as a true copy of the dossier, how did that

14· ·differ from what you had obtained from public

15· ·sources?

16· · · ·A.· · It didn't.

17· · · ·Q.· · Then I guess I'm just confused.· You

18· ·distinguished the two from each other.· How --

19· · · · · · ·Were they different at all?

20· · · ·A.· · I just said they did not.· You asked

21· ·me if they gave me documents, and I told you

22· ·they did.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 20 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               19

·1· · · ·Q.· · Okay.· And you described that they

·2· ·provided you with a true copy of the dossier as

·3· ·opposed to what you had from public sources.

·4· ·And so I'm wondering how those two differ?

·5· · · · · · ·MS. BOLGER:· Asked and answered.

·6· · · · · · ·THE WITNESS:· They didn't.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · Other than a copy of the dossier,

·9· ·did they provide you with any documents?

10· · · ·A.· · Through the course of the

11· ·investigation when material was requested

12· ·through discovery and discovery was returned,

13· ·of course they passed us those documents for

14· ·review.

15· · · ·Q.· · What documents did they provide you

16· ·for review?

17· · · ·A.· · There's a myriad of documents.· Um,

18· ·the data related to Bit.ly.· We had requested

19· ·additional documents from XBT and --

20· · · · · · ·Or we had requested various

21· ·information from XBT, and XBT did not provide

22· ·it, objected to providing it, and they passed


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 21 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               20

·1· ·us XBT's objections for review and

·2· ·strategizing, in which we then moved to compel

·3· ·and XBT still didn't provide those documents.

·4· ·So throughout that process documents were

·5· ·passed back and forth.

·6· · · ·Q.· · Other than the copy of the dossier,

·7· ·the data related to Bit.ly, the documents from

·8· ·XBT and XBT's objections, what materials did

·9· ·BuzzFeed give you to review?

10· · · ·A.· · Depositions from Goederich and

11· ·Bezruchenko.· That's all I can recall at the

12· ·moment.

13· · · ·Q.· · Did anyone else at FTI work on the

14· ·assignment from BuzzFeed with you?

15· · · ·A.· · Yes.

16· · · ·Q.· · And who else at FTI?

17· · · ·A.· · Colleagues within my cyber security

18· ·practice and other practices within the firm.

19· · · ·Q.· · I'd like the names of the

20· ·individuals, please.

21· · · ·A.· · I don't have an accurate list of

22· ·names, but I can name Joseph Knight, Cody


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 22 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               21

·1· ·Brown, David Best, Brett McNeil, Victor

·2· ·Epstein, Katie Donnelly, Kelly Foy, Amber

·3· ·Buykes, Doug Rogers, Thomas Fedorik, Michelle

·4· ·Riesley --

·5· · · ·Q.· · I'm sorry?

·6· · · ·A.· · Michelle Riesley.

·7· · · · · · ·-- Michael Horoho, Anthony Kelly.

·8· ·That's all I can recall at this time.

·9· · · ·Q.· · Who is Joseph Knight?

10· · · ·A.· · Joseph Knight is a colleague at FTI

11· ·Consulting who specializes in data and

12· ·analytics.

13· · · ·Q.· · And who is Cody Brown?

14· · · ·A.· · Cody Brown is a member of my team, a

15· ·cyber security subject matter expert.

16· · · ·Q.· · I should ask:· Is Joseph Knight in

17· ·the D.C. office?

18· · · ·A.· · He is.

19· · · ·Q.· · And is Cody Brown in the D.C.

20· ·office?

21· · · ·A.· · He's based out of the New York

22· ·office.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 23 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               22

·1· · · ·Q.· · And who is David Best?

·2· · · ·A.· · David Best is a cyber security

·3· ·subject matter expert.

·4· · · ·Q.· · And based out of?

·5· · · ·A.· · Philadelphia.

·6· · · ·Q.· · And Brett McNeil?

·7· · · ·A.· · Brett McNeil is an intelligence

·8· ·collector based out of the Chicago office.

·9· · · ·Q.· · What does it mean to be an

10· ·intelligence collector?

11· · · ·A.· · An individual that collects

12· ·intelligence.

13· · · ·Q.· · What kind of intelligence?

14· · · ·A.· · Whatever that individual is assigned

15· ·to.· I would describe him as a sophisticated

16· ·investigator.

17· · · ·Q.· · In connection with the assignment

18· ·from BuzzFeed what intelligence was Brett

19· ·McNeil asked to collect?

20· · · ·A.· · We identified through open sources

21· ·all attributes of XBT's infrastructure, all

22· ·technical attributes of XBT's infrastructure,


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 24 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               23

·1· ·and Brett was involved with identifying those

·2· ·attributes of XBT's infrastructure and related

·3· ·entities.

·4· · · ·Q.· · Who is Victor Epstein?

·5· · · ·A.· · Victor Epstein is also an

·6· ·intelligence collector.· His role was similar

·7· ·to Brett McNeil's.

·8· · · ·Q.· · And where is Victor out of?

·9· · · ·A.· · Victor is out of the Boston office.

10· · · ·Q.· · And who is Katie Donnelly?

11· · · ·A.· · Katie Donnelly is out of the

12· ·Washington, D.C. office, and she's an

13· ·intelligence collector.

14· · · ·Q.· · And what type of intelligence was

15· ·she asked to collect in connection with

16· ·BuzzFeed?

17· · · ·A.· · Similar to the work Brett and Victor

18· ·did.

19· · · ·Q.· · Kelly Foy?

20· · · ·A.· · Kelly Foy.

21· · · ·Q.· · And who is Kelly Foy?

22· · · ·A.· · Kelly Foy, again an intelligence


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 25 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               24

·1· ·collector similar to Katie, Brett and Victor.

·2· · · ·Q.· · Also out of D.C.?

·3· · · ·A.· · Kelly is out of Chicago.

·4· · · ·Q.· · Amber Buykes?

·5· · · ·A.· · Out of Chicago, also an intelligence

·6· ·collector.

·7· · · ·Q.· · And what was she assigned to

·8· ·collect?

·9· · · ·A.· · Similar to Brett, Katie, Amber,

10· ·Victor.

11· · · ·Q.· · So far it's all about XBT

12· ·infrastructure.· Is that correct?

13· · · ·A.· · It's about identifying attributes of

14· ·XBT's infrastructure related entities.

15· ·Correct.

16· · · ·Q.· · Doug Rogers?

17· · · ·A.· · Doug Rogers is a forensic

18· ·accountant.

19· · · ·Q.· · Out of what office?

20· · · ·A.· · Washington, D.C.

21· · · ·Q.· · And what was Doug tasked to do in

22· ·connection with the BuzzFeed engagement?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 26 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               25

·1· · · · · · ·MS. BOLGER:· In connection with the

·2· ·expert report published for which Mr. Ferrante

·3· ·is here to testify to.

·4· · · · · · ·MR. FRAY-WITZER:· Well, he was

·5· ·retained, he performed an investigation, and so

·6· ·I can ask about all of the aspects of the

·7· ·investigation performed.

·8· · · · · · ·MS. BOLGER:· You can ask about the

·9· ·testimony that Mr. Ferrante --

10· · · · · · ·You can ask about the subject matter

11· ·which Mr. Ferrante has been offered as a

12· ·testifying expert, right.· If there's other

13· ·information that FTI provided in a consulting

14· ·basis that doesn't relate to the information

15· ·Mr. Ferrante is about to testify to, then that

16· ·would be a consulting expert testimony.

17· · · · · · ·I actually don't know, to tell you

18· ·the truth, what the answer's going to be to

19· ·your question, but I'm telling you that if

20· ·there is --

21· · · · · · ·Mr. Ferrante is here to offer a

22· ·particular expert opinion as a testifying


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 27 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               26

·1· ·expert, and any other work that's not --

·2· · · · · · ·-- that's outside of that opinion

·3· ·would be considered on a consulting basis.

·4· · · · · · ·MR. FRAY-WITZER:· Okay.· I don't

·5· ·think you can separate one witness in

·6· ·particular where --

·7· · · · · · ·If he was conducting an

·8· ·investigation and it came up with useful

·9· ·information, you could have then included it in

10· ·the expert report.· If it didn't come up with

11· ·useful information, you can't shield it by

12· ·simply saying:· That's not in the report so

13· ·we're not going to let him testify about it.

14· · · · · · ·MS. BOLGER:· So I actually disagree

15· ·with you on the law.· I agree with you that if

16· ·there's information that informed Mr.

17· ·Ferrante's testifying opinion that's the

18· ·subject matter of the testimony which Mr.

19· ·Ferrante is here to offer, then I think you're

20· ·probably right.· But I think if there's a whole

21· ·other subject matter that someone collected

22· ·information on that had nothing do with the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 28 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               27

·1· ·expert report, it would be as matter of law

·2· ·considered a consulting expert opinion.

·3· ·That's --

·4· · · · · · ·So you and I can disagree on the

·5· ·law.· I'm going to instruct the witness that if

·6· ·this is testimony --

·7· · · · · · ·-- if there's any research done that

·8· ·was done on a subject matter unrelated to any

·9· ·of the opinions offered in the expert report

10· ·that he's here to testify to, I'm going to ask

11· ·him not to answer that question.· I actually

12· ·don't know if that's the answer, but that's

13· ·what my objection is.

14· · · · · · ·MR. FRAY-WITZER:· Okay.

15· · · · · · ·(Phone ringing.)

16· · · · · · ·Do you need to get it?

17· · · · · · ·MS. BOLGER:· I actually do need to

18· ·get it.· Can I take a 10-minute break?

19· · · · · · ·(Recess taken at 10:50 a.m.)

20· · · · · · ·(Deposition resumed at 10:57 a.m.)

21· · · · · · ·MR. FRAY-WITZER:· So actually you

22· ·and I were in discussion.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 29 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               28

·1· · · · · · ·MS. BOLGER:· I think we were done

·2· ·and Anthony can answer your question.

·3· · · · · · ·MR. FRAY-WITZER:· And actually

·4· ·though, I want to make clear that to the extent

·5· ·that you are instructing this witness not to

·6· ·answer about subjects that might not have been

·7· ·included in the report, we do --

·8· · · · · · ·MS. BOLGER:· Or relied on.

·9· · · · · · ·MR. FRAY-WITZER:· -- we do disagree

10· ·about that.· And so if you're going to instruct

11· ·him, then I'd like you to instruct him formally

12· ·and we will probably take it up with the Court.

13· · · · · · ·MS. BOLGER:· Why don't we actually

14· ·ask the question again since I've lost the

15· ·question.· We'll let the witness answer, and we

16· ·can decide what we're doing next.

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · What forensic accounting assignments

19· ·did Doug Rogers have in connection with the

20· ·BuzzFeed engagement?

21· · · ·A.· · I actually can't speak to the work

22· ·that he did.· I'm just not familiar with it.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 30 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               29

·1· · · ·Q.· · Who assigned him whatever work he

·2· ·did?

·3· · · ·A.· · Um, I mean, I assigned him.· I just

·4· ·can't speak to what he did.· Accounting is not

·5· ·my background.

·6· · · ·Q.· · What did you assign him to do?

·7· · · ·A.· · As we looked into XBT and related

·8· ·entities, we wanted to ensure that we didn't

·9· ·miss any business entities, and Doug was tasked

10· ·to look into that.

11· · · ·Q.· · Why would a forensic accountant be

12· ·investigating business entities?

13· · · ·A.· · It's my understanding that --

14· · · · · · ·It's my understanding that Doug

15· ·looked into --

16· · · · · · ·Doug had a good understanding of

17· ·business filings and business accounting

18· ·practices, and it's my understanding that Doug

19· ·provided that those sort of --

20· · · · · · ·-- that insight into the research as

21· ·we tried to link business entities to XBT.

22· · · ·Q.· · Did any of Doug's work have to do


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 31 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               30

·1· ·with examining finances?· Or was it limited to

·2· ·connecting business entities?

·3· · · ·A.· · I can't say definitively.

·4· · · ·Q.· · To the extent that you assigned him

·5· ·the work.

·6· · · ·A.· · Doug is a forensic accountant, and

·7· ·Doug was tasked to link business entities to

·8· ·XBT.

·9· · · ·Q.· · Who is Thomas Vicorick?

10· · · ·A.· · Excuse me?

11· · · ·Q.· · Thomas, I think it was Vicorick?

12· · · ·A.· · I don't recall that name.

13· · · ·Q.· · Was there a Thomas?

14· · · ·A.· · I don't recall that name.

15· · · ·Q.· · Michelle Riesley?

16· · · ·A.· · Michelle Riesley.

17· · · ·Q.· · Riesley?

18· · · ·A.· · She is an intelligence collector.

19· · · ·Q.· · And out of what office?

20· · · ·A.· · Chicago.

21· · · · · · ·Thomas Fedorik.

22· · · ·Q.· · Fedorik.· I was writing quickly.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 32 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               31

·1· ·We'll go back to him in a second.

·2· · · · · · ·What kind of intelligence was

·3· ·Michelle collecting?

·4· · · ·A.· · Again, similar to Brett, Amber, she

·5· ·was tasked with identifying XBT and related

·6· ·entities, related infrastructure.

·7· · · ·Q.· · Thomas Vicorick?

·8· · · ·A.· · Thomas Fedorik --

·9· · · ·Q.· · Fedorik.

10· · · ·A.· · -- is out of New York, and he was

11· ·involved with proofreading and leading.

12· · · ·Q.· · What does "leading" mean?

13· · · ·A.· · Making sure staff was happy.

14· · · ·Q.· · We need one of those in my office.

15· · · ·A.· · You know, Tom's a seasoned

16· ·intelligence collector, and --

17· · · ·Q.· · Michael Horoho?

18· · · ·A.· · Michael Horoho is a data expert.

19· · · ·Q.· · And when you say "data expert", what

20· ·do you mean?

21· · · ·A.· · Large quantities of data, processing

22· ·that data, understanding what the data means,


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 33 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               32

·1· ·analyzing that data.

·2· · · ·Q.· · And Anthony Kelly?

·3· · · ·A.· · Also a data expert.

·4· · · ·Q.· · And is Anthony's expertise similar?

·5· · · ·A.· · Yes.

·6· · · ·Q.· · Is there anyone else that you recall

·7· ·from FTI who worked on the BuzzFeed engagement?

·8· · · ·A.· · Not at this moment.

·9· · · ·Q.· · In the course of your investigatory

10· ·work, did you or anyone from your team contact

11· ·anyone at the FBI?

12· · · ·A.· · No.

13· · · ·Q.· · Did you or anyone at your team

14· ·contact anyone at the Department of Justice?

15· · · ·A.· · No.

16· · · ·Q.· · Did you or anyone at your team

17· ·contact anyone at any government agency in

18· ·connection with the BuzzFeed engagement?

19· · · ·A.· · In connection with the BuzzFeed

20· ·engagement we did not.

21· · · ·Q.· · Did you contact anyone at a

22· ·government agency in connection with the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 34 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               33

·1· ·investigatory work?

·2· · · ·A.· · Can you be more clear.

·3· · · ·Q.· · Well, you seemed to differentiate

·4· ·when you answered the last question about not

·5· ·with respect to the BuzzFeed engagement, so I

·6· ·wanted to know --

·7· · · ·A.· · I differentiated because I am a

·8· ·career government employee with extensive

·9· ·contacts in and throughout the government, and

10· ·I want to be crystal clear that I did not speak

11· ·to anyone within the government regarding my

12· ·work on this case, but I do maintain positive

13· ·social relationships with government employees.

14· · · ·Q.· · Sure.· Okay.· Did you or anyone at

15· ·your team contact Fusion GPS?

16· · · ·A.· · At the --

17· · · · · · ·I would say when we were first

18· ·retained we had an information exchange with

19· ·two representatives from Fusion GPS.

20· · · ·Q.· · Which --

21· · · · · · ·MS. BOLGER:· I'm going to take a

22· ·quick break.· Hold on.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 35 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               34

·1· · · · · · ·Talk to me outside.

·2· · · · · · ·(Recess taken at 11:05 a.m.)

·3· · · · · · ·(Deposition resumed at 11:06 a.m.)

·4· · · · · · ·Can you ask your next question.

·5· ·BY MR. FRAY-WITZER:

·6· · · ·Q.· · Which representatives of Fusion GPS

·7· ·did you speak to?

·8· · · · · · ·MS. BOLGER:· So the meetings with

·9· ·Fusion GPS were part of a joint defense

10· ·agreement in another matter not related to this

11· ·matter, and obviously Mr. Ferrante can give you

12· ·some information that wouldn't be privileged,

13· ·like who was there, but the information in that

14· ·meeting actually related to a different matter.

15· · · · · · ·MR. FRAY-WITZER:· Okay.· Well, Mr.

16· ·Ferrante's testimony was that when they were

17· ·first retained in this matter they had an

18· ·information exchange with Fusion GPS.· So I

19· ·guess I'm --

20· · · · · · ·MS. BOLGER:· It's not in this

21· ·matter.· I mean, there's a different --

22· · · · · · ·There are other matters, right?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 36 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               35

·1· ·This information exchange was not --

·2· · · · · · ·It was pursuant to a joint defense

·3· ·agreement in a different matter.

·4· · · · · · ·MR. FRAY-WITZER:· I just don't think

·5· ·that's what the testimony was so far.

·6· · · · · · ·MS. BOLGER:· I think you're an

·7· ·excellent questioner and I don't mean this with

·8· ·disrespect, but I don't think your question was

·9· ·sufficiently precise that you could make that

10· ·distinction at this moment.

11· ·BY MR. FRAY-WITZER:

12· · · ·Q.· · Well, let's start with:· Who were

13· ·the representatives of Fusion GPS?

14· · · ·A.· · I don't actually recall their last

15· ·names, I just remember Laura and Jake, I

16· ·believe.· I may even be wrong there.

17· · · ·Q.· · Did you meet with Glen Simpson?

18· · · ·A.· · No.

19· · · ·Q.· · In your meeting with Fusion GPS did

20· ·you discuss Aleks Gubarev?

21· · · · · · ·MS. BOLGER:· I'm going to again say

22· ·that the meeting was pursuant to a joint


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 37 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               36

·1· ·defense privilege in a different matter, so I'm

·2· ·going to instruct the witness not to answer the

·3· ·question.

·4· · · · · · ·MR. FRAY-WITZER:· I've now limited

·5· ·very specifically to one of the plaintiffs in

·6· ·this matter.· I'm not sure how his name would

·7· ·have come up in connection with a completely

·8· ·unrelated case.· I understand you're

·9· ·instructing the witness not to answer, but I

10· ·will say that we'll take that up.

11· · · · · · ·MS. BOLGER:· That's fine.· You know

12· ·you're not the only lawsuit in town on this

13· ·subject.

14· · · · · · ·MR. FRAY-WITZER:· We're the only

15· ·important lawsuit.

16· · · · · · ·(Laughing.)

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · So just to be fair, I'm going to ask

19· ·a series of questions.· You should wait because

20· ·I suspect you'll get similar instructions.

21· · · · · · ·In connection with your meeting at

22· ·Fusion GPS did you discuss XBT Holdings?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 38 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               37

·1· · · · · · ·MS. BOLGER:· I'll instruct the

·2· ·witness not to answer for the same reasons.

·3· ·BY MR. FRAY-WITZER:

·4· · · ·Q.· · In your meeting with Fusion GPS did

·5· ·you discuss Webzilla?

·6· · · · · · ·MS. BOLGER:· Same instruction.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · In your meeting with Fusion GPS did

·9· ·you discuss the contents of the December memo?

10· · · · · · ·MS. BOLGER:· Same instruction.

11· · · · · · ·And also objection.· Vague.· I don't

12· ·know that this witness knows what the December

13· ·memo is.

14· ·BY MR. FRAY-WITZER:

15· · · ·Q.· · Do you know what the December memo

16· ·is?

17· · · ·A.· · I actually don't.

18· · · ·Q.· · Why don't we mark this.

19· · · · · · ·(Exhibit 1 marked for

20· ·identification.)

21· · · · · · ·So you've been shown what's been

22· ·marked as Exhibit No. 1.· Why don't you take a


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 39 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               38

·1· ·moment to look at it, and tell me please if

·2· ·you've ever seen this document before?

·3· · · · · · ·(Witness reviewed document.)

·4· · · ·A.· · What's the question?

·5· · · ·Q.· · The question was:· Have you ever

·6· ·seen this document before?

·7· · · ·A.· · I've seen this text.· This 2-page

·8· ·document I've never seen before.

·9· · · ·Q.· · When you say you've seen this text,

10· ·did you see this document as part of a larger

11· ·collection of memos that has become known as

12· ·the Steele dossier or the dossier?

13· · · ·A.· · Yes.

14· · · ·Q.· · Do you understand that the Steele

15· ·dossier is actually a collection of 16 or 17

16· ·separate memorandum?

17· · · · · · ·MS. BOLGER:· I object.· That's a

18· ·misrepresentation.

19· · · · · · ·But you can answer that.

20· · · · · · ·THE WITNESS:· Can you ask your

21· ·question again.

22· ·BY MR. FRAY-WITZER:


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 40 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               39

·1· · · ·Q.· · Do you understand that the Steele

·2· ·dossier is a collection of 16 or 17 separate

·3· ·memorandum?

·4· · · · · · ·MS. BOLGER:· Same objection.

·5· · · · · · ·THE WITNESS:· I understand the

·6· ·Steele dossier to be a collection of

·7· ·memorandums.

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · Do you understand that this document

10· ·in front of you marked as No. 1 was the final

11· ·memo issued by Christopher Steele?

12· · · ·A.· · I have no basis on which to make

13· ·that --

14· · · · · · ·-- to agree or disagree.

15· · · ·Q.· · If --

16· · · ·A.· · I don't know how many memos Steele

17· ·actually published.

18· · · ·Q.· · If during the deposition we refer to

19· ·this document as the December memo, will you

20· ·understand what we're talking about?

21· · · · · · ·MS. BOLGER:· I will object to that

22· ·characterization, but the witness can certainly


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 41 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               40

·1· ·agree to it.

·2· · · · · · ·THE WITNESS:· I think in the

·3· ·interest of clarity, why don't we just refer to

·4· ·it as 1.

·5· ·BY MR. FRAY-WITZER:

·6· · · ·Q.· · Okay.· We will call it Exhibit No.

·7· ·1.

·8· · · ·A.· · I think that's fair.

·9· · · ·Q.· · In your meeting with Fusion GPS did

10· ·you discuss any of the information included in

11· ·Exhibit No. 1?

12· · · · · · ·MS. BOLGER:· Objection.· Same as

13· ·before.· That meeting was protected by a joint

14· ·defense privilege in another matter.

15· ·BY MR. FRAY-WITZER:

16· · · ·Q.· · In connection with your meeting with

17· ·Fusion GPS did you have any discussions about

18· ·Seva Kapsugovich?

19· · · · · · ·MS. BOLGER:· Same objection.· Same

20· ·instruction.

21· ·BY MR. FRAY-WITZER:

22· · · ·Q.· · Did you or anyone from your team


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 42 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               41

·1· ·contact Christopher Steele in connection with

·2· ·the engagement from BuzzFeed?

·3· · · ·A.· · No.

·4· · · ·Q.· · Did you attempt to contact

·5· ·Christopher Steele?

·6· · · ·A.· · No.

·7· · · ·Q.· · Did you attempt to contact anyone at

·8· ·Orbis Business?

·9· · · ·A.· · The answer is no.

10· · · ·Q.· · Did you contact anyone at

11· ·CrowdStrike?

12· · · ·A.· · Independent of counsel, no.

13· · · ·Q.· · So did you or any member of your

14· ·team directly contact anyone at CrowdStrike?

15· · · ·A.· · Independent of counsel, no.

16· · · ·Q.· · With counsel did you or anyone from

17· ·your team contact CrowdStrike?

18· · · ·A.· · No one, myself included, no one from

19· ·my team, myself included, ever contacted

20· ·CrowdStrike directly.

21· · · ·Q.· · Were you part of any conference call

22· ·or call with anyone from CrowdStrike?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 43 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               42

·1· · · ·A.· · No.

·2· · · ·Q.· · And does that apply to your team as

·3· ·well?

·4· · · ·A.· · My understanding is no.

·5· · · ·Q.· · What is the hourly rate that you are

·6· ·charging in this engagement?

·7· · · ·A.· · I believe it is $880 per hour.

·8· · · ·Q.· · And is your rate the same regardless

·9· ·of whether or not it's providing testimony or

10· ·investigation?· Or do you have different rates

11· ·for those things?

12· · · ·A.· · I do not.· It's one rate.

13· · · ·Q.· · To date how much has FTI billed

14· ·BuzzFeed in connection with the present

15· ·engagement?

16· · · ·A.· · I believe the figure is just below

17· ·$4,100,000.

18· · · ·Q.· · So if you look back at Exhibit No.

19· ·1, please, the second page, Paragraph No. 3,

20· ·there's a redaction line, and it says:

21· ·"Reported that over the period March to

22· ·September 2016 a company called XBT/Webzilla


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 44 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               43

·1· ·and its affiliates had been using botnets and

·2· ·porn traffic to transmit viruses, plant bugs,

·3· ·steal data and conduct 'altering operations'

·4· ·against the Democratic Party leadership.

·5· ·Entities linked to one Aleksej Gubarev were

·6· ·involved, and he and another hacking expert,

·7· ·both recruited under duress by the FSB, Seva

·8· ·Kapsugovich, were significant players in this

·9· ·operation."

10· · · · · · ·Did I read that correctly as a

11· ·starting point?

12· · · ·A.· · Correct.

13· · · ·Q.· · Is it correct to say that when you

14· ·spoke about your engagement being to

15· ·investigate the allegations contained in the

16· ·dossier, that's the portion that we're talking

17· ·about that you were focusing your investigation

18· ·on.· Is that correct?

19· · · · · · ·MS. BOLGER:· Objection.· That is not

20· ·his testimony.· He did not testify --

21· · · · · · ·You characterized his testimony

22· ·incorrectly, but he will --


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 45 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               44

·1· · · · · · ·-- can take care of himself.

·2· · · · · · ·MR. FRAY-WITZER:· You can answer the

·3· ·question.

·4· · · · · · ·THE WITNESS:· My answer to your

·5· ·question is:· You mischaracterized the scope of

·6· ·my assignment.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · Why don't you tell me how you think

·9· ·I've mischaracterized that?

10· · · ·A.· · So I will tell you the scope of my

11· ·assignment.· The first part of what you read.

12· ·The scope of my assignment was to conduct a

13· ·technical investigation to collect evidence

14· ·related to:· "A company called XBT/Webzilla and

15· ·its affiliates had been using botnets and porn

16· ·traffic to transmit viruses, plant bugs, steal

17· ·data and conduct 'altering operations' against

18· ·the Democratic Party leadership."

19· · · ·Q.· · So just so that I understand, the

20· ·second sentence that I had read:· "Entities

21· ·linked to one Aleksej Gubarev were involved and

22· ·he and another hacking expert, both recruited


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 46 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               45

·1· ·under duress by the FSB, Seva Kapsugovich, were

·2· ·significant players in this operation."

·3· · · · · · ·Do I understand you to be saying

·4· ·that you were not investigating the part that I

·5· ·just read?

·6· · · ·A.· · Other than the fact that Aleksej

·7· ·Gubarev owned and operated XBT, it was outside

·8· ·the scope of my investigation.

·9· · · ·Q.· · So am I correct that you didn't

10· ·investigate, for example, whether or not

11· ·Aleksej Gubarev was working for the FSB?

12· · · ·A.· · Other than the fact that Aleksej

13· ·Gubarev owns and operates XBT, that was outside

14· ·the scope of my investigation.

15· · · ·Q.· · So you were not investigating

16· ·whether or not he was working for the FSB?

17· · · ·A.· · Other than the fact that Aleksej

18· ·Gubarev owns and operates XBT, it was outside

19· ·the scope of my investigation.

20· · · ·Q.· · Did you do any investigation with

21· ·respect to Seva Kapsugovich?

22· · · ·A.· · The scope of my investigation was to


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 47 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               46

·1· ·conduct a technical investigation and to

·2· ·collect evidence related to the malicious cyber

·3· ·activity described in the dossier, as quoted:

·4· ·"A company called XBT/Webzilla and its

·5· ·affiliates had been using botnets and porn

·6· ·traffic to transmit viruses, plant bugs, steal

·7· ·data and conduct 'altering operations' against

·8· ·the Democratic Party leadership."

·9· · · ·Q.· · Again, my question is different.                   I

10· ·don't think --

11· · · · · · ·I don't think that this is a

12· ·complicated question.· Did you investigate Seva

13· ·Kapsugovich?

14· · · ·A.· · It was not in the scope of my

15· ·investigation.

16· · · ·Q.· · Whether or not Aleks Gubarev was

17· ·recruited under duress by the FSB was not in

18· ·the scope of your investigation, correct?

19· · · ·A.· · Other than the fact he owns and

20· ·operates, Aleksej Gubarev owns and operates

21· ·XBT, wasn't the scope of my investigation.

22· · · ·Q.· · You're not saying that XBT is the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 48 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               47

·1· ·FSB, right?

·2· · · ·A.· · That is not my opinion.

·3· · · ·Q.· · Have you ever spoken with Jana

·4· ·Winter?

·5· · · ·A.· · I have.

·6· · · ·Q.· · Did she interview you in connection

·7· ·with an article that she wrote for Foreign

·8· ·Policy Magazine?

·9· · · ·A.· · She did not interview me.

10· · · ·Q.· · Did she speak to you in connection

11· ·with the article?

12· · · ·A.· · She did.

13· · · ·Q.· · To the best of your recollection,

14· ·what did you say to Jana Winter?

15· · · ·A.· · I spoke with Jana Winter because she

16· ·was about to publish an article which was just

17· ·factually inaccurate.

18· · · ·Q.· · In what ways was it factually

19· ·inaccurate?

20· · · ·A.· · Um, she was to publish an article

21· ·that stated that I was a government employee

22· ·working in private industry on a 3-year


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 49 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               48

·1· ·assignment, which was factually incorrect.

·2· · · ·Q.· · Do you know how Jana Winter came to

·3· ·know of your engagement for BuzzFeed to begin

·4· ·with?

·5· · · ·A.· · I do not.

·6· · · ·Q.· · Why don't we mark this as No. 2.

·7· · · · · · ·(Exhibit 2 marked for

·8· ·identification.)

·9· · · · · · ·You're being shown what's been

10· ·marked as Exhibit No. 2.· Can you tell me if

11· ·you have seen this document before?

12· · · ·A.· · I have.

13· · · ·Q.· · And this document is the article

14· ·that was printed in Foreign Policy Magazine,

15· ·correct?

16· · · · · · ·MS. BOLGER:· Object.· Online version

17· ·of the article, but I can't compare it with the

18· ·magazine.

19· · · · · · ·THE WITNESS:· Based on my

20· ·recollection this does look like a printout

21· ·from what appears to be their website.

22· ·BY MR. FRAY-WITZER:


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 50 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               49

·1· · · ·Q.· · If you would look at the second

·2· ·page, please, approximately 2/3 of the way down

·3· ·the page it says:· "At FTI, Ferrante launched

·4· ·what's now been a months-long stealth effort

·5· ·chasing down documents and conducting

·6· ·interviews on the ground in various countries

·7· ·around the world.· His team directed BuzzFeed

·8· ·lawyers to subpoena specific data and testimony

·9· ·from dozens of agencies or companies across the

10· ·country and assembled a cyber ops war room to

11· ·analyze that data, according to sources

12· ·familiar with the work."

13· · · · · · ·Did I read that correctly?

14· · · ·A.· · You read it correctly.

15· · · ·Q.· · Did you and your team conduct

16· ·interviews on the ground in various countries

17· ·in connection with the engagement by BuzzFeed?

18· · · ·A.· · We did not.

19· · · ·Q.· · Did you or any member of your team

20· ·conduct any interviews outside of the United

21· ·States in connection with your engagement by

22· ·BuzzFeed?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 51 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               50

·1· · · ·A.· · We did not.

·2· · · ·Q.· · Was part of your engagement by

·3· ·BuzzFeed to conduct a factual inquiry into the

·4· ·truth or falsity of allegations contained in

·5· ·the dossier, separate and aside from the cyber

·6· ·aspect of it?

·7· · · ·A.· · The scope of our assignment was to

·8· ·conduct a technical investigation and to

·9· ·collect evidence that linked XBT to the

10· ·allegations stated in the Steele dossier.

11· · · ·Q.· · You've probably seen some of the

12· ·same media reports as I have in which they

13· ·categorize part of your assignment to try and

14· ·find the "pee-pee tape".· Was that part of your

15· ·assignment from BuzzFeed?

16· · · · · · ·(Laughing.)

17· · · · · · ·MS. BOLGER:· You can answer that,

18· ·Anthony.

19· · · · · · ·As much as I want to object to the

20· ·word, just for the sake of history I want to

21· ·object to the word pee-pee, I don't have an

22· ·objection.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 52 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               51

·1· · · · · · ·THE WITNESS:· I'm sorry.· What was

·2· ·the question?

·3· · · · · · ·(Laughing.)

·4· · · · · · ·MR. FRAY-WITZER:· Would you read

·5· ·that back please.

·6· · · · · · ·(Court Reporter read back.)

·7· · · · · · ·THE WITNESS:· That was outside the

·8· ·scope of my assignment.

·9· ·BY MR. FRAY-WITZER:

10· · · ·Q.· · Prior to being employed by FTI,

11· ·where were you employed immediately before

12· ·working for FTI?

13· · · ·A.· · Immediately before I was a

14· ·Department of Justice employee, employed

15· ·specifically at the Federal Bureau of

16· ·Investigation.

17· · · ·Q.· · And was one of your assignments when

18· ·you were with the FBI to investigate Russian

19· ·interference in the 2016 Presidential Election?

20· · · ·A.· · Correct.

21· · · ·Q.· · What aspects of Russian interference

22· ·were you working on?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 53 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               52

·1· · · · · · ·MS. BOLGER:· Object to the question.

·2· · · · · · ·You can answer, Anthony.

·3· · · · · · ·THE WITNESS:· So the question you

·4· ·asked was:· Where was I immediately employed

·5· ·prior to FTI?

·6· · · · · · ·I was a Department of Justice

·7· ·employee, specifically employed by the Federal

·8· ·Bureau of Investigation.· My last 2 years at

·9· ·the FBI I was detailed to the National Security

10· ·Council at the White House where I served as

11· ·the Director For Cyber Incident Response on the

12· ·National Security Council on the Cyber Security

13· ·Directorate.· In my capacity as the Director

14· ·For Cyber Incident Response I choreographed

15· ·U.S. Government response efforts to significant

16· ·cyber events.

17· · · · · · ·So your question -- I'm sorry.· If

18· ·you can re-ask or we can have it reread -- I

19· ·would like to answer it.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · Which aspects of Russian

22· ·interference in the presidential election did


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 54 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               53

·1· ·you work on while at the FBI or National

·2· ·Security Council?

·3· · · · · · ·MS. BOLGER:· I'm going to object as

·4· ·vague.

·5· · · · · · ·But you can answer.

·6· · · · · · ·THE WITNESS:· So while I was on the

·7· ·National Security Council, again I was the

·8· ·Director For Cyber Security Response and I

·9· ·choreographed U.S. Government response efforts

10· ·to significant cyber events affecting the

11· ·United States, domestic and abroad.· Leading

12· ·into the 2016 Presidential Election I worked on

13· ·the National Security Council and choreographed

14· ·the interagency response efforts to the

15· ·targeting of the 50 states, and I led the

16· ·preparedness and response efforts specific to

17· ·cyber security, significant cyber security

18· ·events that may or could take place leading up

19· ·to and on election day in 2016.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · When you say "the targeting of the

22· ·50 states", what are you referring to?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 55 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               54

·1· · · ·A.· · I'm referring to --

·2· · · · · · ·I will limit my answer to publicly

·3· ·available information because I don't want to

·4· ·reveal anything classified.

·5· · · ·Q.· · Absolutely.

·6· · · ·A.· · But I'm referring to the targeting

·7· ·of malicious cyber activity to states in the

·8· ·United States, the various state Boards of

·9· ·Elections and state infrastructure surrounding

10· ·cyber electoral infrastructure, voter

11· ·registrations.

12· · · ·Q.· · So in simple terms I think we're

13· ·talking about attempts to interfere with actual

14· ·state by state electoral processes.· Is that

15· ·accurate?

16· · · ·A.· · I would say that is correct.· Any

17· ·sort of malicious cyber activity that was

18· ·targeting states within the United States and

19· ·their electoral process.

20· · · ·Q.· · Were you also involved in the

21· ·attempts to influence social media?

22· · · ·A.· · I was not.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 56 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               55

·1· · · ·Q.· · Were you involved in the

·2· ·investigations into the attempts to hack into

·3· ·the Democratic National Committee?

·4· · · ·A.· · I was not involved with the

·5· ·investigative efforts.· No.

·6· · · ·Q.· · Was there some aspect of that

·7· ·investigation that you were involved with?

·8· · · ·A.· · No.· There was no aspect of the

·9· ·investigation that I was involved in.

10· · · · · · ·While I was on the National Security

11· ·Council serving in my role as Director For

12· ·Cyber Incident Response, the targeting and

13· ·hacking of the Democratic National Committee

14· ·was a significant event that, of course, rose

15· ·to high levels within the White House.· And in

16· ·my capacity it was my job to understand that

17· ·the investigation was being worked and to

18· ·assure leadership within the White House that

19· ·it was being worked.

20· · · ·Q.· · Understanding that you were not

21· ·yourself part of the investigation, were you

22· ·kept up-to-date about the progress of the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 57 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               56

·1· ·investigation?

·2· · · ·A.· · No.

·3· · · ·Q.· · Were you given information about the

·4· ·results of the investigation?

·5· · · ·A.· · No.

·6· · · ·Q.· · How could you assure the White House

·7· ·that the investigation was being worked if you

·8· ·were not being provided with any information

·9· ·about the investigation?

10· · · ·A.· · I would say it's a very tight rope.

11· ·But the targeting and hacking of the Democratic

12· ·National Committee was a very, very serious

13· ·matter to all leaders within government, and my

14· ·job as the Director For Cyber Incident Response

15· ·was to ensure that the interagency was

16· ·communicating and collaborating and talking as

17· ·much as possible.· And that was my role.· I had

18· ·confidence, and I knew through my work and

19· ·communicating back to the FBI that updates were

20· ·being provided to the White House directly at

21· ·senior levels.· So specifics on the

22· ·investigation were being briefed at senior


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 58 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               57

·1· ·levels.· And again, my role was to just ensure

·2· ·that people were communicating in that the

·3· ·various entities within the U.S. Government

·4· ·were coordinating.

·5· · · ·Q.· · So just so I'm sure that I

·6· ·understand it, your role was to make sure that

·7· ·people were communicating, but you didn't

·8· ·necessarily know the content of what they were

·9· ·communicating.· Is that right?

10· · · ·A.· · Right.

11· · · · · · ·(Exhibit 3 marked for

12· ·identification.)

13· · · · · · ·Can we take a hospitality break?

14· · · · · · ·MR. FRAY-WITZER:· Yep.· Absolutely.

15· · · · · · ·(Recess taken at 11:39 a.m.)

16· · · · · · ·(Deposition resumed at 11:44 am.)

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · You're being shown what's been

19· ·marked as Exhibit No. 3.· If you would take a

20· ·look at that, please, and tell me if you

21· ·recognize that document.

22· · · ·A.· · Yes.· It appears to be my expert


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 59 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               58

·1· ·report.

·2· · · ·Q.· · And let me just ask you, you signed

·3· ·this report on May 25th, 2018, on Page 37.· Is

·4· ·that correct?

·5· · · ·A.· · Correct.

·6· · · ·Q.· · From May 25th, 2018 to the present,

·7· ·has your opinion changed from what's contained

·8· ·in your expert report?

·9· · · ·A.· · It has not.

10· · · ·Q.· · If you turn to Page 3 of your

11· ·report, please, under your Scope of Assignment,

12· ·you say:· "Specific, high-priority objectives

13· ·were to determine whether:· Botnets and porn

14· ·traffic, hosted by XBT, Webzilla, and its

15· ·affiliates facilitated theft of data from

16· ·Democratic Party leadership."

17· · · · · · ·Is that correct?

18· · · ·A.· · I'm not seeing where you're reading

19· ·this from.· I'm sorry.

20· · · ·Q.· · Page 3.

21· · · ·A.· · Oh, okay.· Yes.

22· · · ·Q.· · If you could, while you're looking


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 60 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               59

·1· ·at this document, also have Exhibit 1

·2· ·available, and the second page.

·3· · · · · · ·From Exhibit 1, Paragraph 3, one of

·4· ·the allegations in that exhibit is that:

·5· ·"XBT/Webzilla and its affiliates had been using

·6· ·botnets and porn traffic to transmit viruses,

·7· ·plant bugs, steal data and conduct 'altering

·8· ·operations' against the Democratic Party

·9· ·leadership."

10· · · · · · ·Correct?

11· · · ·A.· · Correct.

12· · · ·Q.· · In your high-priority objectives you

13· ·talk about botnets and porn traffic being

14· ·hosted by XBT and Webzilla.· Why were you

15· ·considering the question of hosting as opposed

16· ·to whether or not XBT and Webzilla were

17· ·themselves doing those things?

18· · · ·A.· · Can you repeat the question.

19· · · · · · ·MR. FRAY-WITZER:· Can you read it

20· ·back, please.

21· · · · · · ·(Court Reporter read back.)

22· · · · · · ·THE WITNESS:· Okay.· Thank you.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 61 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               60

·1· · · · · · ·I would say because the scope of our

·2· ·assignment was to identify evidence that linked

·3· ·XBT infrastructure to this malicious activity

·4· ·as stated in the Steele dossier.

·5· ·BY MR. FRAY-WITZER:

·6· · · ·Q.· · And so you have not concluded in

·7· ·your report or otherwise that XBT itself used

·8· ·botnets and porn traffic as opposed to its

·9· ·infrastructure.· Is that correct?

10· · · ·A.· · Other than the fact that was --

11· · · · · · ·Other than the fact that the

12· ·malicious cyber activity described in the

13· ·Steele dossier was facilitated by using their

14· ·infrastructure.

15· · · ·Q.· · And I'm sorry.· I think I understand

16· ·your answer, but I just want to clarify.

17· ·You've --

18· · · · · · ·Your conclusion, your opinion is

19· ·that XBT and/or Webzilla's infrastructure was

20· ·utilized to do the malicious things described

21· ·in the Steele dossier, correct?

22· · · ·A.· · Correct.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 62 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               61

·1· · · ·Q.· · But other than the fact that their

·2· ·infrastructure was used, you have not concluded

·3· ·that XBT/Webzilla themselves did those things?

·4· · · ·A.· · In my opinion I think you're

·5· ·extremely oversimplifying complex cyber

·6· ·investigations.· In through the course of my

·7· ·assignment in collecting evidence --

·8· · · · · · ·-- in collecting evidence,

·9· ·substantial evidence that links XBT

10· ·infrastructure to many significant malicious

11· ·cyber events repeatedly, in my expert opinion

12· ·their infrastructure was most certainly used.

13· ·And I think what you're trying to say is that

14· ·were we ever able to put a human behind a

15· ·keyboard at XBT?

16· · · · · · ·And that's why I think you're

17· ·oversimplifying complex cyber investigations.

18· ·They're not binary.· They're not black and

19· ·white.· And what we've done is collect

20· ·substantial evidence that most certainly links

21· ·XBT to the described malicious activity.

22· · · ·Q.· · Through it's infrastructure?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 63 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               62

·1· · · ·A.· · Correct.

·2· · · ·Q.· · You have not concluded that a single

·3· ·XBT employee used botnets or porn traffic to

·4· ·transmit viruses, plants bugs, steal data or

·5· ·conduct altering operations, correct?

·6· · · ·A.· · Again, I would say that I think

·7· ·you're oversimplifying complex cyber

·8· ·investigations.· And based on the information

·9· ·made available to me, I was able to link XBT

10· ·infrastructure to multiple significant cyber

11· ·events over the last few years.· And when those

12· ·significant cyber events took place and they

13· ·were brought to their attention, they did

14· ·little to detect, stop or prevent future

15· ·activities from taking place.

16· · · ·Q.· · I understand that you don't want to

17· ·answer the question that I'm actually asking.

18· ·But the question that I'm actually asking is:

19· ·Putting aside the infrastructure question, were

20· ·you able to determine that any XBT employee

21· ·used botnets or porn traffic to transmit

22· ·viruses, plant bugs, steal data or conduct


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 64 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               63

·1· ·altering operations?

·2· · · · · · ·MS. BOLGER:· Object to the form of

·3· ·the question.

·4· · · · · · ·THE WITNESS:· I think we can

·5· ·disagree that I believe I have answered the

·6· ·question.· But I will further state that other

·7· ·than the fact that XBT employees did little to

·8· ·nothing to detect, stop and prevent the

·9· ·significant malicious activity, I have no

10· ·evidence of them actually sitting behind a

11· ·keyboard.

12· ·BY MR. FRAY-WITZER:

13· · · ·Q.· · And you have no evidence that Aleks

14· ·Gubarev personally did any of the things

15· ·alleged in the Steele dossier?

16· · · ·A.· · Other than the fact that Aleksej

17· ·Gubarev owns and operates XBT and related

18· ·entities, he was outside the scope of my

19· ·assignment.

20· · · ·Q.· · When you say that XBT employees did

21· ·not do enough in response to what you say is

22· ·use of XBT's infrastructure --


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 65 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               64

·1· · · · · · ·And you'd agree with me that you can

·2· ·invest a lot of time and energy into cyber

·3· ·security and it's not going to make you immune,

·4· ·right?

·5· · · · · · ·MS. BOLGER:· Object to the form of

·6· ·the question.· I actually don't understand the

·7· ·question, so can you do it again.· I don't

·8· ·understand what you mean by immune from what?

·9· · · · · · ·I don't understand the question.

10· · · · · · ·MR. FRAY-WITZER:· I understand that.

11· · · · · · ·MS. BOLGER:· Okay.

12· · · · · · ·THE WITNESS:· Yeah.· Can you be a

13· ·little more specific.· Immune from what?· Let's

14· ·start there.

15· ·BY MR. FRAY-WITZER:

16· · · ·Q.· · Well, it's actually a direct quote

17· ·from a seminar that you gave to general counsel

18· ·where you said:· You can invest a lot of time

19· ·and energy into cyber security and it's not

20· ·going to make you immune.

21· · · · · · ·What did you mean when you said it?

22· · · · · · ·MS. BOLGER:· Well, can we have the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 66 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               65

·1· ·context of what he said?· What did he say

·2· ·before?· What did he say after?

·3· · · · · · ·MR. FRAY-WITZER:· Okay.· The

·4· ·objection should be:· Objection to form.

·5· · · · · · ·As we know.

·6· · · · · · ·MS. BOLGER:· We know a lot of

·7· ·things.

·8· · · · · · ·MR. FRAY-WITZER:· So?

·9· · · · · · ·THE WITNESS:· Sure.· Happy to answer

10· ·that.

11· · · · · · ·What I meant -- although I don't

12· ·recall the event, but I know the subject

13· ·matter -- what I mean is that in cyber security

14· ·there's no silver bullet and that it takes a

15· ·myriad of steps to help mitigate and thwart

16· ·malicious cyber activity.

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · And you can do a lot of work and

19· ·still not be immune from hackers or malicious

20· ·activity on your networks.· Isn't that true?

21· · · ·A.· · Of course.

22· · · ·Q.· · If you turn to Page 8 of your


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 67 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               66

·1· ·report, please.· And this describes the

·2· ·methodology you used in your technical

·3· ·investigation.· Is that correct?

·4· · · ·A.· · Yes.· High level.

·5· · · ·Q.· · And you describe it as a three-step

·6· ·approach.· You used "third-party tools to

·7· ·identify all publicly available IP addresses

·8· ·and infrastructure that are hosted by XBT

·9· ·subsidiaries."

10· · · · · · ·Correct?

11· · · ·A.· · Correct.

12· · · ·Q.· · And then you say you compared "the

13· ·infrastructure hosted by XBT to government and

14· ·private security firm threat intelligence

15· ·repositories of IP addresses, domains, and

16· ·malware samples known to propagate malicious

17· ·cyber activity."

18· · · · · · ·Correct?

19· · · ·A.· · That's what it says.

20· · · ·Q.· · And then you reviewed and

21· ·investigated the "matches to determine the type

22· ·and nature of malicious activity or ties to the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 68 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               67

·1· ·hack of Democratic Party leadership and other

·2· ·interference in the 2016 U.S. election."

·3· · · · · · ·Correct?

·4· · · ·A.· · Correct.

·5· · · ·Q.· · There's a footnote on the page.· You

·6· ·say:· "Threat intelligence data used in our

·7· ·report comes from the various private security

·8· ·firms and government agencies referenced

·9· ·throughout the report.· All firms are reputable

10· ·within the security industry."

11· · · · · · ·Correct?

12· · · ·A.· · Correct.· That's what the footnote

13· ·says.

14· · · ·Q.· · What were the security firms that

15· ·you utilized in creating your report?

16· · · ·A.· · Um, I mean, they're all footnoted in

17· ·my report.· But I mean, I couldn't answer this

18· ·right off the top of my head.· I would say

19· ·every security firm that we utilized is most

20· ·certainly footnoted in the report.

21· · · ·Q.· · So Trend Micro for example?

22· · · ·A.· · If it's in my report, then yes.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 69 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               68

·1· · · ·Q.· · And Kaspersky?

·2· · · ·A.· · If it's in my report, then yes.

·3· · · ·Q.· · I'll represent to you that Kaspersky

·4· ·is in your report.

·5· · · · · · ·Is the United States Government

·6· ·allowed to use software by Kaspersky?

·7· · · ·A.· · I would refer you to the United

·8· ·States Government.· I don't speak on behalf of

·9· ·the United States Government.

10· · · · · · ·(Exhibit 4 marked for

11· ·identification.)

12· · · ·Q.· · I'm showing you what's been marked

13· ·as Exhibit No. 4, Department of Homeland

14· ·Security Statement on the Issuance of Binding

15· ·Operational Directive 17-01, dated

16· ·September 13th, 2017.

17· · · · · · ·You've seen that document before,

18· ·right?

19· · · ·A.· · Um, I can't recall if I've ever seen

20· ·this exact document, but I'm familiar with the

21· ·information around it.

22· · · ·Q.· · And it says there:· "The Department


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 70 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               69

·1· ·is concerned about the ties between certain

·2· ·Kaspersky officials and Russian intelligence

·3· ·and other government agencies".

·4· · · · · · ·It's the first page towards the

·5· ·bottom.

·6· · · ·A.· · Yep.· Correct.

·7· · · ·Q.· · And you were aware of that, correct?

·8· · · ·A.· · Correct.

·9· · · ·Q.· · So when you say that all the firms

10· ·are reputable within the security industry,

11· ·Kaspersky is kind of questionable nowadays,

12· ·isn't it?

13· · · ·A.· · I'm not sure of your question.

14· · · ·Q.· · The United States Government is

15· ·worried that certain Kaspersky officials are

16· ·working with Russian intelligence.· Does that

17· ·not make Kaspersky suspect to you?

18· · · ·A.· · I'm sorry.· What was your question?

19· · · · · · ·MR. FRAY-WITZER:· Could you read it

20· ·back, please.

21· · · · · · ·(Court Reporter read back.)

22· · · · · · ·THE WITNESS:· I would be concerned.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 71 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               70

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · After the directive came out did you

·3· ·advise any of your clients concerning the use

·4· ·of Kaspersky software?

·5· · · ·A.· · I did not.

·6· · · ·Q.· · You're a cyber security expert who

·7· ·provides guidance to clients on proactive

·8· ·measures they can take with respect to

·9· ·protecting their networks.· The United States

10· ·Government has said Kaspersky software is

11· ·suspect, and you didn't advise your clients not

12· ·to use it?

13· · · ·A.· · I did not.

14· · · ·Q.· · You didn't have any conversations

15· ·with your clients about Kaspersky software

16· ·after this directive was issued?

17· · · ·A.· · I was not retained and questioned,

18· ·and my opinion was not sought on this topic.

19· · · · · · ·(Exhibit 5 marked for

20· ·identification.)

21· · · ·Q.· · You've been shown what's been marked

22· ·as Exhibit No. 5.· It is a McClatchy D.C.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 72 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               71

·1· ·article entitled:· Did this convicted Russian

·2· ·pedophile help meddle in the U.S. elections?

·3· · · · · · ·And it's a story about Seva

·4· ·Kapsugovich.

·5· · · · · · ·In conducting your investigation for

·6· ·BuzzFeed, did you become aware of this article?

·7· · · ·A.· · I don't recall.

·8· · · ·Q.· · Do you recall whether or not at any

·9· ·point in time you learned that Seva Kapsugovich

10· ·was in a Russian prison at the time that he was

11· ·supposedly hacking into the Democratic National

12· ·Committee?

13· · · ·A.· · I do not recall.

14· · · ·Q.· · Would that information have been

15· ·important in your determination as to the

16· ·veracity of items contained in the Steele

17· ·dossier?

18· · · ·A.· · I would view this --

19· · · · · · ·If I was aware of this, I would view

20· ·this as a data point.· A data point of many

21· ·data points that I uncovered.

22· · · · · · ·MS. BOLGER:· For the record, I would


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 73 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               72

·1· ·note on Page 6 it says:· "That a Russian spy

·2· ·agency would work with a convict like

·3· ·Kapsugovich to hack into computers in the

·4· ·United States is not farfetched, given the

·5· ·FSB's well-documented tolerance and even

·6· ·embrace of criminal organizations."

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · If you turn to Page 10 of your

·9· ·report, under the heading Overview of ASN

10· ·Infrastructure, you have a chart that

11· ·identifies XBT-owned companies and the number

12· ·of distinct IP addresses connected to those

13· ·companies, correct?

14· · · ·A.· · Correct.

15· · · ·Q.· · And just looking at the numbers that

16· ·you have listed there, it's fair to say it's

17· ·over 1.3 million IP addresses, correct?

18· · · ·A.· · I mean, you can do the math quickly.

19· · · ·Q.· · In Footnote 8 you say:· "The number

20· ·of active IP addresses as of January 10th,

21· ·2018."

22· · · · · · ·And then it says:· "The metrics


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 74 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               73

·1· ·include active and historical IP information."

·2· · · · · · ·What did you mean by that?

·3· · · ·A.· · Well, in our efforts to identify XBT

·4· ·infrastructure and affiliates we did a

·5· ·historical search of any and all infrastructure

·6· ·that may have been owned and operated by XBT or

·7· ·its affiliates.· So what I'm saying is if XBT

·8· ·owned and operated an IP address on one day but

·9· ·then shut it down weeks or a month later, we

10· ·still investigated that as being owned and

11· ·operated by XBT.

12· · · ·Q.· · On Page 11, first full paragraph,

13· ·you say:· "FTI further investigated matches by

14· ·using WHOIS to determine the entity or

15· ·individual that registered the IP address."

16· · · · · · ·MS. BOLGER:· I'm lost.· Where are

17· ·you?

18· · · · · · ·MR. FRAY-WITZER:· Full first

19· ·paragraph under the chart, third to last

20· ·sentence.

21· · · · · · ·MS. BOLGER:· Gotcha.· Sorry.

22· ·BY MR. FRAY-WITZER:


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 75 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               74

·1· · · ·Q.· · I guess my question is:· Did you use

·2· ·WHOIS to look up close to 1.3 million IP

·3· ·addresses?

·4· · · ·A.· · We used WHOIS and various other

·5· ·tools.· But the answer to your question at a

·6· ·very high level is:· Yes, we did.

·7· · · ·Q.· · 1.3 million addresses?

·8· · · ·A.· · Correct.

·9· · · ·Q.· · Under the Democratic Party Hacks you

10· ·say:· "FTI investigated whether it could find

11· ·any technical connections between XBT and the

12· ·allegations made in the dossier about XBT and

13· ·its affiliates, including Webzilla, by

14· ·analyzing technical data published by

15· ·government agencies, third-party security firms

16· ·or produced in response to a subpoena request."

17· · · · · · ·Is that correct?

18· · · ·A.· · I'm sorry I'm not seeing this.

19· · · ·Q.· · Page 11 under Democratic Party

20· ·Hacks.

21· · · ·A.· · Yep.· I'm with you there.

22· · · ·Q.· · Can you tell me all of the technical


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 76 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               75

·1· ·data that you recall looking at to analyze --

·2· · · · · · ·-- that you say you analyzed?

·3· · · ·A.· · Um, I mean, it's all outlined in my

·4· ·report.· My expert report.

·5· · · ·Q.· · To the extent that you can remember,

·6· ·what do you recall looking at in connection

·7· ·with this?

·8· · · ·A.· · I think we're doing ourselves a

·9· ·disservice by not walking through the report

10· ·and me articulating each piece because there's

11· ·just so much.

12· · · ·Q.· · We'll walk through the report.

13· · · ·A.· · Yep.· So at a very high level

14· ·without walking through the report, IP

15· ·addresses, malware, ASN infrastructure, SSL

16· ·certificates.· Again, off the top of my head.

17· · · · · · ·And then actually when we conclude

18· ·this question, if I could take a hospitality

19· ·break.

20· · · · · · ·MR. FRAY-WITZER:· Absolutely.

21· · · · · · ·(Recess taken at 12:11 p.m.)

22· · · · · · ·(Deposition resumed at 12:19 p.m.)


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 77 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               76

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · So just because I want to be clear,

·3· ·when you say you did -- or FTI did -- look at

·4· ·1.3 million IP addresses, do you mean that

·5· ·someone manually looked at the WHOIS for

·6· ·1.3 million addresses?

·7· · · ·A.· · Um, what we did is we put together a

·8· ·data script that was able to churn through the

·9· ·IP addresses and the prefixes in an automated

10· ·way and then cluster the information.

11· · · · · · ·(Exhibit 6 marked for

12· ·identification.)

13· · · · · · ·MS. BOLGER:· Do you have one for me?

14· · · · · · ·MR. FRAY-WITZER:· I do.

15· · · · · · ·You may have other cases, but tell

16· ·me that you have as much fun in your other

17· ·cases.

18· · · · · · ·MS. SCHARY:· Instruct the witness

19· ·not to answer.

20· · · · · · ·MS. BOLGER:· There's less references

21· ·to bodily fluids in other cases.

22· · · · · · ·MS. SCHARY:· Speak for yourself.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 78 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               77

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · So you're being shown what's been

·3· ·marked as Exhibit No. 6.· Can you tell me if

·4· ·you recognize that document?

·5· · · ·A.· · Yes, it looks familiar.· It looks

·6· ·like a CrowdStrike intelligence report titled:

·7· ·Bears in the Midst:· Intrusion into the

·8· ·Democratic National Committee.

·9· · · ·Q.· · And in fact at the top of the first

10· ·page you'll see that it says Exhibit 3.· It's

11· ·an exhibit to your report, correct?

12· · · ·A.· · I do see that now.

13· · · ·Q.· · And so this is something that you

14· ·considered in connection with your

15· ·investigation in this matter, correct?

16· · · ·A.· · This is indeed a data point we

17· ·considered.

18· · · ·Q.· · Who is CrowdStrike?

19· · · ·A.· · CrowdStrike is an industry

20· ·recognized cyber security firm.

21· · · ·Q.· · And what was their connection to the

22· ·hack of the Democratic National Committee?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 79 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               78

·1· · · · · · ·MS. BOLGER:· Objection.

·2· · · · · · ·You can answer.

·3· · · · · · ·THE WITNESS:· It's my understanding

·4· ·that they were retained by the Democratic

·5· ·National Committee to investigate malicious

·6· ·cyber activity on their network.· The DNC's

·7· ·network.

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · And according to the report,

10· ·CrowdStrike had access and was given access to

11· ·the DNC's network, correct?

12· · · ·A.· · Um, according to the report.

13· · · ·Q.· · And if you would turn to Page 8 of

14· ·that document.· And you'll see a chart, and

15· ·above the chart it's Indicators of Compromise.

16· · · · · · ·Do you see that?

17· · · ·A.· · Yes, I do.

18· · · ·Q.· · And the chart contains six IP

19· ·addresses starting with 185.100.84.134:443.

20· · · · · · ·Do you see that?

21· · · ·A.· · Uh-huh.· I do.

22· · · ·Q.· · And there are three others below


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 80 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               79

·1· ·that, and then at the bottom of the page there

·2· ·are two more IP addresses, correct?

·3· · · ·A.· · Correct.

·4· · · ·Q.· · And all of those IP addresses are

·5· ·identified as command and control servers for

·6· ·the hack.· Is that correct?

·7· · · ·A.· · You're stating this based on what?

·8· · · ·Q.· · Well, if you look, the first column

·9· ·has the IP address, the second column says Cozy

10· ·Bear -- which is the Adversary -- the third

11· ·column, Indicator of Compromise Type C2.

12· ·That's command and control, correct?

13· · · ·A.· · Is that defined in the report?

14· · · ·Q.· · Do you understand them to be using

15· ·that term as command and control?

16· · · ·A.· · I understand C2 to be an industry

17· ·recognized command and control.· I just want to

18· ·ensure that it is indeed in this product it

19· ·means the same thing.

20· · · ·Q.· · I believe they do identify it as

21· ·command and control.

22· · · · · · ·But as you've said, it's the


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 81 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               80

·1· ·industry standard for command and control,

·2· ·correct?

·3· · · ·A.· · Yes.

·4· · · ·Q.· · Did FTI investigate the six IP

·5· ·addresses identified in this document?

·6· · · ·A.· · Yes.

·7· · · ·Q.· · And none of those IP addresses were

·8· ·connected in any way to XBT.· Is that correct?

·9· · · ·A.· · Um, let me consult my expert report.

10· · · · · · ·So, um --

11· · · · · · ·So, can we please reread the

12· ·question just because I want to be completely

13· ·accurate in my response.

14· · · · · · ·(Court Reporter read back.)

15· · · · · · ·That is incorrect.

16· ·BY MR. FRAY-WITZER:

17· · · ·Q.· · Are any of these IP addresses owned

18· ·by XBT or its affiliates?

19· · · ·A.· · No.· That is not how they are

20· ·linked.

21· · · · · · ·MS. BOLGER:· I don't think this is a

22· ·complete exhibit, but I think it might be a


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 82 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               81

·1· ·printing error.· I'm not suggesting that you

·2· ·left --

·3· · · · · · ·The column on Page 8 --

·4· · · · · · ·MR. FRAY-WITZER:· Uh-huh.

·5· · · · · · ·MS. BOLGER:· There seems to be a

·6· ·column, the end of a column missing, and

·7· ·potentially missing rows on 8.· And I'm not --

·8· · · · · · ·For the record, I think there might

·9· ·be missing information on this document.

10· ·That's all I'm saying.

11· · · · · · ·MR. FRAY-WITZER:· Yeah, I don't

12· ·believe there is.· I think there's a line

13· ·that's missing at the bottom of the chart, but

14· ·there's --

15· · · · · · ·MS. BOLGER:· But there's --

16· · · · · · ·MR. FRAY-WITZER:· Oh, you mean to

17· ·the right?

18· · · · · · ·MS. SCHARY:· Yeah.

19· · · · · · ·MS. BOLGER:· Yeah.

20· · · · · · ·MR. FRAY-WITZER:· The IP addresses.

21· · · · · · ·MS. BOLGER:· There's also a missing

22· ·item.· There's a missing IP address on this


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 83 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               82

·1· ·chart.· It's 23 --

·2· · · · · · ·MR. FRAY-WITZER:· Why don't we --

·3· · · · · · ·MS. BOLGER:· It's

·4· ·23.227.196.217.443.

·5· · · · · · ·MR. FRAY-WITZER:· Yeah, I couldn't

·6· ·write quickly enough.

·7· · · · · · ·MS. BOLGER:· I'm sorry.

·8· · · · · · ·MR. FRAY-WITZER:· But I'm sure

·9· ·the --

10· · · · · · ·MS. BOLGER:· Yeah.· It's just that

11· ·there's a missing IP address.

12· · · · · · ·MS. SCHARY:· Would you like me to

13· ·try to reprint it formatted landscape?

14· · · · · · ·MR. FRAY-WITZER:· That would be

15· ·great.· If you don't mind.· Yeah, I'd like a --

16· · · · · · ·MS. BOLGER:· I'm not trying to trick

17· ·you up, it's just that --

18· · · · · · ·MR. FRAY-WITZER:· Yeah, I'd like a

19· ·good copy of it for the record anyway.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · If you look at Pages 11 and 12 of

22· ·your expert report, do you claim that any of


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 84 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               83

·1· ·the IP addresses identified by CrowdStrike are

·2· ·owned by XBT or its affiliates?

·3· · · ·A.· · No.

·4· · · · · · ·MS. BOLGER:· On Pages 11 and 12 of

·5· ·the report?

·6· · · · · · ·THE WITNESS:· Yeah.· I guess as I --

·7· · · · · · ·MR. FRAY-WITZER:· Sure.· I'll re-ask

·8· ·it.

·9· · · · · · ·THE WITNESS:· As I look at Pages 11

10· ·and 12, there's lots of information on Pages 11

11· ·and 12.· So can we be a little more clear.

12· ·BY MR. FRAY-WITZER:

13· · · ·Q.· · Yep.· We'll be more general.

14· · · · · · ·Your report does not say anywhere

15· ·that the IP addresses identified by CrowdStrike

16· ·are owned by XBT or its affiliates, correct?

17· · · ·A.· · Correct.

18· · · · · · ·(Exhibit 7 marked for

19· ·identification.)

20· · · · · · ·MS. BOLGER:· 7?

21· · · · · · ·MR. FRAY-WITZER:· 7.

22· ·BY MR. FRAY-WITZER:


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 85 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               84

·1· · · ·Q.· · You're being shown what's been

·2· ·marked as Exhibit No. 7.· And in particular,

·3· ·let me direct you to Page 4, which is Exhibit

·4· ·A.· Have you seen this list of IP addresses

·5· ·before?

·6· · · ·A.· · I have.

·7· · · ·Q.· · Did FTI investigate these IP

·8· ·addresses?

·9· · · ·A.· · We did.

10· · · ·Q.· · XBT and its affiliates do not own

11· ·any of those IP addresses, correct?

12· · · ·A.· · Correct.

13· · · ·Q.· · If you'd turn to Page 12 of your

14· ·report, you are in the middle of the page

15· ·discussing the Bit.ly link, correct?

16· · · ·A.· · Correct.

17· · · ·Q.· · And your conclusion at the top is:

18· ·"Technical evidence suggests that Fancy Bear

19· ·used XBT infrastructure to support malicious

20· ·spear phishing campaigns against the Democratic

21· ·Party leadership."

22· · · · · · ·Correct?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 86 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               85

·1· · · ·A.· · That's what it says.· Correct.

·2· · · ·Q.· · And when you then talk about the

·3· ·specifics.· What you say is:· "Bit.ly's

·4· ·investigation found that the account

·5· ·'John356gh' was used to create the bitlink

·6· ·embedded in the phishing e-mail sent to John

·7· ·Podesta.· Further review showed that the

·8· ·account created 11,139 bitlinks from 10/20/2015

·9· ·through 6/30/2016 using 41 distinct IP

10· ·addresses."

11· · · · · · ·Correct?

12· · · ·A.· · Correct.· That's what my expert

13· ·report says.

14· · · ·Q.· · Then on the next page you explain

15· ·that 1 out of those 11,139 links was created by

16· ·an IP address owned by Root S.A., correct?

17· · · · · · ·Halfway down the page:· "One of

18· ·those bitlinks was created by an IP address

19· ·owned by Root S.A."

20· · · ·A.· · Correct.

21· · · ·Q.· · So we're talking about 1 out of

22· ·11,139 links, correct?


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 87 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               86

·1· · · ·A.· · I think you're mis-categorizing.

·2· ·There were 41 unique IP addresses used to

·3· ·create 11,000 bitlinks.· And of the 41 unique

·4· ·IP addresses, yes, 1 was owned and operated by

·5· ·Root S.A., a subsidiary of XBT.

·6· · · ·Q.· · It specifically says:· "One of those

·7· ·bitlinks was created by an IP address owned by

·8· ·Root S.A."

·9· · · · · · ·That's what you wrote, right?

10· · · ·A.· · And that is accurate.

11· · · ·Q.· · 1 of those bitlinks.· 1 out of the

12· ·11,139 links, correct?

13· · · · · · ·MS. BOLGER:· That's not --

14· · · · · · ·Sorry.· I object to the form of the

15· ·question.· I think it mischaracterizes the

16· ·document.

17· · · · · · ·THE WITNESS:· I think your question

18· ·mischaracterizes what the evidence states.

19· ·Evidence shows that there were 41 unique IP

20· ·addresses used.· 1 of the 41 IP addresses was

21· ·owned and operated by Root S.A., a subsidiary

22· ·of XBT.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 88 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               87

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · And that one IP address, according

·3· ·to your document, created 1 bitlink out of

·4· ·11,139 bitlinks.

·5· · · · · · ·MS. BOLGER:· Objection.· I really

·6· ·believe that mischaracterizes the document.

·7· · · · · · ·THE WITNESS:· The one IP address

·8· ·created 1 of 4 spear phishing bitlinks

·9· ·targeting John Podesta.

10· ·BY MR. FRAY-WITZER:

11· · · ·Q.· · According to your report there were

12· ·a total of 11,139 bitlinks created as part of

13· ·this spear phishing effort, correct?

14· · · ·A.· · Correct.· 11,000 --

15· · · · · · ·Let me get the exact number.

16· · · · · · ·11,139 bitlinks were created.                  I

17· ·mean, that is correct.· That is indicative of

18· ·an advanced persistent threat.

19· · · ·Q.· · How many bitlinks were created by an

20· ·IP address owned by Root S.A.?

21· · · ·A.· · One.

22· · · ·Q.· · You talk about 41 distinct IP


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 89 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               88

·1· ·addresses, of which one was owned by Root S.A.

·2· ·Is it your opinion that the owners of all 40 of

·3· ·the other IP addresses are also culpable for

·4· ·the hack of the DNC?

·5· · · ·A.· · No.· It's my opinion that XBT and

·6· ·its infrastructure --

·7· · · · · · ·XBT infrastructure is linked to a

·8· ·pattern of significant malicious activity.

·9· · · ·Q.· · I'm talking about this specific

10· ·incident.

11· · · ·A.· · Yes.· And I think understanding the

12· ·complexity of cyber investigations you have to

13· ·evaluate the totality of evidence collected in

14· ·evaluating it.· And cyber crime is complex, and

15· ·you cannot --

16· · · · · · ·You have to appreciate that while

17· ·other entities may have been used at some

18· ·period of time, when looking at the totality of

19· ·the information you gain an appreciation.· And

20· ·it is my expert opinion that XBT's

21· ·infrastructure was used for repeated

22· ·significant malicious cyber activity.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 90 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               89

·1· · · ·Q.· · Did you examine the other 40 IP

·2· ·addresses and the owners of those addresses to

·3· ·determine if in your opinion they had also been

·4· ·repeated targets of cyber crime?

·5· · · ·A.· · So I'll answer your question in two

·6· ·parts.· Yes, we examined the other IPs.· But

·7· ·the second part of your question, if you could

·8· ·repeat it or have it read back to me.

·9· · · · · · ·(Court Reporter read back.)

10· · · · · · ·So again, yes, we examined those

11· ·other IP addresses, but no, we did not examine

12· ·them beyond identifying the owners and

13· ·operators of the infrastructure because it was

14· ·outside the scope of the investigation.

15· · · ·Q.· · So you have no opinion as to whether

16· ·or not the other 40 unique IP addresses,

17· ·whether the owners of those IP addresses had

18· ·been similarly victims of cyber crime in the

19· ·past?

20· · · · · · ·MS. BOLGER:· Objection.

21· ·Mischaracterizing his testimony.· There's no

22· ·question of victims of cyber crime.· The


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 91 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               90

·1· ·witness never gave any testimony that these

·2· ·people were victims of cyber crime.

·3· · · · · · ·MR. FRAY-WITZER:· I'll rephrase the

·4· ·question.

·5· · · · · · ·MS. BOLGER:· It's just wrong.

·6· ·BY MR. FRAY-WITZER:

·7· · · ·Q.· · You have no opinion as to whether or

·8· ·not the owners of the other 40 IP addresses

·9· ·also had infrastructures that you would

10· ·categorize as having been repeatedly used in

11· ·the connection of cyber crime?

12· · · · · · ·MS. BOLGER:· To commit cyber crimes.

13· ·Not as victims of cyber crimes.

14· · · · · · ·MR. FRAY-WITZER:· I didn't say

15· ·"victims" that time.

16· · · · · · ·MS. BOLGER:· Okay.

17· · · · · · ·THE WITNESS:· Not in my expert

18· ·report.

19· ·BY MR. FRAY-WITZER:

20· · · ·Q.· · Did you make a conclusion that isn't

21· ·in your expert report about that?

22· · · ·A.· · No.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 92 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               91

·1· · · · · · ·(Exhibit 8 marked for

·2· ·identification.)

·3· · · · · · ·MS. BOLGER:· Trying to make me use

·4· ·glasses, Evan?

·5· · · · · · ·MR. FRAY-WITZER:· I wasn't very

·6· ·happy about this printing either.

·7· · · · · · ·MS. SCHARY:· You've got to learn

·8· ·about landscape printing.

·9· · · · · · ·MR. FRAY-WITZER:· Yeah.

10· · · · · · ·MR. BOLGER:· It's not readable.

11· · · · · · ·MR. FRAY-WITZER:· I don't have very

12· ·significant questions about this.· If you want

13· ·to reprint it, that's fine, but I don't --

14· · · · · · ·MS. BOLGER:· I'll just for the

15· ·record tell you that I believe that the right

16· ·side is cut off, and so it's not a complete

17· ·document.· But I'm certainly not going to stop

18· ·you from asking questions about it, Evan.

19· · · · · · ·MR. FRAY-WITZER:· And it's not going

20· ·to be significant.

21· · · · · · ·MS. BOLGER:· That's fine.

22· ·BY MR. FRAY-WITZER:


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 93 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               92

·1· · · ·Q.· · So you're being shown what's been

·2· ·marked as Exhibit No. 8.· You can see on the

·3· ·first page on the top right it says Exhibit 5.

·4· ·It's an exhibit from your report.· Is that

·5· ·correct?

·6· · · ·A.· · Correct.

·7· · · ·Q.· · And this is the Bit.ly data that you

·8· ·are discussing in your expert report when you

·9· ·talk about having received information from

10· ·Bit.ly.· Is that correct?

11· · · ·A.· · Correct.

12· · · ·Q.· · So this document, although cut off,

13· ·represents the 11,139 Bit.ly links that were

14· ·created as part of the spear phishing campaign,

15· ·correct?

16· · · ·A.· · Correct.

17· · · ·Q.· · And so somewhere in there one of

18· ·those is connected to Root S.A., correct?

19· · · ·A.· · Correct.

20· · · ·Q.· · And indeed, you don't know whether

21· ·or not the link that was created by the IP

22· ·address owned by Root S.A. was ever actually


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 94 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               93

·1· ·e-mailed to John Podesta, correct?

·2· · · ·A.· · Based on the information available

·3· ·to me we do not know if the specific e-mail

·4· ·that was created and indicated in Column B was

·5· ·e-mailed.

·6· · · ·Q.· · And in fact, you specifically say

·7· ·that:· FTI could not establish a technical

·8· ·connection between the IP address used to

·9· ·create -- that's the Bit.ly link that you've

10· ·associated with Root S.A. -- and the link that

11· ·John Podesta clicked on.

12· · · · · · ·Correct?

13· · · ·A.· · Other than the fact that the

14· ·e-mails, the Bit.ly links were created, and the

15· ·encoded base 64 material was identical.

16· · · ·Q.· · But that's true for all 11,139

17· ·Bit.ly links, right?

18· · · ·A.· · No, that's false.· That's true for

19· ·four of them.· Four of them.· Four-Bit.ly links

20· ·were created to target John Podesta.· One of

21· ·the four was created using Root S.A.

22· ·infrastructure.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 95 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               94

·1· · · ·Q.· · And your report specifically says:

·2· ·FTI could not establish a technical connection

·3· ·between the IP address used to create the

·4· ·Bit.ly link that John Podesta clicked on and

·5· ·XBT.

·6· · · · · · ·Correct?

·7· · · ·A.· · With respect to the IP address, that

·8· ·is accurate as it's stated in my report.· What

·9· ·I'm saying is that the IP address that created

10· ·the Bit.ly link, created a Bit.ly link that was

11· ·identical to another one created by Leaseweb on

12· ·Leaseweb infrastructure, and that is the one

13· ·that John Podesta actually clicked on.· So what

14· ·I'm articulating in my report is that four

15· ·Bit.ly links were created to target John

16· ·Podesta.· Two of them I demonstrate in my

17· ·report because they contain the exact same base

18· ·64 encoding to target John Podesta.· One of

19· ·them he clicks on we know.· The other one was

20· ·staged on XBT infrastructure owned and operated

21· ·by XBT.· One of their subsidiaries was Root

22· ·S.A.· So while my report does say FTI could not


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 96 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               95

·1· ·establish a technical connection between the IP

·2· ·address, we did find a technical connection

·3· ·between the content of the Bit.ly link that was

·4· ·created and mailed to John Podesta.

·5· · · ·Q.· · I'm just reading from the report, so

·6· ·I would think that this could be "yes" or "no".

·7· · · · · · ·You concluded that:· FTI could not

·8· ·establish a technical connection between the IP

·9· ·address used to create the Bit.ly link that

10· ·John Podesta clicked on and XBT.

11· · · · · · ·That's what your report says, isn't

12· ·it?

13· · · · · · ·MS. BOLGER:· The next word is

14· ·"however".

15· · · · · · ·MR. FRAY-WITZER:· Okay.· And that's

16· ·fine.· We can read or you can question the

17· ·witness after I'm done.

18· ·BY MR. FRAY-WITZER:

19· · · ·Q.· · But I've read a sentence.· Is that

20· ·not what your report says?

21· · · ·A.· · I'm smiling because cyber

22· ·investigations are not black and white.· You


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 97 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               96

·1· ·have to look at the totality of the

·2· ·information.· We've looked at the totality of

·3· ·the information.· Yes, one sentence in my

·4· ·report states:· FTI could not establish a

·5· ·technical connection between the IP address

·6· ·used to create a Bit.ly link that John Podesta

·7· ·clicked on and XBT.

·8· · · · · · ·One sentence does state that.                  I

·9· ·will confirm.

10· · · ·Q.· · And that was my only question.

11· ·Thank you.

12· · · · · · ·On the next page, on Page 14, you

13· ·also say:· "Based on the information currently

14· ·available FTI cannot definitively state that

15· ·the bitlink created using the Root S.A. IP

16· ·address was ever sent to or received by John

17· ·Podesta."

18· · · · · · ·Did I read that correctly?

19· · · ·A.· · Again, that is --

20· · · ·Q.· · Did I read that correctly?

21· · · · · · ·MS. BOLGER:· Let the witness answer

22· ·the question, Evan.


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 98 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               97

·1· · · · · · ·THE WITNESS:· You read it correctly.

·2· ·And I will say that cyber investigations are

·3· ·extremely complex, and my report is based on

·4· ·information that was made available to me.

·5· ·BY MR. FRAY-WITZER:

·6· · · ·Q.· · And just to be clear, when we're

·7· ·talking about a Root S.A. IP address, we're

·8· ·talking about an IP address that Root S.A.

·9· ·owns, correct?

10· · · ·A.· · Um, correct.· Root S.A. is a

11· ·subsidiary of XBT.

12· · · ·Q.· · And when we say that Root S.A. owns

13· ·the IP address, do you know if Root S.A. itself

14· ·uses the IP address, or if one of Root S.A.'s

15· ·customers or clients uses that IP address?

16· · · ·A.· · Based on information that was made

17· ·available to us, we were unable to determine

18· ·that.

19· · · · · · ·MR. FRAY-WITZER:· Why don't we take

20· ·a break for a minute.

21· · · · · · ·(Recess taken at 12:48 p.m.)

22· · · · · · ·(Deposition resumed at 1:37 p.m.)


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 99 of
                                       201
     ANTHONY J. FERRANTE· Confidential                              July 27, 2018
     ALEKSEJ GUBAREV vs BUZZFEED                                               98

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · Okay.· Page 14 of your expert

·3· ·report.· Under Additional Technical

·4· ·Connections.· Here you specifically say:· "The

·5· ·CrowdStrike report included seven command and

·6· ·control IP addresses and five malware hashes as

·7· ·the IOCs in the DNC hack.· FTI reviewed the IP

·8· ·registration information for the seven C&C IP

·9· ·addresses, but none were affiliated with XBT.

10· ·Similarly, FTI was not able to identify a

11· ·direct technical connection to XBT

12· ·infrastructure based on an analysis of the five

13· ·malware samples."

14· · · · · · ·Did I read that part correct?

15· · · ·A.· · That is correct.· That is what my

16· ·expert report states.

17· · · ·Q.· · And then you continue to say that

18· ·there was an indirect link that you found

19· ·involving an SSL certificate.· Is that correct?

20· · · ·A.· · That is correct.

21· · · ·Q.· · And you say that the suspect SSL

22· ·certificate has been distributed to 40 other IP


                                                           800.211.DEPO (3376)
                                                           EsquireSolutions.comYVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 100 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                              99

·1· ·addresses, and that one of those was owned by

·2· ·Root S.A., correct?

·3· · · ·A.· · Um --

·4· · · · · · ·MS. BOLGER:· Where are you reading?

·5· · · · · · ·MR. FRAY-WITZER:· Page 15.

·6· · · · · · ·THE WITNESS:· I'm trying to find

·7· ·that sentence.

·8· · · · · · ·MR. FRAY-WITZER:· Sure.· Top of Page

·9· ·15, first paragraph:· "Further review found

10· ·that the SSL certificate had been distributed

11· ·to 40 other IP addresses, and that one of those

12· ·is owned by Root S.A."

13· · · · · · ·THE WITNESS:· Correct.· That's what

14· ·this sentence states.

15· ·BY MR. FRAY-WITZER:

16· · · ·Q.· · Do you know who owns the other 39 IP

17· ·addresses?

18· · · ·A.· · Off the top of my head I do not.

19· · · ·Q.· · Did FTI investigate who owns the

20· ·other 39 IP addresses?

21· · · ·A.· · I'm certain we did.

22· · · ·Q.· · Do you think that the owners of the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 101 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             100

·1· ·other 39 IP addresses were all somehow

·2· ·connected to Fancy Bear?

·3· · · ·A.· · Based on the fact that the SSL

·4· ·certificate was indeed utilized on the total 42

·5· ·IP addresses, yes.· They are all technically

·6· ·connected to Fancy Bear, which is an industry

·7· ·code name for Russian state sponsored malicious

·8· ·cyber activity.

·9· · · ·Q.· · But that doesn't mean that the

10· ·owners of those IP addresses are somehow

11· ·actively working with or cooperating with Fancy

12· ·Bear, does it?

13· · · ·A.· · We can't state that.· You can't come

14· ·to that conclusion based on the information

15· ·that is available.

16· · · ·Q.· · And indeed, your conclusion in this

17· ·section is:· "FTI notes that because this is an

18· ·indirect link, more data from CrowdStrike

19· ·and/or the DNC is required to determine if XBT

20· ·infrastructure supported the DNC Hack."

21· · · · · · ·Right?

22· · · ·A.· · The sentence does state that:· "FTI


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 102 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             101

·1· ·notes that because this is an indirect link,

·2· ·more data from CrowdStrike and/or the DNC is

·3· ·required to determine if XBT infrastructure

·4· ·supported the DNC Hack."

·5· · · · · · ·That's what this sentence states,

·6· ·but it's taken out of context and ignoring the

·7· ·aforementioned totality of the information

·8· ·which states that there is an SSL certificate

·9· ·that was created which is not an easy --

10· · · · · · ·-- an easy technical task to do.· It

11· ·was created and then installed on 42 different

12· ·IP addresses.· Two of those IP addresses were

13· ·used to target and hack the DNC, and one of

14· ·those IP addresses was owned and operated by

15· ·Root S.A.

16· · · · · · ·Evan, I'll further state that in

17· ·preparation for my testimony today, that of the

18· ·40 IP addresses that I reference in my report,

19· ·we further found that one of those IP addresses

20· ·was actually used to target the German

21· ·Parliament, and --

22· · · ·Q.· · I didn't want to interrupt you.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 103 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             102

·1· · · ·A.· · Yep.· That's the end of my

·2· ·statement.

·3· · · · · · ·(Exhibit 9 marked for

·4· ·identification.)

·5· · · ·Q.· · So you've been shown what's been

·6· ·marked as Exhibit No. 9.· You'll also notice on

·7· ·the first page words in the upper right hand

·8· ·corner it says Exhibit 7, which indicates that

·9· ·it is Exhibit 7 from your expert report.· Can

10· ·you tell me what this document is.

11· · · ·A.· · This is the Grizzly Steppe joint

12· ·analysis report -- JAR is what they're known as

13· ·in industry -- published by the Department of

14· ·Homeland Security and the Federal Bureau of

15· ·Investigation.

16· · · ·Q.· · Now, if you could turn, please --

17· ·the pages are only numbered up to 13 -- but the

18· ·page immediately after 13, which starts the

19· ·rest of this document that lists IP addresses.

20· ·And do you see those IP addresses listed?

21· · · ·A.· · I do.

22· · · ·Q.· · And then I'm going to ask you --


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 104 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             103

·1· · · · · · ·It's a little difficult because it's

·2· ·not numbered, but it's all indented and then

·3· ·there's a page about ten pages in.

·4· · · ·A.· · I think I got it.

·5· · · ·Q.· · So the IP addresses are listed, and

·6· ·it says IP watch list.· And then for each line

·7· ·it says:· "It is recommended that network

·8· ·administrators review traffic to/from the IP

·9· ·addresses to determine possible malicious

10· ·activity."

11· · · · · · ·Correct?

12· · · ·A.· · I'm not sure where you're reading

13· ·from.

14· · · ·Q.· · Pretty much every line after it --

15· · · ·A.· · I see.· I was reading at the top.

16· ·My apologies.

17· · · · · · ·Yes.· "It is recommended that

18· ·network administrators review traffic to/from

19· ·the IP address to determine possible malicious

20· ·activity."

21· · · ·Q.· · So, am I correct that that is the

22· ·FBI recommending to the owners of these IP


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 105 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             104

·1· ·addresses that they review the traffic and see

·2· ·if there's been malicious activity on those IP

·3· ·addresses?

·4· · · · · · ·MS. BOLGER:· Object to the form.

·5· · · · · · ·If you know.

·6· · · · · · ·THE WITNESS:· I would say that the

·7· ·FBI and Department of Homeland Security did add

·8· ·that caveat.

·9· ·BY MR. FRAY-WITZER:

10· · · ·Q.· · And of that list of IP addresses,

11· ·you identified 13 that were owned by XBT

12· ·subsidiary Root S.A., correct?

13· · · ·A.· · Correct.· Correct.

14· · · ·Q.· · And you say that:· "These findings

15· ·indicate RIS actors have utilized XBT owned

16· ·infrastructure."

17· · · · · · ·Correct?

18· · · · · · ·Page 16 of your report.

19· · · · · · ·MS. BOLGER:· I'm sorry.

20· · · · · · ·Oh.· Right under the chart.

21· · · · · · ·MR. FRAY-WITZER:· Yes.

22· · · · · · ·THE WITNESS:· Correct.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 106 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             105

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · Are you saying that for every --

·3· · · · · · ·MS. BOLGER:· Sorry.· Can I just

·4· ·interrupt.· For the record, that actually

·5· ·refers to Exhibit 8, not Exhibit 7.· I don't

·6· ·know if that's relevant.· Just for the record.

·7· ·You can ask whatever question you want.

·8· · · · · · ·MR. FRAY-WITZER:· There's a footnote

·9· ·that says refer to Exhibit 8, but it's actually

10· ·under a chart that identifies the IP addresses,

11· ·and it's immediately following a sentence that

12· ·says:· "FTI identified 13 IP addresses listed

13· ·in the Grizzly Steppe report that are owned by

14· ·XBT subsidiary Root S.A.· These findings

15· ·indicate RIS actors have utilized XBT owned

16· ·infrastructure."

17· · · · · · ·MS. BOLGER:· Footnote:· Refer to

18· ·Exhibit 8.

19· · · · · · ·MR. FRAY-WITZER:· Sure.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · Are you saying that every one of the

22· ·IP addresses listed here means that RIS actors


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 107 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             106

·1· ·have utilized the infrastructure of the owners

·2· ·of those IP addresses?

·3· · · ·A.· · I'm saying that based on my

·4· ·experience investigating cyber crime and my

·5· ·experience in the U.S. Government that a cyber

·6· ·security analyst has determined that that is

·7· ·correct.· At one point in time malicious actors

·8· ·attributed to Russian nation state activity,

·9· ·utilized every single indicator of compromise

10· ·in this report.

11· · · ·Q.· · Why, if you know, does the

12· ·government simply say we recommend that network

13· ·administrators review the traffic to determine

14· ·possible malicious activity?

15· · · · · · ·If it's conclusive, why not give a

16· ·sort of more conclusive warning to the owners

17· ·of these IP addresses?

18· · · ·A.· · Evan, with all due respect, I'd have

19· ·to refer you to the Department of Homeland

20· ·Security and Federal Bureau of Investigation.

21· · · ·Q.· · Fair enough.

22· · · · · · ·On Page 16 of your expert report you


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 108 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             107

·1· ·talk about -- and it's sort of in the middle of

·2· ·the paragraph, full paragraph under the

·3· ·chart -- you talk about an inquiry from the

·4· ·Luxembourg authorities to Root S.A. concerning

·5· ·one of the IP addresses listed in the Grizzly

·6· ·Steppe report, correct?

·7· · · ·A.· · Correct.

·8· · · ·Q.· · And you note that Mr. Goederich

·9· ·responded to the Luxembourgish authorities, and

10· ·you conclude, you say:· Based on our experience

11· ·this is not an adequate response to a

12· ·government inquiry.

13· · · · · · ·And you're talking about the

14· ·response that Mr. Goederich gave to the

15· ·Luxembourgish police, correct?

16· · · ·A.· · To be clear, Mr. Goederich's

17· ·response was -- and I'm quoting -- "It is a

18· ·tour exit note."

19· · · · · · ·And quoting again:· "Doesn't get us

20· ·very far."

21· · · · · · ·Correct.· In my expert opinion, Mr.

22· ·Goederich's response to the authorities is less


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 109 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             108

·1· ·than adequate.

·2· · · ·Q.· · Did the Luxembourgish authorities

·3· ·ask Mr. Goederich for more information?

·4· · · ·A.· · I don't know.

·5· · · ·Q.· · In your experience, if a government

·6· ·agency wants more information they know how to

·7· ·ask, right?

·8· · · ·A.· · In my experience, you're absolutely

·9· ·correct.· In my experience, a government agent

10· ·knocking on the door, a telecommunications

11· ·company is absolutely going to ask for more

12· ·than just one data point, especially if 13 are

13· ·listed.

14· · · · · · ·(Exhibit 10 marked for

15· ·identification.)

16· · · ·Q.· · So looking at what's been marked as

17· ·Exhibit No. 10, it's Exhibit 8 to your report.

18· ·It is the Exhibit 8 noted in your footnote that

19· ·you say:· Refer to Exhibit 8.

20· · · · · · ·Can you tell us what we're looking

21· ·at in this exhibit.

22· · · ·A.· · We're looking at the technical


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 110 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             109

·1· ·information of IP addresses and which ASNs they

·2· ·belong to and the history of the IP address.

·3· · · ·Q.· · So you're not even going to have to

·4· ·pretend, but pretend that I have no idea what

·5· ·this document actually conveys to us.· Looking

·6· ·just at the first page, tell me what

·7· ·information you're intending this document to

·8· ·convey when you say in your footnote:· Refer to

·9· ·Exhibit 8.

10· · · ·A.· · So this is showing the history of

11· ·the IP address and which ASN it was attached to

12· ·and when it was attached to it.

13· · · · · · ·MS. BOLGER:· Just for the record,

14· ·the document was actually originally produced

15· ·in color, and I don't know if it's meaningful.

16· ·Mr. Ferrante can clean that up.

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · Would the colors tell us anything

19· ·more?

20· · · ·A.· · Um, I mean, it will show --

21· · · · · · ·What you can see right now is the

22· ·gradient on the page, and it just shows the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 111 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             110

·1· ·utilization of the IP and a specific ASN and

·2· ·when.

·3· · · ·Q.· · Does it tell us the identity of who

·4· ·is utilizing the IP address?

·5· · · ·A.· · I mean, we believe --

·6· · · · · · ·We know who's utilizing it.· It's

·7· ·Root S.A.

·8· · · ·Q.· · I'm sorry.· Does this document tell

·9· ·us who is utilizing the IP address?

10· · · ·A.· · "This document", meaning Exhibit 8?

11· · · ·Q.· · Yes.

12· · · · · · ·Well, I'm sorry.· Let me be clear.

13· ·Because I just want --

14· · · · · · ·It's Exhibit 10 to the deposition.

15· ·It's Exhibit 8 to your expert report.

16· · · ·A.· · Yes.· Yes.· It's a good point of

17· ·clarification.· Exhibit 10 to the deposition.

18· · · · · · ·Technically, yes, it associates the

19· ·IP address with an ASN, which is a unique

20· ·identifier.

21· · · ·Q.· · So if I understand it, what you mean

22· ·in your report is that this document,


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 112 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             111

·1· ·Exhibit 10 to the deposition, shows us that

·2· ·Root S.A. has utilized these IP addresses, but

·3· ·it doesn't tell us anything about Russian

·4· ·intelligence actors, does it?

·5· · · ·A.· · Other than --

·6· · · · · · ·Well, I disagree with your statement

·7· ·because I think it absolutely does.· It clearly

·8· ·states the IP address, which is a unique

·9· ·identifier 212.117.180.130.· It states that it

10· ·has been owned and operated by ASN 5577, which

11· ·is owned and operated by Root S.A.· And the IP

12· ·address is clearly stated in the Department of

13· ·Homeland Security and Federal Bureau of

14· ·Investigation Grizzly Steppe joint analysis

15· ·report.

16· · · ·Q.· · And I guess, let me clarify the

17· ·question because I understand what you're

18· ·saying.

19· · · · · · ·If the Grizzly Steppe report didn't

20· ·exist, just Exhibit 10 to the deposition, that

21· ·by itself doesn't tell you anything about

22· ·Russian intelligence actors utilizing these IP


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 113 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             112

·1· ·addresses, does it?· It's only in conjunction

·2· ·with the Grizzly Steppe report?

·3· · · ·A.· · Yes.· I'm smiling because the

·4· ·Grizzly Steppe report absolutely does exist.

·5· · · · · · ·(Laughing.)

·6· · · ·Q.· · I understand.· I understand that it

·7· ·exists.· Indeed I have a copy of it here.

·8· · · ·A.· · Yes.

·9· · · ·Q.· · But if it didn't exist, this

10· ·document by itself wouldn't tell us about

11· ·Russian interference or Russian intelligence

12· ·actors, right?

13· · · ·A.· · Evan, I don't know if I can agree

14· ·with you there because if the Grizzly Steppe

15· ·report didn't exist there could be a myriad of

16· ·other intelligence sources that we could

17· ·associate this IP with other malicious --

18· · · · · · ·So if you're saying there was

19· ·nothing on this planet but this document, of

20· ·course not.

21· · · ·Q.· · Okay.· I was just --

22· · · · · · ·Yes, that's fine.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 114 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             113

·1· · · ·A.· · But that's --

·2· · · · · · ·I mean, for the record, that's not

·3· ·how investigations are conducted.· Evidence is

·4· ·obtained in all corners of the planet.

·5· · · ·Q.· · If you turn to Page 17 of your

·6· ·report, towards the bottom you discuss the

·7· ·methbot operation, M-E-T-H-B-O-T.

·8· · · · · · ·Do you see where I'm referring to?

·9· · · ·A.· · I do.· The methbot operation.

10· · · ·Q.· · Can you tell us, please, what the

11· ·methbot operation was.

12· · · ·A.· · Well, in its most simplistic terms,

13· ·the methbot operation was a botnet.· It was a

14· ·botnet, and it was functioning, and in some

15· ·sense -- as quoted by white ops -- aggressively

16· ·scaling during late October through late

17· ·December.· And in a technical sense the methbot

18· ·was a collection of computers controlled by

19· ·command and control infrastructure.· And in

20· ·this case the methbot syphoned millions of

21· ·dollars -- I believe it was $5 million per

22· ·day -- in click frauds.· Advertisement click


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 115 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             114

·1· ·frauds.

·2· · · ·Q.· · And correct me if I'm wrong.· My

·3· ·understanding in the most general terms is that

·4· ·the methbot fraud operated by convincing

·5· ·advertisers that their sites were getting

·6· ·clicks when they weren't really getting clicks,

·7· ·and so they were being charged advertising

·8· ·dollars that they shouldn't have had to pay.

·9· ·Is that essentially?

10· · · ·A.· · Well, I would challenge your term,

11· ·your definition or your description of

12· ·convincing.· The methbot was a technical

13· ·operation that actually manipulated --

14· · · · · · ·-- created a botnet and manipulated

15· ·an experience, an automated experience to seem

16· ·like a human would be clicking on

17· ·advertisements when indeed it wasn't.· It was

18· ·the botnet.

19· · · ·Q.· · And so I don't think we're

20· ·disagreeing here.· It was a fraud on

21· ·advertisers whereby money was paid for clicks

22· ·that advertisers thought were people but were


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 116 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             115

·1· ·really bots?

·2· · · ·A.· · Sure.

·3· · · ·Q.· · Okay.· The methbot operation itself,

·4· ·was not connected with the 2016 election,

·5· ·correct?

·6· · · ·A.· · Um, I can't state that conclusively.

·7· · · ·Q.· · Do you have any reason to believe

·8· ·that the methbot operation was connected to --

·9· ·and when I say "connected to", I mean, was part

10· ·of the attempt to influence the 2016 elections.

11· · · ·A.· · Other than the fact that the methbot

12· ·was a large botnet, and I know botnets were

13· ·used in malicious cyber activity targeting the

14· ·2016 Presidential Election, I have no

15· ·additional evidence.

16· · · · · · ·(Exhibit 11 marked for

17· ·identification.)

18· · · ·Q.· · So you're being shown what's been

19· ·marked as Exhibit No. 11.· Can you tell me if

20· ·you've seen this document before?

21· · · ·A.· · I have.

22· · · ·Q.· · What do you understand this document


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 117 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             116

·1· ·to be?

·2· · · ·A.· · I understand this to be the

·3· ·indictment.

·4· · · · · · ·Let me just check the signature

·5· ·page.

·6· · · · · · ·Correct.· The indictment of the 12

·7· ·Russian nation state actors who facilitated

·8· ·malicious cyber activity leading into the 2016

·9· ·Presidential Election.

10· · · ·Q.· · When you issued your expert report

11· ·you obviously could not have considered the

12· ·indictment because it didn't at least exist

13· ·publicly at that time.· Having seen and

14· ·considered the indictment at this point, does

15· ·the indictment change any of your conclusions

16· ·in the expert report?

17· · · ·A.· · No, it does not change my

18· ·conclusions at all.· And in one respect it

19· ·affirms my conclusions because the malware

20· ·described in the indictment, the X-Agent and

21· ·X-Tunnel, is known to have utilized the same

22· ·SSL certificate that was observed communicating


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 118 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             117

·1· ·with or being utilized on XBT infrastructure.

·2· · · ·Q.· · The indictment names 12 individuals

·3· ·as the direct actors in the hacking of the DNC

·4· ·and the Democratic Leadership, correct?

·5· · · ·A.· · Correct.

·6· · · ·Q.· · None of those individuals are the

·7· ·plaintiffs in this case, correct?

·8· · · ·A.· · No.

·9· · · ·Q.· · Have you read the entire indictment?

10· · · ·A.· · I have.

11· · · ·Q.· · In your professional expert opinion,

12· ·do you believe that the Mueller investigation

13· ·did a thorough job in investigating the hack of

14· ·the DNC and the Democratic leadership?

15· · · ·A.· · Well, I'd be basing my opinion at

16· ·this point in time purely based on this

17· ·indictment.· I have no insights into what

18· ·evidence Special Counsel Mueller and his team

19· ·has obtained.· Based on this indictment I

20· ·believe them to be conducting a very thorough

21· ·investigation.

22· · · ·Q.· · Have you worked with Director


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 119 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             118

·1· ·Mueller personally?

·2· · · ·A.· · Um, I mean, worked with Director

·3· ·Mueller personally?· I would say "no".

·4· · · · · · ·Director Mueller was the FBI

·5· ·Director for 9, 10 years of my tenure at the

·6· ·FBI when I was an FBI cyber security subject

·7· ·matter expert in the field in New York.· I met

·8· ·him multiple times, actually briefed him on

·9· ·some sophisticated work that I had done.· And

10· ·then when I promoted to become the Chief of

11· ·Staff of the FBI Cyber Division in Washington I

12· ·had the privilege of briefing him again on

13· ·specialized programs and cases.· I was very

14· ·proud to have congratulated him in his last day

15· ·at the FBI and wish him well.· But other than

16· ·that, that was the extent of my work with him.

17· ·So --

18· · · ·Q.· · Is it your opinion that he is

19· ·thorough in his work?

20· · · ·A.· · Absolutely.

21· · · ·Q.· · Are you aware that the Mueller

22· ·investigation has never contacted Aleks


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 120 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             119

·1· ·Gubarev, Webzilla or XBT to ask them to be

·2· ·interviewed in connection with the interference

·3· ·with the 2016 election?

·4· · · ·A.· · Am I aware of that?· Not until

·5· ·you've just told me, and I'm taking your word

·6· ·for it.· And I will follow up that statement

·7· ·with:· In my experience as an FBI agent,

·8· ·government official, and as a seasoned

·9· ·investigator, I would not draw any conclusions

10· ·from that statement.

11· · · ·Q.· · If you'd turn to Page 21 of your

12· ·report.· You're still discussing the methbot

13· ·operation here.· In the middle of the page you

14· ·write:· "Documentation produced by the

15· ·plaintiffs provides evidence that XBT became

16· ·aware of the methbot operation after the white

17· ·ops report was released and took action to

18· ·terminate the responsible customer."

19· · · · · · ·Do you see that?

20· · · ·A.· · I do.· I do read that statement.

21· ·That's correct.

22· · · ·Q.· · Are you aware as well from the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 121 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             120

·1· ·depositions that you've read or from any other

·2· ·source that when XBT became aware of the

·3· ·methbot operation they pulled the hard drives

·4· ·related to that operation and maintained them

·5· ·in case law enforcement ever wanted to look at

·6· ·them?

·7· · · ·A.· · I am aware of that and refer my

·8· ·understanding based on your statements.                   I

·9· ·didn't realize it was hard drives.

10· · · ·Q.· · Would you agree that terminating the

11· ·responsible customer and maintaining the hard

12· ·drives are the type of thing that you would

13· ·expect and want a server company to do when

14· ·informed of something like the methbot

15· ·operation?

16· · · ·A.· · I would agree that it is some of the

17· ·steps that I would take to preserve evidence

18· ·and to investigate the malicious activity.                    I

19· ·also believe that it is the, I guess, tip of

20· ·the iceberg of the myriad of things that I

21· ·would do if I was the owner and operator of the

22· ·infrastructure or the independent entity


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 122 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             121

·1· ·retained to investigate such a matter.

·2· · · · · · ·I'm also aware that in addition to

·3· ·preserving that data, XBT did not contact the

·4· ·authorities, and also took steps to un-publish

·5· ·their publicly routable and available IP space

·6· ·utilized in the malicious botnet activity,

·7· ·which to me is extremely suspicious.

·8· · · · · · ·I would also add that through the

·9· ·course of our relationship that we have

10· ·asked -- and counsel correct me -- but I

11· ·believe also moved to compel the data related

12· ·to the botnet that XBT possesses, and it's yet

13· ·to be turned over.

14· · · · · · ·And on that note, if I may request a

15· ·hospitality break.

16· · · · · · ·MR. FRAY-WITZER:· Sure.

17· · · · · · ·(Recess taken at 2:12 p.m.)

18· · · · · · ·(Deposition resumed at 2:16 p.m.)

19· ·BY MR. FRAY-WITZER:

20· · · ·Q.· · If you would turn, please, to Page

21· ·23 of your report.· And about a third of --

22· · · · · · ·I'm sorry.· I'll wait 'til you're


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 123 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             122

·1· ·there.

·2· · · · · · ·About a third of the way down the

·3· ·page you have a heading Win 32/Indestroyer

·4· ·(sic) Malware.· Industoyer Malware.

·5· · · · · · ·Do you see that?

·6· · · ·A.· · Yes.· I might pronounce it

·7· ·Industoyer.

·8· · · · · · ·MS. BOLGER:· I believe that's a typo

·9· ·and it is Indestroyer.

10· · · · · · ·THE WITNESS:· Excellent.

11· ·BY MR. FRAY-WITZER:

12· · · ·Q.· · And you write:· "An ESET white paper

13· ·published in June 2017 identified that same

14· ·Root S.A. owned IP address cited in the

15· ·CRASHOVERDRIVE report had been used as a

16· ·command and control server for the

17· ·Win32/Industroyer malware software."

18· · · · · · ·Do you see that?

19· · · ·A.· · Yes, I do.

20· · · ·Q.· · And that was your conclusion based

21· ·on the ESET report.· Is that correct?

22· · · ·A.· · Correct.· I utilized the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 124 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             123

·1· ·intelligence report published by ESET, which is

·2· ·a common industry investigative technique.

·3· ·Common and recognized.· Industry recognized

·4· ·investigative technique.

·5· · · · · · ·(Exhibit 12 marked for

·6· ·identification.)

·7· · · ·Q.· · By sheer lucky coincidence Exhibit

·8· ·No. 12 to the deposition is Exhibit No. 12 to

·9· ·your expert report.

10· · · ·A.· · You're in sync.

11· · · ·Q.· · Is this the ESET report that you

12· ·were just talking about?

13· · · ·A.· · It appears to be.· Yes.

14· · · ·Q.· · If you would turn to Page 15 of that

15· ·report, please, that is where it indicates the

16· ·IP addresses of the C&C servers as you

17· ·discussed a minute ago.· Do you see that?

18· · · ·A.· · I'm not there yet.· Please standby.

19· · · · · · ·Page 14 you said?

20· · · ·Q.· · 15.

21· · · ·A.· · 15.

22· · · · · · ·Okay.· In the lower right hand


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 125 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             124

·1· ·quadrant of the page?

·2· · · ·Q.· · Yes.

·3· · · ·A.· · Okay.

·4· · · ·Q.· · And those are the --

·5· · · · · · ·That's how you identified the IP

·6· ·addresses of the C&C servers, correct?

·7· · · ·A.· · Correct.

·8· · · ·Q.· · And right below the listing of IP

·9· ·addresses it says:· "Warning!· Most of the

10· ·servers with these IP addresses were part of

11· ·Tor network, which means that the use of these

12· ·indicators could result in a false positive

13· ·match."

14· · · · · · ·Correct?

15· · · ·A.· · That's what it states.· Correct.

16· · · ·Q.· · You didn't give that caution in your

17· ·report when you talked about the ESET report,

18· ·did you?

19· · · ·A.· · I did not.· And in my opinion I

20· ·believe that to be irrelevant.

21· · · · · · ·(Exhibit 13 marked for

22· ·identification.)


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 126 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             125

·1· · · ·Q.· · So you're being shown what's been

·2· ·marked as Exhibit 13.· And in your expert

·3· ·report you note that this white paper

·4· ·identified a Root S.A. owned IP address that

·5· ·was used as command and control server for the

·6· ·Cozy Bear designed Cosmicduke malware.· And

·7· ·maybe I was just too tired when I read this,

·8· ·but can you tell me where in here it references

·9· ·Cozy Bear?

10· · · ·A.· · I would have to go through the

11· ·entire report to find the reference.· But I

12· ·will say based on experience and industry-wide

13· ·recognition, Cozy Bear is the industry term

14· ·used by CrowdStrike, the cyber security firm,

15· ·and is well known that Cozy Bear is Russian

16· ·nation state actors as is Cosmicduke well known

17· ·in industry to be Russian actors.

18· · · · · · ·MS. BOLGER:· I would also note for

19· ·the record that the sentence that you read,

20· ·Evan, cited two documents, this one and another

21· ·one, stat.ripe.net/widget/routing-history.

22· · · · · · ·The sentence that Evan just read has


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 127 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             126

·1· ·three footnotes, one of which is this,

·2· ·Exhibit 13, and then there are exhibit --

·3· · · · · · ·Footnote 70 is a link to something

·4· ·else.

·5· · · · · · ·MR. FRAY-WITZER:· And the --

·6· · · · · · ·MS. BOLGER:· I'm not representing

·7· ·anything about it other than that.

·8· ·BY MR. FRAY-WITZER:

·9· · · ·Q.· · The stat.ripe.net links that you

10· ·provided us are links that demonstrate the

11· ·ownership of IP addresses over time, correct?

12· · · ·A.· · Correct.· That would be Footnote No.

13· ·70.

14· · · ·Q.· · Yeah.· So that would have nothing to

15· ·do with identifying the link or the virus, the

16· ·malware, as being created by Cozy Bear, right?

17· · · ·A.· · I'd have to see it, but yeah, based

18· ·on experience it's not going --

19· · · · · · ·It's not going to link an IP

20· ·directly from the ripe.net website to a threat

21· ·actor set.

22


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 128 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             127

·1· · · · · · ·(Exhibit 14 marked for

·2· ·identification.)

·3· · · ·Q.· · So you've been given what's been

·4· ·marked as Exhibit No. 14, which is also your

·5· ·Exhibit 14.

·6· · · ·A.· · Okay.

·7· · · ·Q.· · And in your expert report you talk

·8· ·about technical connections to APT Careto on

·9· ·Page 24 of your expert report.· Do you see it?

10· · · ·A.· · I do.

11· · · ·Q.· · And you reference this Kaspersky

12· ·white paper, correct?

13· · · ·A.· · Correct.

14· · · ·Q.· · This particular malicious threat

15· ·actually targeted users who were using

16· ·Kaspersky software.· Isn't that correct.

17· · · ·A.· · Um, it has been a while since I've

18· ·read this report, so I don't want to --

19· · · ·Q.· · Well, I'll direct you to Page 26.

20· · · ·A.· · Okay.

21· · · ·Q.· · And Kaspersky actually in that

22· ·report says:· "We initially became aware of


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 129 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             128

·1· ·Careto when we observed attempts to exploit a

·2· ·vulnerability in our products."

·3· · · · · · ·Do you see that?

·4· · · ·A.· · I do.

·5· · · ·Q.· · And so one of the things that this

·6· ·malicious -- kind of we would call it a virus

·7· ·or a malicious script -- did, was it targeted

·8· ·users of Kaspersky software.· Is that correct?

·9· · · ·A.· · That's what Page 26 states.

10· · · ·Q.· · And Kaspersky software, ironically,

11· ·is designed to let users battle malware.· Is

12· ·that correct?

13· · · ·A.· · It is viewed --

14· · · · · · ·Kaspersky software is viewed in the

15· ·industry as an antivirus solution.· Correct.

16· · · ·Q.· · On Page 25 of your report, towards

17· ·the bottom of that page you're talking about a

18· ·RIG Exploit Kit as part of your section on

19· ·other malicious cyber activity, correct?

20· · · ·A.· · Correct.

21· · · ·Q.· · And the report that you're talking

22· ·about was created by Talos, correct?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 130 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             129

·1· · · ·A.· · Correct.

·2· · · ·Q.· · And on Page 26 it reads:· "Talos

·3· ·reportedly contact both Eurobyte and Webzilla

·4· ·in late 2015 and provided both companies with

·5· ·information about the hosts.· According to

·6· ·Talos, Webzilla responded and blocked the

·7· ·customers that were generating the events."

·8· · · · · · ·Correct?

·9· · · ·A.· · That's what my report states.· Yes.

10· · · ·Q.· · And so according to your report and

11· ·according to Talos, when Webzilla was notified

12· ·about this malicious activity it blocked the

13· ·customers that were generating the events,

14· ·correct?

15· · · ·A.· · Correct.

16· · · · · · ·(Exhibit 15 marked for

17· ·identification.)

18· · · ·Q.· · So you're being shown what's been

19· ·marked as Exhibit No. 15.· If you look at the

20· ·top right hand corner you'll see that it's

21· ·marked as Exhibit 28 to your expert report.· Do

22· ·you see that?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 131 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             130

·1· · · ·A.· · I do.

·2· · · ·Q.· · The overview of exhibits contained

·3· ·on the last page of your expert report only

·4· ·goes up to 27.· As far as I can tell Exhibit 28

·5· ·isn't actually referenced anywhere in your

·6· ·report, and so I'm mostly trying to ask you

·7· ·what this is and why it's here.

·8· · · · · · ·MS. BOLGER:· Evan, you are probably

·9· ·the kind of guy who always used I before E too.

10· · · · · · ·MR. FRAY-WITZER:· Except after C.

11· · · · · · ·MR. GURVITS:· I was waiting for

12· ·that.

13· · · · · · ·MS. BOLGER:· For the record, there

14· ·is a reference to 28.· So it's on Page 14,

15· ·Footnote 28.

16· · · · · · ·THE WITNESS:· It must be regarding

17· ·the exploitation of --

18· · · · · · ·MS. BOLGER:· Don't guess.· Look at

19· ·Page 14, Footnote 28.

20· · · · · · ·THE WITNESS:· Yes.· It is how the

21· ·Podesta phishing e-mail was created and sent to

22· ·him to steal his username and password and how


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 132 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             131

·1· ·the actors staged or created his Bit.ly link on

·2· ·the Root S.A. infrastructure.

·3· ·BY MR. FRAY-WITZER:

·4· · · ·Q.· · If you would turn, please, to Page

·5· ·32 of your expert report.· And just to be

·6· ·clear, this section starts on Page 31.· It's

·7· ·entitled Public Reputation Related to Malicious

·8· ·Cyber Activity.· And then starting on Page 32

·9· ·there's a table that lists a number of

10· ·different items that you have said are related

11· ·to this category, correct?

12· · · ·A.· · Correct.

13· · · ·Q.· · So starting with the first entry on

14· ·Page 32, you're discussing 1-800-Hosting, Inc.

15· ·Is that correct?

16· · · ·A.· · Correct.

17· · · ·Q.· · And you're talking about malicious

18· ·activity that allegedly occurred in 2008 on

19· ·1-800-Hosting, correct?

20· · · ·A.· · Correct.· Activity on 1-800-Hosting,

21· ·Inc., in 2008.· Correct.

22· · · ·Q.· · And you note in that box at the end:


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 133 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             132

·1· ·"FTI notes this activity pre-dates XBT's

·2· ·acquisition of 1-800-Hosting.· XBT acquired the

·3· ·company in November 2012."

·4· · · · · · ·Correct?

·5· · · ·A.· · Correct.· That's what my report

·6· ·states.

·7· · · ·Q.· · So why would activity in 2008 which

·8· ·predated XBT's ownership of 1-800-Hosting have

·9· ·something to do with XBT's reputation?

10· · · ·A.· · Um, again, when conducting complex

11· ·technical investigations like this you evaluate

12· ·a myriad of data points.· And throughout the

13· ·course of this investigation we came across

14· ·this data point and believed that it was part

15· ·of a recurring theme which is ongoing,

16· ·malicious cyber activity, in some cases at the

17· ·hands of the Russian Government, Russian state

18· ·actors, in some cases continued even after it

19· ·was brought to the attention of the owners and

20· ·operators.

21· · · ·Q.· · How is it a data point that 4 years

22· ·before XBT purchased 1-800-Hosting,


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 134 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             133

·1· ·1-800-Hosting was the subject of malicious

·2· ·activity?· How does that possibly reflect on

·3· ·XBT?

·4· · · · · · ·MS. BOLGER:· Object.· Asked and

·5· ·answered.

·6· · · · · · ·But you can answer again.

·7· · · · · · ·THE WITNESS:· Yeah.· I would just

·8· ·say it's a data point.· XBT acquired them, and

·9· ·it was --

10· · · · · · ·It's more alleged Russian state

11· ·actors utilizing infrastructure that XBT

12· ·decided to purchase.

13· ·BY MR. FRAY-WITZER:

14· · · ·Q.· · They didn't own the infrastructure

15· ·at the time the activity occurred, right?

16· · · ·A.· · Correct.

17· · · ·Q.· · Your report doesn't say that the

18· ·activity continued after they purchased

19· ·1-800-Hosting, correct?

20· · · ·A.· · Correct.

21· · · ·Q.· · Your next entry for Fozzy Inc.,

22· ·says:· "According to the McClatchy D.C. bureau,


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 135 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             134

·1· ·fozzy.com is a site 'used to heavily host

·2· ·pornography'."

·3· · · · · · ·Did I read that correctly?

·4· · · ·A.· · Correct.

·5· · · ·Q.· · Let me ask you first:· What do you

·6· ·believe the relevance of that to be?

·7· · · ·A.· · Um, as stated, I'd have to go back

·8· ·to Exhibit 1.· The scope of the investigation

·9· ·was to --

10· · · · · · ·The scope of my investigation was to

11· ·conduct a sophisticated technical investigation

12· ·to determine links between XBT/Webzilla and its

13· ·affiliates.· It alleges that they "had been

14· ·using botnets and porn traffic to transmit

15· ·viruses, plant bugs, steal data and conduct

16· ·'altering operations' against Democratic Party

17· ·leadership."

18· · · · · · ·I found that data point to be

19· ·relevant because Fozzy Inc., an XBT entity is

20· ·hosting -- according to the McClatchy D.C.

21· ·bureau -- is a hosting site "used to heavily

22· ·host pornography."


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 136 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             135

·1· · · ·Q.· · So let me first ask you:· Do you

·2· ·know if fozzy.com is hosting pornography?

·3· · · ·A.· · I'm confident throughout the course

·4· ·of the investigation our investigators did

·5· ·research on the domain and its purpose.

·6· · · ·Q.· · Tell me every fact that you believe

·7· ·your investigators uncovered that supports what

·8· ·I think you're saying is your belief that

·9· ·fozzy.com hosts pornography?

10· · · ·A.· · If it's not in my expert report then

11· ·I don't believe it to be relevant.· My expert

12· ·report states exactly what it states, that

13· ·according to McClatchy fozzy.com hosts --

14· · · · · · ·-- is a site "used to heavily host

15· ·pornography."

16· · · ·Q.· · And my question is:· Did you do

17· ·independent research to determine if that was

18· ·true?

19· · · ·A.· · I can't answer that at this time.

20· · · ·Q.· · You don't know if you did

21· ·independent research?

22· · · ·A.· · I do know we did independent


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 137 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             136

·1· ·research because we wouldn't have not

·2· ·investigated this.· But outside of what the

·3· ·report states, I'm sure our findings didn't add

·4· ·any more information other than what's stated

·5· ·in the report.

·6· · · ·Q.· · If you had discovered that fozzy.com

·7· ·was hosting pornography, would you not have

·8· ·included that in your report?

·9· · · ·A.· · Can you repeat the question.

10· · · ·Q.· · If you had discovered that fozzy.com

11· ·was hosting pornography, would you not have

12· ·included that in your report?

13· · · ·A.· · If we discovered that fozzy.com was

14· ·hosting pornography, would we have included it

15· ·in the report?

16· · · · · · ·Yes.

17· · · · · · ·(Exhibit 16 marked for

18· ·identification.)

19· · · ·Q.· · So you are being shown an article

20· ·from McClatchy D.C. Bureau.· This is the

21· ·article that you reference in your report about

22· ·fozzy.com, correct?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 138 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             137

·1· · · ·A.· · Correct.

·2· · · ·Q.· · If you turn to the last page of that

·3· ·article, the third paragraph on the page says:

·4· ·"XBT has been on a buying spree in recent

·5· ·years, accumulating companies in the

·6· ·web-hosting and related fields, including

·7· ·DDoS.com, 1-800-Hosting, SecureVPN.com,

·8· ·ColocateUSA, Server.lu in Luxembourg,

·9· ·Singapore's 8 to Infinity, and a site used

10· ·heavily to host pornography, fozzy.com.· It

11· ·acquired Webzilla about a decade ago, which is

12· ·a medium-sized web-hosting company."

13· · · · · · ·Did I read that correctly?

14· · · ·A.· · You did.

15· · · ·Q.· · So as a starting point, the article

16· ·says that XBT acquired a site that allegedly

17· ·used to heavily host pornography?

18· · · · · · ·MS. BOLGER:· No.· Objection.· That's

19· ·not what it says.

20· · · · · · ·MR. FRAY-WITZER:· I'm sorry.

21· · · · · · ·Used heavily to --

22· · · · · · ·MS. BOLGER:· That's a big


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 139 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             138

·1· ·difference.

·2· ·BY MR. FRAY-WITZER:

·3· · · ·Q.· · Sorry.· Let's try that again.

·4· · · · · · ·They acquired a company that was

·5· ·allegedly used heavily to host pornography,

·6· ·correct?

·7· · · ·A.· · The article states that they've been

·8· ·on a buying spree and in that buying spree they

·9· ·acquired or purchased a site used heavily to

10· ·host --

11· · · · · · ·-- to host pornography, fozzy.com.

12· · · ·Q.· · Do you know if after the purchase of

13· ·fozzy.com that site continued to host

14· ·pornography?

15· · · ·A.· · Um, I couldn't say at this time.

16· · · ·Q.· · Based open your experience are there

17· ·any major hosting companies in the world that

18· ·don't host some pornography?

19· · · · · · ·MS. BOLGER:· If you know the answer

20· ·to that big old question, you can give it.

21· · · · · · ·THE WITNESS:· I mean -- -

22· · · · · · ·What is the question again?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 140 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             139

·1· · · · · · ·MR. FRAY-WITZER:· Could you read it

·2· ·back, please.

·3· · · · · · ·(Court Reporter read back.)

·4· · · · · · ·THE WITNESS:· I couldn't answer that

·5· ·question.· I'm sorry.

·6· ·BY MR. FRAY-WITZER:

·7· · · ·Q.· · The article that you cited continues

·8· ·by saying:· "Although Webzilla operates from

·9· ·Texas, it has a "pretty deep Russian client

10· ·base," analyst Carl Brooks of 451 Research, a

11· ·Boston-based consultancy, said in a December

12· ·interview.· 'They don't have a bad reputation,

13· ·by any means.'· He said the same went for XBT

14· ·Holdings:· 'To the best of my knowledge, XBT is

15· ·not particularly nefarious'."

16· · · · · · ·Did I read that correctly?

17· · · ·A.· · You read the McClatchy article

18· ·correctly.

19· · · ·Q.· · You didn't think to include those

20· ·portions of the McClatchy article in your

21· ·expert report, did you?

22· · · ·A.· · I did not because I believe it to be


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 141 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             140

·1· ·contradictory to the substantial evidence that

·2· ·we were able to collect and indicates that XBT

·3· ·infrastructure was indeed utilized to conduct

·4· ·multiple significant malicious cyber

·5· ·activities, some of which at the hands of the

·6· ·Russian Government, and some of which that took

·7· ·place and were brought to the attention of XBT

·8· ·officials and they did nothing about.

·9· · · · · · ·Let me also be clear that these

10· ·significant cyber events were probably in most

11· ·recent history the most significant cyber

12· ·events to take place on the globe, targeting of

13· ·the Democratic National Committee, the

14· ·targeting of the 50 states leading up to the

15· ·2016 Presidential Election, the targeting and

16· ·disruption of the Ukrainian power grid in which

17· ·250 people lost electricity on December 23rd,

18· ·and other significant events outlined in my

19· ·expert report.· So with all due respect to Mr.

20· ·Brooks, I don't think he did the research that

21· ·we did.

22· · · ·Q.· · So just to recap, because where we


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 142 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             141

·1· ·were is:· In your expert report you quoted the

·2· ·McClatchy article for the limited quote of

·3· ·saying that fozzy.com is a site "used to

·4· ·heavily host pornography", but you didn't feel

·5· ·that it was necessary to quote the portions of

·6· ·that article in which people said that XBT does

·7· ·not have a nefarious reputation, correct?

·8· · · ·A.· · For the reasons I just described.

·9· · · ·Q.· · But that's what you did.· You quoted

10· ·the portion that you wanted to quote, and you

11· ·left out the other portion, correct?

12· · · · · · ·MS. BOLGER:· Objection.

13· · · · · · ·THE WITNESS:· Again, for the reasons

14· ·I just described.

15· ·BY MR. FRAY-WITZER:

16· · · ·Q.· · On Page 33 of your expert report you

17· ·are discussing at the top Webzilla:· "Cited in

18· ·a March 2016 report submitted to the U.S.

19· ·Copyright Office Library of Congress regarding

20· ·music pirating and violations of the DMCA."

21· · · · · · ·Correct?

22· · · ·A.· · Correct.· Digital Millennium


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 143 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             142

·1· ·Copyright Act.

·2· · · ·Q.· · And you note that:· "In the report,

·3· ·Webzilla is cited as a hosting company refusing

·4· ·to terminate service with their customers,

·5· ·despite receiving thousands of notices of

·6· ·infringement attributable to their subscribers'

·7· ·accounts."

·8· · · · · · ·Correct?

·9· · · ·A.· · Correct.

10· · · ·Q.· · Now as a starting point, just to

11· ·clarify, in this section you're talking about

12· ·copyright violations that are taking place,

13· ·allegedly, on Webzilla's infrastructure,

14· ·correct?

15· · · ·A.· · Correct.

16· · · ·Q.· · That same report, the RIAA,

17· ·complains about Google too, don't they?

18· · · ·A.· · I don't have the report in front of

19· ·me, but if you point me to that point I'd be

20· ·happy to review.

21· · · · · · ·(Exhibit 17 marked for

22· ·identification.)


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 144 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             143

·1· · · · · · ·Which page are we looking at, sir?

·2· · · ·Q.· · Why don't we look at Page 18:

·3· ·"Infringements noticed just by RIAA to Google

·4· ·about one rogue service, Mp3Skull, at its

·5· ·various domain addresses."

·6· · · · · · ·And then they list some 2 million

·7· ·infringements attributable to that one rogue

·8· ·service.

·9· · · · · · ·MS. BOLGER:· Can I just object.

10· ·It's a very significant document, and you're

11· ·attempting to use it to cross examine the

12· ·plaintiff.

13· · · · · · ·-- the witness.· I mean, I'm tempted

14· ·to almost ask him to read it so he knows what

15· ·he's talking about, but gosh, we'd be here all

16· ·day.· But I am telling you that it's very

17· ·difficult to know exactly what any one

18· ·58-page -- or whatever it is -- document is

19· ·saying by one page.· So for the record, I'm

20· ·just making my objection.

21· · · · · · ·Anthony, if you want to take the

22· ·time to read it, you go right ahead.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 145 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             144

·1· · · · · · ·MR. FRAY-WITZER:· It's cited in his

·2· ·expert report as a document he relied on, and

·3· ·it's cited in his expert report as a document

·4· ·that he is using to say that something about

·5· ·Webzilla.

·6· · · · · · ·MS. BOLGER:· Webzilla is named in

·7· ·here.· That's the portion he's citing.

·8· · · · · · ·MR. FRAY-WITZER:· Yes.· So is

·9· ·Google.· So is YouTube.· And my point is --

10· · · · · · ·MS. BOLGER:· That's fine.· I just

11· ·want him to read for context.

12· · · · · · ·MR. FRAY-WITZER:· -- the RIAA likes

13· ·to complain about lots of people.

14· · · · · · ·THE WITNESS:· So I'm sorry, Evan,

15· ·what is your question?

16· ·BY MR. FRAY-WITZER:

17· · · ·Q.· · The RIAA complains about Google in

18· ·this report as well, do they not?

19· · · ·A.· · They do.

20· · · ·Q.· · And just generally if you recall

21· ·from your reading of this document, they

22· ·complain about a number of other hosts and


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 146 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             145

·1· ·providers and websites that they do not believe

·2· ·were doing sufficient things to combat

·3· ·copyright abuses, correct?

·4· · · ·A.· · They do.· I think you're comparing

·5· ·apples to oranges though when you put XBT and

·6· ·Google in the same boat.· You know, I'd have to

·7· ·sit down and read this again because it has

·8· ·been some time, but there's a difference

·9· ·between Google and XBT.· Google is a search

10· ·engine, XBT is a hosting company.· So the

11· ·copyright material is being hosted and

12· ·distributed from XBT infrastructure, while

13· ·Google is just the search engine that is

14· ·directing people to copyrighted material, which

15· ·is think is a big difference.· There's hosting

16· ·and then there's showing you a map of how to

17· ·get there.

18· · · ·Q.· · They complain about YouTube.· That's

19· ·not just a map.· YouTube actually provides --

20· · · · · · ·MS. BOLGER:· Where's the YouTube

21· ·reference?

22· · · · · · ·MR. FRAY-WITZER:· If you don't want


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 147 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             146

·1· ·to take my representation about it, that's

·2· ·fine.

·3· · · · · · ·MS. BOLGER:· Of course I'll take

·4· ·your representation about it, but I don't know

·5· ·what it says about it.· Tell me what it says

·6· ·about it.

·7· · · · · · ·THE WITNESS:· Yeah.

·8· · · · · · ·Sorry.· I'll let you guys talk.

·9· ·BY MR. FRAY-WITZER:

10· · · ·Q.· · Looking back at Page 33 of your

11· ·expert report, the next item listed McHost,

12· ·which you identify as a customer of XBT,

13· ·correct?

14· · · ·A.· · Correct.

15· · · ·Q.· · And you wrote:· "According to

16· ·TrendLabs Security Intelligence Blog, McHost is

17· ·a Russian web-hosting company that is

18· ·purportedly 'very friendly with

19· ·Russian/Ukrainian cyber criminals' and

20· ·described as a 'criminal haven for

21· ·Russian/Ukrainian cyber criminals'."

22· · · · · · ·Did you I read that correctly?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 148 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             147

·1· · · ·A.· · You did.· You read that correctly.

·2· · · ·Q.· · And then you link or you footnote a

·3· ·link to the blog that you are talking about,

·4· ·correct?

·5· · · ·A.· · Correct.

·6· · · ·Q.· · I'm going to show you that in a

·7· ·moment, but -- and this is a question I'm just

·8· ·curious about -- throughout your report most of

·9· ·the time when you refer to articles they became

10· ·exhibits to your report.· Why is this not an

11· ·exhibit to your report?

12· · · ·A.· · I couldn't say.

13· · · ·Q.· · Is there any reason why some of the

14· ·articles that you reference you attach as

15· ·exhibits and some you don't?

16· · · ·A.· · I couldn't say at this time.                  I

17· ·mean --

18· · · · · · ·(Exhibit 18 marked for

19· ·identification.)

20· · · ·Q.· · So you're being shown what's been

21· ·marked as Exhibit 18.· Can you tell me if you

22· ·recognize that?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 149 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             148

·1· · · ·A.· · This appears to be the blog post

·2· ·cited in my report.

·3· · · ·Q.· · The blog post, which is indeed the

·4· ·one cited in your report, is dated April 26th,

·5· ·2009.· Is that correct?

·6· · · ·A.· · Correct.

·7· · · ·Q.· · It's a 9-year old blog post

·8· ·concerning McHost, correct?

·9· · · ·A.· · Correct.

10· · · ·Q.· · In 2009 was McHost a customer of

11· ·XBT?

12· · · ·A.· · I can't answer that right now.

13· · · ·Q.· · Did you investigate it?

14· · · ·A.· · I'm sure we did.

15· · · ·Q.· · And what did you conclude?

16· · · ·A.· · As I just stated, I can't answer

17· ·that right now.

18· · · ·Q.· · In 2009 McHost was not a customer of

19· ·XBT.· So how does it possibly reflect on XBT

20· ·that a customer that they did not have at the

21· ·time this report was written may have done some

22· ·bad things?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 150 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             149

·1· · · ·A.· · Because it shows a continued pattern

·2· ·of believed --

·3· · · · · · ·-- entities believed to be

·4· ·facilitating malicious cyber activity at the

·5· ·hands of Russian state actors utilizing XBT

·6· ·infrastructure at one time or another.

·7· · · ·Q.· · So these folks, McHost, allegedly

·8· ·did bad things when they were not a customer of

·9· ·XBT, and you believe that that reflects poorly

10· ·on XBT?

11· · · ·A.· · I believe it speaks to the type of

12· ·clientele that they attract.· And that's

13· ·exactly the data point that I wish to

14· ·represent.

15· · · ·Q.· · Also on Page 33 of your expert

16· ·report the next entry down is CubeHost,

17· ·correct?

18· · · ·A.· · Correct.

19· · · ·Q.· · Again, listed as a customer of XBT,

20· ·correct?

21· · · ·A.· · Correct.

22· · · ·Q.· · And you say that CubeHost is:


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 151 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             150

·1· ·"Named in a Krebs on Security article as a

·2· ·dormant site registered to Artem Tveritinov --

·3· · · · · · ·T-V-E-R-I-T-I-N-O-V.

·4· · · · · · ·-- CEO of Infocube, an anti-virus

·5· ·information security company that is allegedly

·6· ·a 'minor partner' of Kaspersky labs.· The phone

·7· ·numbers listed in the domain name registration

·8· ·for cubehost.biz are two Chinese phone numbers

·9· ·traced back to other domains seen launching

10· ·malware.· Tveritinov's company is also accused

11· ·of spreading malicious software used to steal

12· ·banking information."

13· · · · · · ·Did I read that correctly?

14· · · ·A.· · You did.

15· · · · · · ·(Exhibit 19 marked for

16· ·identification.)

17· · · ·Q.· · You're looking at what's been marked

18· ·as Exhibit No. 19.· And can you tell me if you

19· ·recognize that article?

20· · · ·A.· · Yeah.· It's a Krebs on Security

21· ·article that we used to reference malicious

22· ·activity and also tie to CubeHost.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 152 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             151

·1· · · ·Q.· · If you would turn to the second page

·2· ·of that article, the fourth paragraph down that

·3· ·starts with:· "Going back to".

·4· · · ·A.· · Uh-huh.

·5· · · ·Q.· · The second sentence there reads:

·6· ·"Among the very few domains registered to those

·7· ·Chinese phone numbers that haven't been seen

·8· ·launching malware is a website called

·9· ·cubehost.biz."

10· · · · · · ·Did I read that correctly?

11· · · ·A.· · You did.

12· · · ·Q.· · So you're citing here a customer of

13· ·XBT because that website, that customer

14· ·website, wasn't involved in launching malware.

15· · · ·A.· · Okay.· Your question?

16· · · · · · ·MR. FRAY-WITZER:· Would you read the

17· ·question back.

18· · · · · · ·(Court Reporter read back.)

19· · · · · · ·THE WITNESS:· Again, I'm not

20· ·understanding the question.

21· ·BY MR. FRAY-WITZER:

22· · · ·Q.· · How does it reflect poorly on XBT


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 153 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             152

·1· ·that one of their customers, CubeHost, didn't

·2· ·launch malware?

·3· · · ·A.· · At this time I can't answer that.

·4· · · ·Q.· · The next item down Colo4, LLC, also

·5· ·is a customer of XBT, correct?

·6· · · ·A.· · Correct.

·7· · · ·Q.· · And you say:· "Named in a Krebs on

·8· ·Security article as one of numerous companies

·9· ·with networks 'shown to have been phoning home

10· ·to some of the same control infrastructure that

11· ·was used in RSA attack.'· FTI notes that

12· ·several large companies are on the list,

13· ·including Motorola, eBay, IBM, Research in

14· ·Motion, and that not every company on the list

15· ·may be culpable."

16· · · · · · ·Did I read that correctly?

17· · · ·A.· · You did.

18· · · ·Q.· · When you say "numerous companies",

19· ·it was actually 760 companies, correct?

20· · · ·A.· · I don't have the report right in

21· ·front of me.

22


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 154 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             153

·1· · · · · · ·(Exhibit 20 marked for

·2· ·identification.)

·3· · · ·Q.· · So you're being shown what's been

·4· ·marked as Exhibit No, 20.· This is the Krebs on

·5· ·Security article referenced in your expert

·6· ·report, correct?

·7· · · ·A.· · Correct.

·8· · · ·Q.· · And in the first paragraph of this

·9· ·article it says:· "The subtext of the story was

10· ·that if this could happen to one of the largest

11· ·and most integral security firms, what hope was

12· ·there for organizations that aren't focused on

13· ·security?."

14· · · · · · ·So as a starting point, RSA --

15· ·that's a security firm.· Is that correct?

16· · · ·A.· · Correct.

17· · · ·Q.· · And it was hit with this malware.

18· ·Is that correct?

19· · · ·A.· · Correct.

20· · · ·Q.· · And the article is discussing who

21· ·else was hit by this malicious activity.· Is

22· ·that correct?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 155 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             154

·1· · · ·A.· · Correct.

·2· · · ·Q.· · And when you say that one of XBT's

·3· ·customers was "one of numerous companies with

·4· ·networks 'shown to have been phoning home'",

·5· ·it's 760 other organizations, correct?

·6· · · · · · ·MS. BOLGER:· I object to the form of

·7· ·the question.

·8· · · · · · ·THE WITNESS:· So I guess --

·9· · · · · · ·What is your question?

10· ·BY MR. FRAY-WITZER:

11· · · ·Q.· · First page, second paragraph:· "The

12· ·information suggests that more than 760 other

13· ·organizations had networks that were

14· ·compromised."

15· · · · · · ·Do you see that?

16· · · ·A.· · I actually don't.

17· · · ·Q.· · First page, second paragraph.

18· · · · · · ·MS. BOLGER:· It's in italics next to

19· ·the image.

20· · · · · · ·THE WITNESS:· "The information

21· ·suggests that more than 760 other organizations

22· ·had networks that were compromised with some of


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 156 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             155

·1· ·the same resources used to hit RSA."

·2· ·BY MR. FRAY-WITZER:

·3· · · ·Q.· · So when you say "numerous companies"

·4· ·were hit by this, 760 of them, right?

·5· · · · · · ·MS. BOLGER:· That's not what it

·6· ·says.

·7· · · · · · ·I object to the form of the

·8· ·question.· I think you're comparing apples to

·9· ·oranges, but I may just be confused.

10· · · · · · ·THE WITNESS:· So this is included in

11· ·the report because, again, this is a single

12· ·data point viewed in a larger collection of

13· ·data points.· And what this is articulating is

14· ·that Colo4, LLC, a customer of XBT -- therefore

15· ·on XBT's infrastructure -- has been observed to

16· ·be communicating with some of the same

17· ·infrastructure used in the RSA attack.

18· ·BY MR. FRAY-WITZER:

19· · · ·Q.· · As well as 760 other organizations,

20· ·correct?

21· · · ·A.· · 760 --

22· · · · · · ·MS. BOLGER:· Object.· I don't


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 157 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             156

·1· ·understand.· I object to that question.

·2· · · · · · ·You can answer.

·3· · · · · · ·THE WITNESS:· It was 760 total, so I

·4· ·would --

·5· · · · · · ·MR. FRAY-WITZER:· 759 other

·6· ·companies.

·7· · · · · · ·THE WITNESS:· -- politely correct

·8· ·you and say 759 other companies.

·9· · · · · · ·But as I've stated earlier in my

10· ·testimony, those 759 other companies were not

11· ·the scope of my investigation, nor do they show

12· ·a pattern like XBT does of continual

13· ·significant malicious cyber activity.

14· ·BY MR. FRAY-WITZER:

15· · · ·Q.· · Well, you don't know that, do you?

16· ·Did you investigate the other 759 companies so

17· ·that you can say that they don't exhibit a

18· ·pattern?

19· · · ·A.· · Like I said, I preface that

20· ·statement with they were not the scope of my

21· ·investigation.

22· · · ·Q.· · But then if I'm correct, you


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 158 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             157

·1· ·concluded by saying these other companies did

·2· ·not demonstrate a pattern of activity like XBT.

·3· ·You don't know that.

·4· · · ·A.· · I prefaced that statement with:

·5· ·They were not the scope of my investigation.

·6· · · · · · ·XBT was, and XBT does demonstrate a

·7· ·continual pattern of malicious cyber activity.

·8· · · ·Q.· · Do you know if these other 759

·9· ·companies have other instances of malicious

10· ·cyber activity on their networks?

11· · · ·A.· · They were not the scope of my

12· ·investigation.

13· · · ·Q.· · So you don't know?

14· · · ·A.· · They were not the scope of my

15· ·investigation.

16· · · ·Q.· · Even if they're not the scope of

17· ·your investigation, you might know.· So I'm

18· ·just asking for a "yes" or "no" as to whether

19· ·or not you know if these other 759 companies

20· ·have also had a -- as you put it -- pattern of

21· ·malicious cyber activity on their

22· ·infrastructures?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 159 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             158

·1· · · ·A.· · I couldn't answer that.· As a cyber

·2· ·security professional and someone who is

·3· ·currently under oath, I couldn't answer that.

·4· · · ·Q.· · Because you don't know whether or

·5· ·not they have been the subject of that kind of

·6· ·activity?

·7· · · ·A.· · Because they were not the scope of

·8· ·my investigation.· 1you're asking me to opine

·9· ·on something that I have not investigated.

10· · · ·Q.· · I'm simply asking you to confirm

11· ·that you can't know one way or another.· You

12· ·don't know one way --

13· · · · · · ·MS. BOLGER:· Asked and answered

14· ·about ten times.

15· · · · · · ·MR. FRAY-WITZER:· Hasn't been

16· ·answered once yet.· I just want the answer.

17· · · · · · ·THE WITNESS:· Because I haven't

18· ·investigated it.· I haven't investigated the

19· ·other 759 entities.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · And so you don't know one way or

22· ·another?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 160 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             159

·1· · · · · · ·MS. BOLGER:· Asked and answered,

·2· ·Evan.

·3· · · · · · ·MR. FRAY-WITZER:· It's a "yes" or

·4· ·"no" question.

·5· · · · · · ·MS. BOLGER:· No.· You think it's a

·6· ·"yes" or "no" question.

·7· · · · · · ·MR. FRAY-WITZER:· That's true.

·8· · · · · · ·MS. BOLGER:· That does not make it

·9· ·so.

10· · · · · · ·You can answer again.

11· · · · · · ·THE WITNESS:· They were not the

12· ·scope of my investigation.

13· ·BY MR. FRAY-WITZER:

14· · · ·Q.· · From your general experience do you

15· ·know if these 759 other companies --

16· · · · · · ·Putting aside the investigation,

17· ·from your experience as a cyber security

18· ·expert, do you know one way or another if these

19· ·759 other companies have -- as you've put it --

20· ·a pattern of malicious activity occurring on

21· ·their networks?

22· · · · · · ·MS. BOLGER:· You can answer the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 161 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             160

·1· ·question, but I have to take a break.

·2· · · · · · ·THE WITNESS:· Again, they were not

·3· ·the scope of my investigation, so I'm unable to

·4· ·answer that question.

·5· · · · · · ·MS. BOLGER:· I have to take a break,

·6· ·John.

·7· · · · · · ·(Recess taken at 3:12 p.m.)

·8· · · · · · ·(Deposition resumed at 3:21 p.m.)

·9· ·BY MR. FRAY-WITZER:

10· · · ·Q.· · I know you're hoping I've forgotten

11· ·this line of questioning, but I'm going to try

12· ·one more time.

13· · · ·A.· · No.· I think we mean the same thing.

14· · · ·Q.· · I think we do too.

15· · · · · · ·I'm just asking, even aside from

16· ·your investigation in this matter, do you have

17· ·any reason to believe that the other 759

18· ·companies listed have been or have not been

19· ·subject to persistent malicious activity on

20· ·their networks?

21· · · · · · ·MS. BOLGER:· Objection.· That's not

22· ·what the article says, but okay.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 162 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             161

·1· · · · · · ·THE WITNESS:· I just don't know.

·2· ·BY MR. FRAY-WITZER:

·3· · · ·Q.· · Okay.· You say in your expert report

·4· ·that several large companies are on the list.

·5· ·According to the Krebs report approximately

·6· ·20 percent of the current Fortune 100 companies

·7· ·are on the list.· Is that correct?

·8· · · · · · ·Same first page, same second

·9· ·paragraph.

10· · · · · · ·MS. BOLGER:· I'm going to object

11· ·again.· I think you're comparing apples to

12· ·oranges.· I don't think that the article says

13· ·what you say it says, and I don't want the

14· ·record to reflect that Mr. Ferrante is

15· ·ratifying it because I don't think --

16· · · · · · ·I think you guys are talking past

17· ·each other.

18· · · · · · ·THE WITNESS:· What is your question?

19· ·BY MR. FRAY-WITZER:

20· · · ·Q.· · Your report says:· FTI notes that

21· ·several large companies are on the list.

22· · · · · · ·I'm saying the Krebs article says:


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 163 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             162

·1· ·"Almost 20 percent of the current Fortune 100

·2· ·companies are on this list."

·3· · · · · · ·Correct?

·4· · · ·A.· · That's what the report states.· Yes.

·5· · · ·Q.· · Okay.· If you go back one page on

·6· ·your expert report to Page 32, at the bottom

·7· ·you're talking about Webzilla, and you say:

·8· ·"Cited by Dutch reporter Karen Spaink in

·9· ·February 2008 as hosting child pornography."

10· · · · · · ·So first of all, just to clarify,

11· ·we're talking about something from 10 years

12· ·ago, correct?

13· · · ·A.· · February 2008 is the date.

14· · · ·Q.· · 10 years ago?

15· · · ·A.· · Approximately.

16· · · ·Q.· · Yes.· Who is Karen Spaink?

17· · · ·A.· · As indicated in the report, she is a

18· ·Dutch reporter.

19· · · ·Q.· · She's primarily a blogger.· Isn't

20· ·that true?

21· · · ·A.· · I have no --

22· · · · · · ·I have no authority to categorize


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 164 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             163

·1· ·what sort of journalist she is.

·2· · · ·Q.· · Do you have any knowledge about the

·3· ·truth or falsity of what Karen Spaink was

·4· ·writing about?

·5· · · · · · ·MS. BOLGER:· Offer it for its truth.

·6· ·Read the report.

·7· · · · · · ·THE WITNESS:· I wouldn't --

·8· · · · · · ·I would refer you to the report.

·9· ·The report is, as I've said earlier in my

10· ·testimony, another data point of many data

11· ·points that indicate links from XBT

12· ·infrastructure to the alleged activities cited

13· ·in the Steele dossier.

14· ·BY MR. FRAY-WITZER:

15· · · ·Q.· · If it's completely untrue it doesn't

16· ·provide any data point, does it?

17· · · · · · ·MS. BOLGER:· I object to that

18· ·actually.· You brought a lawsuit --

19· · · · · · ·No.· You brought a lawsuit about

20· ·defamation.· You're asking the witness to make

21· ·legal conclusions about relevance, and he's not

22· ·in a position to do that.· You can ask his


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 165 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             164

·1· ·expert opinion, but you can't ask him what's

·2· ·relevant.

·3· · · · · · ·MR. FRAY-WITZER:· He just testified

·4· ·that something was a data point.· And I get to

·5· ·ask:· If it's a data point, if it's completely

·6· ·untrue.

·7· · · · · · ·His, words his report.

·8· · · · · · ·MS. BOLGER:· And you actually --

·9· · · · · · ·He cannot make legal conclusions.

10· ·He is not here to assess what's relevant or not

11· ·relevant to this.· He's allowed to have an

12· ·opinion about what's relevant to his expert

13· ·report.

14· · · · · · ·MR. FRAY-WITZER:· That's all I'm

15· ·talking about.· He said in his expert report

16· ·and in his expert opinion that this is a data

17· ·point.

18· · · · · · ·MS. BOLGER:· In a subject titled

19· ·Public Reputation Related to Malicious Cyber

20· ·Activity.· That's where he put the data point.

21· · · · · · ·MR. FRAY-WITZER:· Please do not

22· ·coach the witness.· You can say "objection",


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 166 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             165

·1· ·you can instruct him not to answer, but please

·2· ·do not coach the witness.

·3· · · · · · ·MS. BOLGER:· You brought a lawsuit

·4· ·for defamation which seeks information about

·5· ·reputation, and I think you're spinning things

·6· ·around.

·7· · · · · · ·MR. FRAY-WITZER:· I am asking about

·8· ·the report and about the witness' testimony,

·9· ·which is what I'm permitted to do.· And I'd ask

10· ·you again -- because you know that what we're

11· ·supposed to say is "objection", "objection to

12· ·form", "you can answer", "you can't answer",

13· ·but not coaching the witness.

14· · · · · · ·MS. BOLGER:· Well, you know you're

15· ·not supposed to ask the witness to make legal

16· ·conclusions.

17· · · · · · ·MR. FRAY-WITZER:· I'm not asking for

18· ·a legal conclusion.

19· · · · · · ·MS. BOLGER:· You can answer the

20· ·question, Anthony.

21· ·BY MR. FRAY-WITZER:

22· · · ·Q.· · You have just said that this item is


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 167 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             166

·1· ·a data point in your conclusions about XBT.· If

·2· ·the information --

·3· · · ·A.· · I actually didn't say that.

·4· · · ·Q.· · Okay.

·5· · · ·A.· · I said this is a data point in many

·6· ·data points.

·7· · · ·Q.· · But it is one data point?

·8· · · ·A.· · It is one.· That is why it is in my

·9· ·expert report, because it is one data point of

10· ·many data points.

11· · · ·Q.· · And if the information contained in

12· ·that article was completely untrue, would it

13· ·still be a data point amongst data points?

14· · · · · · ·MS. BOLGER:· Related to what?

15· · · · · · ·THE WITNESS:· I had no basis to make

16· ·that --

17· · · · · · ·I can't answer that question.

18· ·BY MR. FRAY-WITZER:

19· · · ·Q.· · You've just said that this

20· ·information is a data point amongst data

21· ·points, right?

22· · · ·A.· · Correct.· Available on the public


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 168 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             167

·1· ·internet that I observed through basic open

·2· ·source research.

·3· · · ·Q.· · Do you believe that everything on

·4· ·the internet is true?

·5· · · ·A.· · Of course not.

·6· · · ·Q.· · Okay.· If this is --

·7· · · · · · ·If this information is untrue, does

·8· ·it provide a relevant data point for your

·9· ·analysis?

10· · · · · · ·MS. BOLGER:· Again, you're asking

11· ·about relevance.· He's not here to talk about

12· ·relevance.

13· · · · · · ·MR. FRAY-WITZER:· I'm asking about

14· ·his analysis.

15· · · · · · ·THE WITNESS:· What is the question?

16· · · · · · ·MR. FRAY-WITZER:· Could you read it

17· ·back, please.

18· · · · · · ·(Court Reporter read back.)

19· · · · · · ·MS. BOLGER:· And I object.

20· · · · · · ·THE WITNESS:· This material was

21· ·included in as a data point amongst many data

22· ·points.· Whether or not it is true, I can't


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 169 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             168

·1· ·determine that.· If you're telling me it's not

·2· ·true, I welcome that information.· But at this

·3· ·point in time I have no reason to believe it's

·4· ·not true.

·5· ·BY MR. FRAY-WITZER:

·6· · · ·Q.· · Do you have any reason to believe it

·7· ·is true?

·8· · · ·A.· · Other than that it was reported in

·9· ·the Dutch media, no.

10· · · ·Q.· · We can agree though that not

11· ·everything reported in the media is true,

12· ·correct?

13· · · ·A.· · Are you asking for my expert opinion

14· ·or my personal opinion?

15· · · ·Q.· · Do those two diverge on that

16· ·question?

17· · · ·A.· · I'm not here to provide my expert

18· ·opinion on what is published in the media.· I'm

19· ·here to provide my expert report on the scope

20· ·of my investigation.· And I assure you that

21· ·everything, all data points in this report,

22· ·were investigated and utilized as data points


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 170 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             169

·1· ·to demonstrate significant evidence.

·2· · · ·Q.· · What investigation did FTI do to

·3· ·determine the truth or falsity of the

·4· ·allegations in this Dutch report?

·5· · · ·A.· · I can't answer that right now.

·6· · · ·Q.· · Did FTI do any investigation to

·7· ·determine whether or not any XBT infrastructure

·8· ·is used to host child pornography?

·9· · · · · · ·MS. BOLGER:· Within the scope of the

10· ·expert report.

11· · · · · · ·THE WITNESS:· Um, going back to the

12· ·statement in the dossier, the scope of our

13· ·investigation was to investigate XBT/Webzilla,

14· ·and its affiliates, collect evidence that it

15· ·had been using botnets and porn traffic to

16· ·transmit viruses, plant bugs, steal data and

17· ·conduct altering operations against Democratic

18· ·Party leadership.

19· · · · · · ·MR. FRAY-WITZER:· That --

20· · · · · · ·THE WITNESS:· So that was --

21· · · · · · ·MR. FRAY-WITZER:· -- has nothing to

22· ·do with the question I've asked.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 171 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             170

·1· · · · · · ·THE WITNESS:· I know.· So let me

·2· ·finish.

·3· · · · · · ·So that was the scope of my

·4· ·investigation, and we viewed this as a data

·5· ·point because it involved pornography.· An

·6· ·allegation that pornography was hosted.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · I'll ask the question again.

·9· · · · · · ·Did FTI conduct any investigation

10· ·into whether or not any XBT infrastructure has

11· ·been used to host child pornography?

12· · · ·A.· · We investigated whether or not XBT

13· ·infrastructure had been linked to pornography.

14· ·We did not specifically or exclusively look for

15· ·child pornography.· We looked for all

16· ·pornography and references to hosting

17· ·pornography.· Again, this is one data point

18· ·that indicated that they had been.

19· · · ·Q.· · But only if it's true.· It's not a

20· ·data point if it's not true.

21· · · · · · ·MS. BOLGER:· I object to the

22· ·question.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 172 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             171

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · Did FTI try to contact Karen Spaink?

·3· · · ·A.· · We did not.

·4· · · ·Q.· · Did FTI investigate independently

·5· ·the allegations made in the article?

·6· · · ·A.· · Yes.· I just stated that we did.

·7· ·Because it was the scope of the investigation

·8· ·we investigated XBT, its infrastructure, its

·9· ·affiliates, and collected evidence that it had

10· ·been using botnets and porn traffic to transmit

11· ·viruses, plant bugs and steal data.

12· · · ·Q.· · Did you investigate whether or not

13· ·there were Danish websites on the national

14· ·police force's blacklist that were hosted on

15· ·Webzilla?

16· · · · · · ·MS. BOLGER:· I'm sorry.· I actually

17· ·did not hear a word you just said.· Can you

18· ·keep your voice up, Evan.

19· · · · · · ·MR. FRAY-WITZER:· Would you mind

20· ·reading it back.

21· · · · · · ·(Court Reporter read back.)

22· · · · · · ·MS. BOLGER:· Okay.· That's what I


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 173 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             172

·1· ·thought I heard it.· There's no Danish websites

·2· ·anywhere in this report.

·3· · · · · · ·Dutch.

·4· · · · · · ·MR. FRAY-WITZER:· Dutch.

·5· · · · · · ·Did I say Danish?

·6· · · · · · ·MS. BOLGER:· You said Danish.

·7· · · · · · ·MR. FRAY-WITZER:· Dutch websites.

·8· · · · · · ·THE WITNESS:· Is there a question?

·9· · · · · · ·MR. FRAY-WITZER:· Yes.

10· · · · · · ·THE WITNESS:· Oh, I'm sorry.

11· ·BY MR. FRAY-WITZER:

12· · · ·Q.· · Did you independently investigate

13· ·whether or not Dutch websites on the national

14· ·police force's blacklist hosted child

15· ·pornography --

16· · · · · · ·Sorry.· Let me try that again.

17· ·Third time's a charm.

18· · · · · · ·Did you independently investigate

19· ·whether or not Dutch websites on the national

20· ·police force's blacklist were hosted by

21· ·Webzilla?

22· · · ·A.· · If that information was provided to


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 174 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             173

·1· ·us, yes, we absolutely investigated them.

·2· · · ·Q.· · Well, that's the information in the

·3· ·article that you're referencing.· And I want to

·4· ·know if you've independently researched the

·5· ·allegations in that article?

·6· · · ·A.· · Of course.· It's the scope of our

·7· ·investigation.· And if it was cited in this

·8· ·article, we were absolutely going to work to

·9· ·corroborate it.

10· · · · · · ·MS. BOLGER:· I'm sorry.· I need to

11· ·take one more break.

12· · · · · · ·MR. FRAY-WITZER:· Absolutely.

13· · · · · · ·MS. BOLGER:· Did you ask a question?

14· · · · · · ·Let me just take a break.

15· · · · · · ·(Recess taken at 3:36 p.m.)

16· · · · · · ·(Deposition resumed at 3:38 p.m.)

17· · · · · · ·THE WITNESS:· Your question, sir?

18· · · · · · ·MR. FRAY-WITZER:· Actually, so that

19· ·I don't misrepresent it, would you read back

20· ·the last answer, please.

21· · · · · · ·(Court Reporter read back.)

22· ·BY MR. FRAY-WITZER:


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 175 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             174

·1· · · ·Q.· · What steps did FTI take to

·2· ·corroborate the information contained in that

·3· ·Dutch article?

·4· · · ·A.· · We looked for additional open source

·5· ·material on the allegation.

·6· · · ·Q.· · If you had found information that

·7· ·corroborated those allegations, you would have

·8· ·included that in your expert report, correct?

·9· · · ·A.· · If we found additional information

10· ·stating this, yes, we would have included it.

11· ·We believe --

12· · · · · · ·I mean, I believe that this

13· ·information speaks to reputation.· This is what

14· ·is publicly available on the web about XBT, and

15· ·that's why we included it in the report.

16· · · · · · ·(Exhibit 21 marked for

17· ·identification.)

18· · · · · · ·MS. BOLGER:· My record is 101

19· ·exhibits in a day.· You going to make it Evan?

20· · · · · · ·MR. FRAY-WITZER:· I'm not going to

21· ·make it.· Not even close.

22· ·BY MR. FRAY-WITZER:


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 176 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             175

·1· · · ·Q.· · So I'm showing you what's been

·2· ·marked as Exhibits No. 21, an article from

·3· ·pjmedia.com entitled Claim:· Firm Hired by

·4· ·BuzzFeed to Verify Steele Dossier Has Checkered

·5· ·Past in Venezuela.· And if you turn to the

·6· ·second page at the bottom, it reads:· "Boyd

·7· ·told PJ Media that FTI has worked for some of

·8· ·the 'worst scum of Venezuela.· We're talking

·9· ·kingpins, thugs behind assassination attempts,

10· ·and corruption of billions of dollars.'"

11· · · · · · ·Does that really speak to FTI's

12· ·reputation because it was printed on the

13· ·internet?

14· · · ·A.· · I think this is different.                  I

15· ·mean --

16· · · ·Q.· · Is this a data point that would

17· ·point us towards FTI's reputation?

18· · · · · · ·MS. BOLGER:· In his expert opinion

19· ·here to testify about subject matters set forth

20· ·in his report?

21· · · · · · ·MR. FRAY-WITZER:· He's an expert

22· ·witness.· He can testify as to --


                                                               800.211.DEPO (3376)
                                                               EsquireSolutions.com
                                                                                  YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 177 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             176

·1· · · · · · ·MS. BOLGER:· Well, he's here as an

·2· ·expert, so in your expert opinion, Anthony, as

·3· ·the person who wrote that dossier, do you have

·4· ·any evidence that this is relevant?

·5· · · · · · ·MR. FRAY-WITZER:· As an investigator

·6· ·who has determines what he believes to be

·7· ·relevant data points, would this be a relevant

·8· ·data point in an investigation?

·9· · · · · · ·MS. BOLGER:· It's not relevant to

10· ·his conclusions.

11· · · · · · ·You can answer it, Anthony.

12· · · · · · ·THE WITNESS:· I'm not sure I'm

13· ·following your question.

14· ·BY MR. FRAY-WITZER:

15· · · ·Q.· · Would this be --

16· · · · · · ·As an expert investigator, as you've

17· ·said you are, would this be a relevant data

18· ·point if we were trying to determine FTI's

19· ·reputation?

20· · · · · · ·MS. BOLGER:· Is it relevant to the

21· ·technological investigation as to whether XBT

22· ·infrastructure was used to interfere with the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 178 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             177

·1· ·Democratic leadership?· Is that the question?

·2· ·That's what he's an expert on.

·3· · · · · · ·MR. FRAY-WITZER:· Do you mean

·4· ·"objection"?

·5· · · · · · ·MS. BOLGER:· He's not an expert on

·6· ·what you think someone's reputation on the

·7· ·media is.· But yes, it means objection.

·8· · · · · · ·MR. GURVITS:· How about if we stick

·9· ·to objections instead of talking it out.

10· · · · · · ·MS. BOLGER:· You do, your thing I'll

11· ·do mine.

12· · · · · · ·THE WITNESS:· The question is:· Is

13· ·this a data point?

14· ·BY MR. FRAY-WITZER:

15· · · ·Q.· · Yeah.· Do you think that's a data

16· ·point?

17· · · ·A.· · I do think this is a data point.

18· · · · · · ·(Exhibit 22 marked for

19· ·identification.)

20· · · ·Q.· · And this article that alleges that

21· ·FTI is attempting to undermine the Venezuelan

22· ·Government --


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 179 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             178

·1· · · · · · ·MS. BOLGER:· Where is this one from?

·2· ·BY MR. FRAY-WITZER:

·3· · · ·Q.· · Is that a data point as well?

·4· · · · · · ·MS. BOLGER:· Actually, I would like

·5· ·to know:· Where did you get this?

·6· · · · · · ·It doesn't have a URL, it doesn't

·7· ·have any --

·8· · · · · · ·There's no way for us to know where

·9· ·this was published.· So if you're going to ask

10· ·him a question, you've got to tell him.

11· · · · · · ·MR. FRAY-WITZER:· From RT.

12· · · · · · ·MS. BOLGER:· From RT?· Okay.· Just

13· ·making sure I asked.

14· · · · · · ·MR. FRAY-WITZER:· Slightly more

15· ·reputable than the Dutch blogger.

16· · · · · · ·MS. BOLGER:· And PJ Media.

17· · · · · · ·MR. FRAY-WITZER:· And PJ Media.

18· ·BY MR. FRAY-WITZER:

19· · · ·Q.· · If this is really a data point, do

20· ·you believe it?

21· · · · · · ·MS. BOLGER:· Is it a data point?

22· · · · · · ·MR. FRAY-WITZER:· Yeah.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 180 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             179

·1· ·BY MR. FRAY-WITZER:

·2· · · ·Q.· · Do you believe this to be a data

·3· ·point about FTI's reputation?

·4· · · · · · ·MS. BOLGER:· Of course.

·5· · · · · · ·MR. GURVITS:· Can I just on record,

·6· ·Kate, ask you not to answer the question for

·7· ·the witness.· I know you think it's a data

·8· ·point, but we'd really like to hear the

·9· ·witness' position on this.

10· · · · · · ·MS. BOLGER:· Sure thing.

11· · · · · · ·THE WITNESS:· So what is the

12· ·question?

13· ·BY MR. FRAY-WITZER:

14· · · ·Q.· · Do you think that this is a data

15· ·point about FTI's reputation?

16· · · ·A.· · I'd have to read the article to know

17· ·exactly what the data point would be on, but

18· ·this is --

19· · · · · · ·-- of course it's a data point.

20· ·It's an informational piece.· I don't know what

21· ·it says, so I can't state what it's a data

22· ·point about.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 181 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             180

·1· · · · · · ·(Exhibit 23 marked for

·2· ·identification.)

·3· · · ·Q.· · Number 23.· Turn to Page 3.

·4· · · · · · ·"The head of FTI Consulting's Latin

·5· ·American office, Frank Holder, is a man with a

·6· ·checkered past.· Holder, a former CIA

·7· ·operative, has been involved in all manner of

·8· ·scandals, from Argentina all the way to

·9· ·Venezuela.· He stands accused of stealing

10· ·information, of extortion, of faking due

11· ·diligence reports, of lying, of vilifying his

12· ·clients perceived enemies, of stealing clients

13· ·funds, and of forging documents."

14· · · · · · ·Do you think this is a data point

15· ·concerning FTI's reputation?

16· · · · · · ·MS. BOLGER:· I have no idea where

17· ·you're looking.

18· · · · · · ·Oh, here it is.

19· · · · · · ·THE WITNESS:· For the record, I

20· ·don't understand what Mr. Holder has to do with

21· ·this investigation.· But as I've said in the

22· ·previous two pieces, this is an informational


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 182 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             181

·1· ·data piece.

·2· · · · · · ·Informational data point.

·3· ·BY MR. FRAY-WITZER:

·4· · · ·Q.· · If you turn to Page 33 of your

·5· ·expert report, you talk about FTI reviewing

·6· ·Host Exploit's:· "Top-50 Bad Hosts and

·7· ·Networks" reports published between

·8· ·December 2010 and March 2014 that rank

·9· ·web-hosting companies by concentration of

10· ·malicious activity.

11· · · · · · ·Do you see that?

12· · · ·A.· · I do.

13· · · ·Q.· · I'm going to ask you to look at a

14· ·number of those reports.· The questions will be

15· ·similar with respect to all of them.

16· · · · · · ·(Exhibit 24 marked for

17· ·identification.)

18· · · · · · ·MS. BOLGER:· What are we on?

19· · · · · · ·MR. FRAY-WITZER:· 24.

20· ·BY MR. FRAY-WITZER:

21· · · ·Q.· · If you turn to Page 6 of the report,

22· ·Webzilla is listed at No. 29 in this report.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 183 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             182

·1· ·Is that correct?

·2· · · ·A.· · Correct.· I see that.

·3· · · ·Q.· · That's what you're referring to in

·4· ·your report, correct?

·5· · · ·A.· · Uh-huh.

·6· · · ·Q.· · I'm sorry it has to be a "yes" or

·7· ·"no"?

·8· · · ·A.· · I'm sorry.· Yes, correct.

·9· · · ·Q.· · And No. 10 is GoDaddy.com, correct?

10· · · ·A.· · Yes.

11· · · ·Q.· · And No. 7 is CloudFlare, correct?

12· · · ·A.· · Correct.

13· · · ·Q.· · At No. 38 is Google, correct?

14· · · ·A.· · Correct.

15· · · ·Q.· · These are all listed as Top-50 bad

16· ·hosts and networks, correct?

17· · · ·A.· · The report states it is the ranking

18· ·of the highest observed concentrations of

19· ·malicious activity.

20· · · ·Q.· · And I think as your report

21· ·categorizes it, this is Host Exploit's listing

22· ·of bad hosts and networks, right?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 184 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             183

·1· · · ·A.· · Correct.· Again, this is an industry

·2· ·product, a cyber security industry product in

·3· ·which the industry evaluates various providers

·4· ·and ranks them based on reputation.

·5· · · · · · ·(Exhibit 25 marked for

·6· ·identification.)

·7· · · ·Q.· · Exhibit 25.· This is the

·8· ·September 2013 report, again on Page 6.                   I

·9· ·don't see -- maybe I'm missing it.· I'm sure

10· ·someone will tell me if I am -- I don't see

11· ·Webzilla or any XBT companies listed on this

12· ·list of 50, do you?

13· · · ·A.· · I mean, I'm not looking.· I also

14· ·note that I don't see it in my expert report.

15· · · ·Q.· · You skipped this one.· Is that

16· ·correct?

17· · · ·A.· · I skipped it?

18· · · ·Q.· · You didn't include this one in your

19· ·report.

20· · · ·A.· · It's because it didn't speak to the

21· ·reputation of XBT.

22· · · ·Q.· · No. 10 is Confluence Networks.· Is


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 185 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             184

·1· ·that correct?

·2· · · ·A.· · Okay.

·3· · · ·Q.· · Is that correct?

·4· · · ·A.· · That's what it states.

·5· · · ·Q.· · No. 18 is GoDaddy, correct?

·6· · · ·A.· · Correct.

·7· · · ·Q.· · No. 42 is Google again, correct?

·8· · · ·A.· · Correct.

·9· · · · · · ·(Exhibit 26 marked for

10· ·identification.)

11· · · ·Q.· · This is the March 2013 report.· I do

12· ·not see any XBT companies listed, do you?

13· · · ·A.· · I mean, I'm just looking now.                   I

14· ·don't see any at the moment.

15· · · ·Q.· · GoDaddy is again listed at No. 27

16· ·here, correct?

17· · · ·A.· · Correct, it is.

18· · · ·Q.· · SoftLayer at 17?

19· · · ·A.· · Sure.

20· · · ·Q.· · Confluence at 7?

21· · · ·A.· · Sure.

22· · · · · · ·I would add that these reports are


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 186 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             185

·1· ·based on concentration of activity.

·2· ·Concentration of malicious activity.· It

·3· ·doesn't state the significance of the activity.

·4· ·I think that's a big differentiation when

·5· ·you're comparing volume to impact and

·6· ·significance of the activity, which is a big

·7· ·difference.

·8· · · ·Q.· · You cite these reports --

·9· · · ·A.· · Yes.

10· · · ·Q.· · -- in your expert report.

11· · · ·A.· · I don't cite the previous two.· You

12· ·bring them in as exhibits.· I cite reports

13· ·which speak to Webzilla's reputation, which the

14· ·reports that I cite reference Webzilla in a

15· ·negative light based on them being on these

16· ·reports.

17· · · ·Q.· · And also cited in a negative light

18· ·is GoDaddy and SoftLayer and Google.· Is that

19· ·correct?

20· · · ·A.· · Yes.

21· · · ·Q.· · Okay.

22


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 187 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             186

·1· · · · · · ·(Exhibit 27 marked for

·2· ·identification.)

·3· · · · · · ·This time we're on Page 9.· This is

·4· ·the Quarter 3, 2012 report.

·5· · · ·A.· · May I ask if this report was

·6· ·referenced in my expert report?

·7· · · · · · ·I'm looking at Quarter 3.

·8· · · · · · ·It's not.

·9· · · ·Q.· · SoftLayer is listed at 17.· Is that

10· ·correct?

11· · · ·A.· · Correct.

12· · · ·Q.· · And Google is listed at 31.· Is that

13· ·correct?

14· · · ·A.· · Correct.

15· · · ·Q.· · And at 47 is Amazon?

16· · · ·A.· · Correct.

17· · · · · · ·Let me just state for the record

18· ·that I don't find this to be unusual.

19· ·Organizations like that, the volume of traffic

20· ·that they see in their network, it's expected

21· ·that just the nature of malicious cyber

22· ·activity that it will traverse other networks.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 188 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             187

·1· ·So it doesn't surprise me.· But again, back to

·2· ·what I had stated earlier, that I think we're

·3· ·not comparing the same types of activity.

·4· ·These reports are comparing volume, when the

·5· ·scope of my investigation was to find evidence

·6· ·of malicious activity linked to XBT

·7· ·infrastructure.

·8· · · · · · ·MR. FRAY-WITZER:· I will always let

·9· ·you talk as long as you'd like.· I'll just

10· ·point out that I didn't actually have a

11· ·question, and I could probably get through the

12· ·remainder of these documents relatively quickly

13· ·if you're answering the questions that I'm

14· ·asking.· But I will give you the freedom to

15· ·determine on your own if you would like to add.

16· · · · · · ·MS. BOLGER:· I on the other hand

17· ·will tell you to wait until there's a pending

18· ·question.

19· · · · · · ·(Laughing.)

20· · · · · · ·(Exhibit 28 marked for

21· ·identification.)

22· · · ·Q.· · This is the 4th Quarter 2010 report.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 189 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             188

·1· ·We're back to Page 6.

·2· · · ·A.· · Yes, sir.

·3· · · ·Q.· · At No. 17 is LimestoneNetworks,

·4· ·correct?

·5· · · ·A.· · Correct.

·6· · · ·Q.· · At 27 is SoftLayer, correct?

·7· · · ·A.· · Correct.

·8· · · ·Q.· · And at 28 is Google, correct?

·9· · · ·A.· · Correct.

10· · · ·Q.· · And at 37 is GoDaddy, correct?

11· · · ·A.· · Correct.

12· · · · · · ·(Exhibit 29 marked for

13· ·identification.)

14· · · · · · ·MS. BOLGER:· I'll just note for the

15· ·document, that all of these reports have many,

16· ·many pages.· To the extent that you're asking

17· ·the witness to make conclusions about all the

18· ·pages in the document I would ask him to take a

19· ·look.· I don't think you're doing that at the

20· ·moment.· I'm just suggesting that if you looked

21· ·at Page 15 of the last report, you would have

22· ·found WZ Communications as the leading botnet


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 190 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             189

·1· ·command and control servers.· So all of these

·2· ·documents are a little bit more complicated,

·3· ·but the documents speak for themselves.

·4· · · · · · ·MR. FRAY-WITZER:· As does the

·5· ·reports, and there's no question in front of

·6· ·the witness.

·7· ·BY MR. FRAY-WITZER:

·8· · · ·Q.· · So, on Page 7 of this report --

·9· · · ·A.· · Well, I just want to state for the

10· ·record that this report is referenced in my

11· ·expert report, and so I am reading as quickly

12· ·as possible to find the reference.

13· · · · · · ·MS. BOLGER:· Page 15.

14· · · · · · ·THE WITNESS:· Yes.· On Page 15,

15· ·Section 9.3, Botnet C&C Servers, WZ

16· ·Communications is ranked --

17· · · · · · ·-- is one of the worst ten hosts for

18· ·command and control servers.

19· · · · · · ·MS. BOLGER:· Do you have a copy of

20· ·29?

21· · · · · · ·MR. FRAY-WITZER:· The one that --

22· · · · · · ·Did I not give it to you?· Sorry.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 191 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             190

·1· · · · · · ·MS. BOLGER:· I'm not taking it

·2· ·personally.

·3· ·BY MR. FRAY-WITZER:

·4· · · ·Q.· · The 1st Quarter 2011 report.

·5· · · ·A.· · Uh-huh.

·6· · · ·Q.· · Page 7.

·7· · · ·A.· · Uh-huh.

·8· · · ·Q.· · Again, in the listing of the Top-50,

·9· ·No. 21 is LimestoneNetworks, correct?

10· · · ·A.· · I see that.· Correct.

11· · · ·Q.· · And 40 is SoftLayer, correct?

12· · · ·A.· · Yes, I see that.· Correct.

13· · · ·Q.· · 41 is GoDaddy?

14· · · ·A.· · I see that.· Correct.

15· · · ·Q.· · And 47 is Google, correct?

16· · · ·A.· · I see that.· Correct.

17· · · · · · ·Um, I do want to continue reading.

18· ·Because this report is referenced in my expert

19· ·report.· And Section 9, Bad Hosts by topic,

20· ·Section 9.1.1 Botnet Command and Control

21· ·Servers, WZ Communications is listed.· And

22· ·again, it's listed as the worst ten hosts for


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 192 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             191

·1· ·command and control servers.

·2· · · ·Q.· · I think you testified that certain

·3· ·of these reports that I've showed you which are

·4· ·not included in your expert report, you did not

·5· ·include in your expert report because you did

·6· ·not think that those reports spoke to XBT's

·7· ·reputation.· Did I -- is that correct?

·8· · · · · · ·MS. BOLGER:· I think that --

·9· · · · · · ·I'll object as misstating testimony,

10· ·but I'm sure Anthony can fix that.

11· · · · · · ·THE WITNESS:· Okay.· I'm going to

12· ·ask if we can repeat the question or have it

13· ·read back to me.

14· · · · · · ·MR. FRAY-WITZER:· Why don't I break

15· ·it down a little bit.

16· · · · · · ·THE WITNESS:· Okay.

17· ·BY MR. FRAY-WITZER:

18· · · ·Q.· · There were some reports where XBT

19· ·entities were not mentioned, correct?

20· · · ·A.· · Correct.

21· · · ·Q.· · And those reports were not included

22· ·in your expert report, correct?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 193 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             192

·1· · · ·A.· · Correct.

·2· · · ·Q.· · And I believe you testified that

·3· ·they were not included in your expert report

·4· ·because they weren't relevant to XBT's

·5· ·reputation.

·6· · · · · · ·MS. BOLGER:· Object.· I think that

·7· ·misstates testimony, but that's fine.

·8· · · · · · ·THE WITNESS:· I don't know if I said

·9· ·exactly that, but they were not included in my

10· ·expert report because they did not speak to the

11· ·negative aspects to XBT's reputation.

12· ·BY MR. FRAY-WITZER:

13· · · ·Q.· · So Host Exploit issues these

14· ·reports, it looks like almost quarterly,

15· ·correct?

16· · · ·A.· · I don't know when they issue them.

17· ·They're based on year and quarter.

18· · · ·Q.· · And the reports that you chose to

19· ·include in your expert report are those that

20· ·spoke to -- and I think this is what you just

21· ·said -- XBT's bad reputation.

22· · · ·A.· · Correct.


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 194 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             193

·1· · · ·Q.· · So anything that omitted XBT would

·2· ·speak to XBT not having a bad reputation.

·3· · · · · · ·MS. BOLGER:· I object to the form.

·4· · · · · · ·THE WITNESS:· I don't agree with

·5· ·that statement.

·6· ·BY MR. FRAY-WITZER:

·7· · · ·Q.· · Why not include all of the reports

·8· ·from Host Exploit?

·9· · · ·A.· · Because --

10· · · · · · ·MS. BOLGER:· Evan, I note for the

11· ·record that the report actually does say that

12· ·they reviewed all reports.· And so I think

13· ·you're mischaracterizing what the report says.

14· · · · · · ·MR. GURVITS:· Counsel, please stop

15· ·coaching the witness and just object.

16· · · · · · ·MS. BOLGER:· I'm actually not

17· ·coaching.· I'm actually telling you I think

18· ·your question misstates the document.· I don't

19· ·think you should be misstating the expert

20· ·report that you're asking about.

21· · · · · · ·MR. GURVITS:· That's an objection.

22· ·BY MR. FRAY-WITZER:


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 195 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             194

·1· · · ·Q.· · Included in your expert report, if

·2· ·you look at Page 34:· "The following negative

·3· ·information was developed for Webzilla and WZ

·4· ·Communications."

·5· · · · · · ·And then you list certain years and

·6· ·certain quarters of reports, correct?

·7· · · ·A.· · Correct.

·8· · · ·Q.· · And you don't list out all of the

·9· ·times that XBT was not included in these

10· ·reports, correct?

11· · · ·A.· · Correct.

12· · · · · · ·(Exhibit 30 marked for

13· ·identification.)

14· · · ·Q.· · This is the 2d Quarter 2011.

15· · · · · · ·Page 8.· WZ Communications is listed

16· ·at 31, correct?

17· · · ·A.· · Correct.

18· · · ·Q.· · At 25 is LimestoneNetworks?

19· · · ·A.· · Correct.

20· · · ·Q.· · At 28 is GoDaddy?

21· · · ·A.· · Correct.

22· · · ·Q.· · At 30 is SoftLayer?


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 196 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             195

·1· · · ·A.· · Correct.

·2· · · ·Q.· · And at 35 is Google, correct?

·3· · · ·A.· · Correct.

·4· · · · · · ·(Exhibit 31 marked for

·5· ·identification.)

·6· · · ·Q.· · This is the 3rd Quarter 2011 report.

·7· · · · · · ·On Page 9.· WZ Communications is at

·8· ·26, correct?

·9· · · ·A.· · Correct.

10· · · ·Q.· · Goggle is at 30, correct?

11· · · ·A.· · Correct.

12· · · ·Q.· · SoftLayer is at 12, correct?

13· · · ·A.· · Correct.

14· · · · · · ·MR. FRAY-WITZER:· Let's take a

15· ·5-minute break.

16· · · · · · ·MS. BOLGER:· Sure.

17· · · · · · ·(Recess taken at 4:07 p.m.)

18· · · · · · ·(Deposition resumed at 4:11 p.m.)

19· · · · · · ·MR. FRAY-WITZER:· This is going to

20· ·be very disappointing to you.· We are going to

21· ·suspend at this point based on the instructions

22· ·not to answer about Fusion GPS and the


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
                                                                               YVer1f
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 197 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             196

·1· ·conversations with Fusion GPS.· We will decide

·2· ·what we're going to do with respect to that,

·3· ·but we will suspend at this time.

·4· · · · · · ·MS. BOLGER:· That's fine.· I will

·5· ·tell you for the record, we do have a joint

·6· ·defense agreement with them.· I cannot violate

·7· ·a joint defense agreement without permission of

·8· ·the other half of the joint defense agreement

·9· ·even if I wanted to, right?· So we have a joint

10· ·defense agreement.

11· · · · · · ·MR. FRAY-WITZER:· Okay.· Thank you

12· ·very much.

13· · · · · · ·MS. BOLGER:· We're done.

14· · · · · · ·Read and sign.

15· · · · · · ·MR. FRAY-WITZER:· Regular.

16· · · · · · ·MS. BOLGER:· Copy.

17· · · · · · ·(Deposition concluded at 4:16 p.m.)

18

19

20

21

22


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 198 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             197

·1· · · · · · ·DEPOSITION ERRATA SHEET

·2· ·Our Assignment No. J2466840

·3· ·Case Caption:

·4· ·Aleksej Gubarov

·5· ·vs.

·6· ·BuzzFeed

·7

·8· · · · DECLARATION UNDER PENALTY OF PERJURY

·9· · · I declare under penalty of perjury that I

10· ·have read the entire transcript of my

11· ·Deposition taken in the captioned matter or the

12· ·same has been read to me, and the same is true

13· ·and accurate, save and except for changes

14· ·and/or corrections, if any, as indicated by me

15· ·on the DEPOSITION ERRATA SHEET hereof, with the

16· ·understanding that I offer these changes as if

17· ·still under oath.

18

19· ·Signed on the________day of ____________, 2018.

20· · ·________________________________

21· · ·Anthony J. Ferrante

22


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 199 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             198

·1· · · · · · · DEPOSITION ERRATA SHEET

·2· ·Page No.______ Line No.______ Change to:______

·3· ·______________________________________________

·4· ·Reason for change:____________________________

·5· ·Page No.______ Line No.______ Change to:______

·6· ·______________________________________________

·7· ·Reason for change:____________________________

·8· ·Page No.______ Line No.______ Change to:______

·9· ·______________________________________________

10· ·Reason for change:____________________________

11· ·Page No.______ Line No.______ Change to:______

12· ·______________________________________________

13· ·Reason for change:____________________________

14· ·Page No.______ Line No.______ Change to:______

15· ·______________________________________________

16· ·Reason for change:____________________________

17· ·Page No.______ Line No.______ Change to:______

18· ·______________________________________________

19· ·Reason for change:____________________________

20

21· ·SIGNATURE________________________DATE:________

22· · · · · · · ·Anthony J. Ferrante


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 200 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             199

·1· · · · · · · ·DEPOSITION ERRATA SHEET

·2· · Page No.______ Line No.______ Change to:______

·3· · ______________________________________________

·4· · Reason for change:____________________________

·5· · Page No.______ Line No.______ Change to:______

·6· · ______________________________________________

·7· · Reason for change:____________________________

·8· · Page No.______ Line No.______ Change to:______

·9· · ______________________________________________

10· · Reason for change:____________________________

11· · Page No.______ Line No.______ Change to:______

12· · ______________________________________________

13· · Reason for change:____________________________

14· · Page No.______ Line No.______ Change to:______

15· · ______________________________________________

16· · Reason for change:____________________________

17· · Page No.______ Line No.______ Change to:______

18· · ______________________________________________

19· · Reason for change:____________________________

20

21· ·SIGNATURE:______________________DATE__________.

22· · · · · · · ·Anthony J. Ferrante


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
Case 0:17-cv-60426-UU Document 275-4 Entered on FLSD Docket 10/29/2018 Page 201 of
                                        201
      ANTHONY J. FERRANTE· Confidential                             July 27, 2018
      ALEKSEJ GUBAREV vs BUZZFEED                                             200

·1· · · · · · ·CERTIFICATE OF NOTARY PUBLIC

·2· · · · · ·I, Terry L. Bradley, the officer before

·3· ·whom the foregoing deposition was taken, do

·4· ·hereby certify that the witness whose testimony

·5· ·appears in the foregoing deposition was duly

·6· ·sworn by me; that the testimony of said witness

·7· ·was taken by me in shorthand and thereafter

·8· ·reduced to computerized transcription under my

·9· ·direction; that said deposition is a true

10· ·record of the testimony given by said witness;

11· ·that I am neither counsel for, related to, nor

12· ·employed by any of the parties to the action in

13· ·which this deposition was taken; and further,

14· ·that I am not a relative or employee of any

15· ·attorney or counsel employed by the parties

16· ·hereto, nor financially or otherwise interested

17· ·in the outcome of the action.

18
· · · · · · · · · · · ____________________________
19· · · · · · · · · · Notary Public in and for
· · · · · · · · · · · the District of Columbia
20
· · ·My Commission expires:· April 30, 2022
21

22


                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
